                                                                                1   Alexander Chen [SBN 245798]
                                                                                    alexc@inhouseco.com
                                                                                2   Katja M. Grosch [SBN 266935]
                                                                                    kmg@inhouseco.com
                                                                                3   Theodore S. Lee [SBN 281475]
                                                                                    tlee@inhouseco.com
                                                                                4   INHOUSE CO. LAW FIRM
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 1 of 195 Page ID




                                                                                    7700 Irvine Center Drive, Suite 800
                                                                                5   Irvine, CA 92618
                                                                                    Telephone: 949-250-1555
                                                                                6   Facsimile: 714-882-7770
                                                                                7   Attorneys for Defendant and Counterclaimant,
                                                                                8   Arex Industries, Inc
                                                                                                                  UNITED STATES DISTRICT COURT
                                                                                9
                                                                                                                CENTRAL DISTRICT OF CALIFORNIA
                                                                               10
                                                                               11
                                                                                                                                       )
                                 #:1036 LAWFIRM




                                                                               12   ZHEJIANG YUANZHENG AUTO &                          )   Case No. 2:22-cv-01692-JWH-PD
                                                                                    MOTORCYCLE ASSESSORIES CO.,                        )
                                                                               13   LTD., a Chinese company,                           )
                           ~ TNHOUSECO.




                                                                                                                                       )
                                                                               14                                                          DECLARATION OF ALEXANDER CHEN
                                                                                           Plaintiff,                                  )
                                                                                                                                       )   IN SUPPORT OF DEFENDANT AND
                                                                               15                                                      )   COUNTERCLAIMANT’S MOTION FOR
                                                                                    v.                                                 )   LEAVE TO FILE THIRD AMENDED
                                                                               16                                                      )   COUNTERCLAIMS
                                                                               17   AREX INDUSTRIES, INC., a California                )
                                                                                    company,                                           )   [Filed concurrently with Notice of Motion and
                                                                               18                                                      )   Motion for Leave to Amend and [Proposed]
                                                                                    Defendant.                                         )   Order]
                                                                               19                                                      )
                                                                                                                                       )
                                                                               20                                                          FRCP Rule 15(a)(2)
                                                                                                                                       )
                                                                                    AREX INDUSTRIES, INC., a California                )
                                                                               21   company,                                           )   Date: August 18, 2023
                                                                                                                                       )   Time: 9:00 AM
                                                                               22         Counterclaimant,                             )   Dept.: 9D, 9th Floor
                                                                               23                                                      )
                                                                                    v.                                                 )   Trial Date: January 8, 2024
                                                                               24                                                      )   Action Filed: March 14, 2022
                                                                                                                                       )
                                                                               25                                                      )
                                                                                    ZHEJIANG YUANZHENG AUTO &                          )
                                                                               26   MOTORCYCLE ASSESSORIES CO.,                        )
                                                                                    LTD., a Chinese company,                           )
                                                                               27                                                      )
                                                                                           Counterdefendant.                           )
                                                                               28                                                      )
                                                                                                                                            1
                                                                                                               Declaration of Chen ISO Motion for Leave to Amend Complaint
                                                                                1   I, Alexander Chen, hereby declare as follows:
                                                                                2          1.      I am an attorney admitted to practice before all courts of the State of California and the
                                                                                3   Central District Court of California. I am the principal of InHouse Co. Law Firm, attorney of record
                                                                                4   for defendant and counterclaimant Arex Industries, Inc. (“Arex”) in the above-captioned action at all
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 2 of 195 Page ID




                                                                                5   relevant times herein. I make this declaration based upon my own personal knowledge and could
                                                                                6   testify competently to all of the below.
                                                                                7          2.      A true and correct copy of Arex’s proposed third amended counter-complaint, red-lined
                                                                                8   to show all changes, is attached hereto as Exhibit 1.
                                                                                9          3.      A true and correct copy of Arex’s proposed third amended counter-complaint is
                                                                               10   attached hereto as Exhibit 2.
                                                                               11          4.      Arex’s proposed amendment is necessary and proper to allow Arex to recover all
                                 #:1037 LAWFIRM




                                                                               12   damages it suffered from counter-defendant Zhejiang Yuanzheng Auto & Motorcycle Accessories Co.,
                                                                               13   Ltd. (“ZYA”) and proposed new counter defendants (collectively, the “Alter Ego Defendants”)
                           ~ TNHOUSECO.




                                                                               14   Zhejiang Hongguang Lighting Technology Co., Ltd. (“ZHL”), and Yonghuo Wang (“Wang”), as a
                                                                               15   result of wrongful acts related to the subject matter of this action in a single lawsuit.
                                                                               16          5.      It is in the interests of justice and of judicial efficiency to allow the proposed
                                                                               17   amendment, as the proposed new counter-defendants has caused or enabled the importation and sale of
                                                                               18   the Accused Products, caused to be fraudulently transferred assets of ZYA and/or unlawfully received
                                                                               19   assets belonging or controlled by ZYA, and otherwise caused or enabled ZYA to avoid liability in this
                                                                               20   lawsuit or be otherwise judgment-proof. The gravamen of the lawsuit has not changed.
                                                                               21          6.      The alter ego allegations are thus also necessary, in order to maintain ZYA’s liability in
                                                                               22   any event, as there is clearly a unity of interest, inter alia, between ZYA and each of the Alter Ego
                                                                               23   Defendants.
                                                                               24          7.      A fifth cause of action for fraudulent transfer under California Civil Code Section 3439
                                                                               25   and related additional supporting facts and prayer for relief were added and are necessary as a result of
                                                                               26   ZYA’s action of fraudulently transferring its assets and operation to the Alter Ego Defendants that are
                                                                               27   added through this instant amendment.
                                                                               28
                                                                                                                                              2
                                                                                                                 Declaration of Chen ISO Motion for Leave to Amend Complaint
                                                                                1              8.    A true and correct copy of relevant excerpts from the transcript of the deposition of Jie
                                                                                2   Yang, the USPTO patent practitioner with Registration Number 77665 listed on ZYA’s D925,796
                                                                                3   Patent, is attached hereto as Exhibit 3.
                                                                                4              9.    A sixth cause of action for Violation of Sherman Act Section 2 was added, a seventh
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                                                                                5   cause of action for Unfair Business Competition under California Business & Professional Code
                                                                                6   section 17200, an eighth False Advertising under California Business & Professional Code section
                                                                                7   17500 and a ninth cause of action for violation of the Section 42 of the Lanham Act were added and
                                                                                8   are necessary as a result of ZYA’s action in using false and misleading statements regarding the
                                                                                9   validity of their patents in advertising and promoting of their products.
                                                                               10              10.   These additional causes of actions including the antirust claim, the unfair competition
                                                                               11   claims and the violation of the Lanham act, all stem from the recent uncovering the ZYA and ZHL’s
                                 #:1038 LAWFIRM




                                                                               12   effort in obtaining the ‘796 patent by fraud using stolen USPTO practitioner identity.
                                                                               13              11.   The USPTO agent who supposedly signed the application that she has absolutely no
                           ~ TNHOUSECO.




                                                                               14   idea who prosecuted the patent application and how her name got in there.
                                                                               15              12.   The remaining changes relate to jurisdiction or are minor or grammatical.
                                                                               16              13.   All of the amendments are related to the subject matter of the existing controversy
                                                                               17   between the parties and will not result in prejudice to ZYA.
                                                                               18              14.   Allowing the amendment would therefore promote the efficient resolution of all claims
                                                                               19   between the parties.
                                                                               20              15.   Counter-defendants will not be able to assert any prejudice whatsoever. The operative
                                                                               21   scheduling order was entered on April 17, 2023, and the trial date has been set for January 8, 2024,
                                                                               22   whereas the discovery is not closed until October 2, 2023.
                                                                               23              16.   Finally, the third amended counter-complaint and this Motion was prepared and drafted
                                                                               24   as soon as the existence of the Alter Ego Counter-Defendants for ZYA was discovered. Due to
                                                                               25   counter-defendant ZYA’s attempt to play shell games by trying to avoid liability by fraudulent transfer
                                                                               26   of its assets to the Alter Ego Counter-Defendants and by using them to continue to sell Accused
                                                                               27   Products, the process to uncover the true identities of alter egos ZYA could not be uncovered any
                                                                               28   earlier.
                                                                                                                                               3
                                                                                                                  Declaration of Chen ISO Motion for Leave to Amend Complaint
                                                                                1          17.     Arex did not waste time to file this motion for leave. Immediately after the deposition
                                                                                2   on May 30, 2023, the parties participated in a settlement conference on June 2, 2023.
                                                                                3          18.     On June 7, 2023, this Court issued its order granting ZYA’s FRCP 12(b)(6) motion in
                                                                                4   part, which required Arex to file a second amended counter-complaint curing deficiencies in its
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 4 of 195 Page ID




                                                                                5   inequitable conduct cause of action by June 23, 2023. The second amended counter-complaint was
                                                                                6   filed in compliance with this Court’s June 7, 2023, order. Thereafter, Arex immediately filed this
                                                                                7   instant motion.
                                                                                8          19.     Attached as Exhibit 4 is a true and correct copy of the website Amazon’s Vland Store
                                                                                9   showing it selling the accused product as of July 3, 2023.
                                                                               10          20.     Attached as Exhibit 5 is a true and correct copy of the website Vlandus.Com showing
                                                                               11   it selling the accused product as of July 3, 2023.
                                 #:1039 LAWFIRM




                                                                               12          21.     Attached as Exhibit 6 is a true and correct copy of the website Vland-USA.Com
                                                                               13   showing it selling the accused product as of July 3, 2023.
                           ~ TNHOUSECO.




                                                                               14          22.     Attached as Exhibit 7 is a true and correct copy of the website Vland-Official.com
                                                                               15   showing it selling the accused product as of July 3, 2023.
                                                                               16          23.     Attached as Exhibit 8 is a true and correct copy of the website Vlandshop.com showing
                                                                               17   it selling the accused product as of July 3, 2023.
                                                                               18          24.     Attached as Exhibit 9 is a true and correct copy of the website Vlanddfactory.Com
                                                                               19   showing it selling the accused product as of July 3, 2023. In fact, as of July 3, 2023,
                                                                               20   Vlandfactory.Com states clearly state it is operated and own by ZYA.
                                                                               21          25.     Attached as Exhibit 10 is a true and correct copy of the order that I placed for the
                                                                               22   Accused Product on July 2, 2023, which has been processed and shipped.
                                                                               23          26.     On July 5, 2023, I sent our proposed Third Amended Cross-Complaint to Opposing
                                                                               24   counsel Micky Yao requesting an in person meeting to meet and confer consistent with L.R. 7-3.
                                                                               25          27.     On July 7, 2023, I met and confer with counsel Yao via room to go over the reasons why
                                                                               26   Arex seeks for leave to file its Third Amended Cross-Complaint. Mr. Yao expressed that he will oppose
                                                                               27   our motion after our meet and confer.
                                                                               28
                                                                                                                                              4
                                                                                                                 Declaration of Chen ISO Motion for Leave to Amend Complaint
     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 5 of 195 Page ID
                                      #:1040



 1          I declare under penalty of perjury under the laws of the State of California that the foregoing is
 2   true and correct.
 3
 4
 5   DATED: July 14, 2023                                     INHOUSE CO. LAW FIRM
 6
 7
 8
                                                     By: ____________________________
 9                                                          Alexander Chen, Esq.
                                                            Katja M. Grosch, Esq.
10                                                          Theodore Lee, Esq.
11                                                          Attorneys for Defendant and Counterclaimant
                                                            Arex Industries, Inc.
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                                 Declaration of Chen ISO Motion for Leave to Amend Complaint
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 6 of 195 Page ID
                                 #:1041




                      EXHIBIT 1
          Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 7 of 195 Page ID
                                           #:1042




 1   Alexander Chen [SBN 245798]
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 2   Katja M. Grosch [SBN 266935]
     kmg@inhouseco.com
 3   Theodore S. Lee [SBN 281475]
     tlee@inhouseco.com
 4   INHOUSE CO. LAW FIRM
     7700 Irvine Center Drive, Suite 800
 5   Irvine, CA 92618
     Telephone: 949-250-1555
 6   Facsimile: 714-882-7770
 7   Attorneys for Defendant and Counterclaimant,
 8   Arex Industries, Inc
                                   UNITED STATES DISTRICT COURT
 9
                                 CENTRAL DISTRICT OF CALIFORNIA
10
11
                                                    )
12   ZHEJIANG YUANZHENG AUTO &                      ) Case No. 2:22-cv-01692-JWH-PD
     MOTORCYCLE ASSESSORIES CO.,                    )
13   LTD., a Chinese company,                       )
                                                    )
14                                                     SECONDTHIRD AMENDED
            Plaintiff,                              )
                                                    ) COUNTERCLAIMS FOR:
15                                                  )
     v.                                             ) -1. INFRINGEMENT OF US PATENT
16                                                  )     NO. D909,634;
17   AREX INDUSTRIES, INC., a California            ) -1.                                ~
                                                                                                   Formatted: Numbered + Level: 1 + Numbering Style:
     company,                                       ) -2. WILLFUL INFRINGEMENT;                    1, 2, 3, … + Start at: 1 + Alignment: Left + Aligned at:
                                                                                                   0.06" + Indent at: 0.31"
18                                                  ) 2.
     Defendant.                                     ) -3. DECLARATION OF INVALIDITY OF
                                                      -                                  ~ Formatted: Numbered + Level: 1 + Numbering Style:
19                                                  )     US PATENT NO. D925,796;-and              1, 2, 3, … + Start at: 1 + Alignment: Left + Aligned at:
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20                                                     3.
                                                    )                                    "'-
     AREX INDUSTRIES, INC., a California            ) 4. DECLARATION OF                            Formatted: Font: Times New Roman, 12 pt, Bold
                                                                                               ~ Formatted: Single Spacing, Numbered + Level: 1 +
21   company,                                       )     UNENFORCEABLILTY OF US
                                                    )     PATENT NO. D925,796;.-                   Numbering Style: 1, 2, 3, … + Start at: 1 + Alignment:
22         Counterclaimaint,                        ) 5. FRAUDULENT TRANSFER;                      Left + Aligned at: 0.06" + Indent at: 0.31"

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     v.
                                                    ) 6. CALIFORNIA FLASE
                                                    )     ADVERTISING; and
                                                    ) 7. CALIFORNIA UNFAIR
                                                                                          ~        Formatted: Font: Bold
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                                                                                          ~
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                                                    )     COMPETITION
25                                                  )                                              Formatted: Font: (Default) Times New Roman, 12 pt,
     ZHEJIANG YUANZHENG AUTO &                         8. WALKER     PROCESS ANTITRUST
26   MOTORCYCLE ASSESSORIES CO.,
     LTD., a Chinese company,
                                                    )
                                                    )
                                                    )
                                                          VIOLATION                       ~        Bold

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27                                                  )
            Counterdefendant.                       )
28                                                  )

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                                     THIRDSECONDAMENDED COUNTERCLAIMS
            Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 8 of 195 Page ID
                                             #:1043




 1           Defendant and Counterclaimant Arex Industries, Inc. (“Arex”) presents the following
 2   allegations and facts in support of these Counterclaims and demands a jury trial on all causes of action
 3   stated herein against the named Counterclaim Defendant as follows:
 4                                        JURISDICTION AND VENUE
 5           1.      This is a civil action for infringement of a patent and for a declaration of
 6   noninfringement and invalidity of a patent, arising under the patent laws of the United States, including,
 7   without limitation, 35 U.S.C. § 100, et seq., and the Declaratory Judgment Act, 28 U.S.C. § 2201, et
 8   seq.
 9           2.      This court has subject matter jurisdiction over these claims pursuant to the patent laws of
10   the United States under 28 U.S.C. §§ 1331 and 1338(a) and the Declaratory Judgment Act, 28 U.S.C.

11   §§ 2201-2202.

12           3.      Venue properly lies within the Central District of California pursuant to 28 U.S.C.

13   § 1391(b), (c), and (d).

14                                                    PARTIES

15           4.      Arex is a corporation registered and existing under the laws of the State of California,

16   having its principal place of business at 5300 Irwindale Ave, Irwindale, California 91706.

17           5.      Upon information and belief, Zhejiang Yuanzheng Auto & Motorcycle Accessories

18   Co., Ltd. (“ZYA”) is a company organized and existing under the laws of China, having its principal

19   place of business in Wenzhou, China. ZYA has consented to the jurisdiction of this Court by initiating

20   this lawsuit.

21           6.      Upon information and belief, ZYA is a China-based manufacturer, online distributor,

22   and retailer of auto and motorcycle parts and accessories, and Yuanzheng ZYA is the owner of the
                                                                                                                   Formatted: Font: Bold, Underline, Font color: Custom
23   United Stated registered trademark for VLAND for various lights for vehicles.                                 Color(RGB(0,0,10))

24                Upon information and belief, Zhejiang Hongguang Lighting Technology Co., Ltd. (“ZHL”)

25   is a company organized and existing under the laws of China, having its principal place of business in

26   Zhejiang, China.

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                                       THIRDSECONDAMENDED COUNTERCLAIMS
         Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 9 of 195 Page ID
                                          #:1044




 1          7. Upon information and belief, ZHL is a China-based manufacturer, online distributor, and
 2   retailer of automobile parts and accessories, and ZHL is currently the owner of the United Stated
 3   registered trademarks for VLAND for various lights for vehicles.
                                                                                                                 Formatted: Indent: Left: 0"
 4              Upon information and belief, Yonghuo Wang (“Wang”) is an individual having a
 5   citizenship of China residing in Gangzhou, China.
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 6          8. Upon information and belief, Wang is the principal of both ZYA and ZHL.                           Color(RGB(0,0,10))

 7                                       ALTER EGO ALLEGATIONS

 8          9. Arex is informed and believes and thereon alleges that the individual and entity named as

 9   Counter-Defendants herein, including but not limited to Yonghuo Wang and Zhejiang Hongguang

10   LightingZHL Technology Co., Ltd (hereinafter collectively referred to as the “Alter Ego Counter-

11   Defendants”), and each of them, were at all times relevant herein the alter egos Zhejiang Yuanzheng

12   Auto & Motorcycle AssesoriesAccessories Co., Ltd.ZYA by the reason of the following:

13              (a) Arex is informed and believes and thereon alleges that Defendant ZYA, at all times

14                  herein was mentioned, dominated, influenced, and controlled by each of the Alter Ego

15                  Counter-Defendants and the officers thereof as well as the business, property, and

16                  affairs of each said entities;

17              (b) Arex is informed and believes and thereon alleges that, at all times herein mentioned,

18                  there existed and now exists a unity of interest and ownership between Defendant ZYA

19                  and each of the Alter Ego Counter-Defendants; the individual and separateness of

20                  Defendant ZYA and each of the Alter Ego Counter-Defendants have ceased;

21              (c) Arex is informed and believes and thereon alleges that, at all times herein mentioned,

22                  ZYA has been and continues to be a mere shell and naked framework which the Alter

23                  Ego Defendants uses as a conduit for the conduct of their personal business, property, and

24                  affairs;

25              (d) Arex is informed and believes and thereon alleges that, at all times herein mentioned,

26                  ZYA was created and continued pursuant to a fraudulent plan, scheme, and/or device

27                  conceived and operated by the Alter Ego Counter-Defendants, whereby the income,

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                                                         3

                                       THIRDSECONDAMENDED COUNTERCLAIMS
        Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 10 of 195 Page ID
                                          #:1045




 1                    revenue, and profit of ZYA were diverted by the Alter Ego Counter-Defendants to
 2                    themselves;
 3              (e) Arex is informed and believes and thereon alleges that, at all times herein mentioned,
 4                    ZYA was organized by the Alter Ego Counter-Defendants as a device to avoid liability
 5                    and for the purpose of substituting financially irresponsible entities in the place and
 6                    stead of ZYA;
 7              (f) By virtue of the foregoing, adherence to the fiction of the separate corporate existence

 8                    of ZYA would, under the circumstances, sanction a fraud and promote injustice in that

 9                    Arex would be unable to realize any judgment in its favor.

10              (g) Additionally, upon information and belief, Wang is the principal for both ZYA and

11                    ZHL. ZHL owns the VLAND trademark in the European Union; ZHL owns the

12                    VLAND trademark in Australia; and after the transfer by ZYA to ZHL, ZHL owns the

13                    VLAND Trademarks in the United States as well.
                                                                                                                          Formatted: Font: Bold
14              (h) Attached Exhibit I is a true and copy of a copy of the website yzheng.com , which is

15                    the website of ZHL showing in the same webpage bearing “Vland” trademark, while in

16                    the ”About US” section stating that the company is “ZYA” and then at the bottom of

17                    the webpage stating that the company is ZHL.
                                                                                                                          Formatted: Font: Not Bold, No underline
18              -6.                                                                                               >( Formatted: Indent: Left: 0.75", Right: 0.13", Outline
19                       THE ASSERTED PATENT AND INFRINGMENT THEREOF                                                      numbered + Level: 2 + Numbering Style: a, b, c, … +
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20          7.10.     On February 2, 2021, the United States Patent and Trademark Office duly and legally                 + Not at 0.75"

21   issued United States Design Patent No. D909,634, entitled “Vehicle Headlight” (“the ’634 Patent”).

22   The patent’s named inventor is Mizeng He. Arex is the assignee and owner of the entire right, title, and

23   interest in and to the ‘634 Patent and as such is vested with the right to bring this suit for damages and

24   other relief. A true and correct copy of the ‘634 Patent is attached hereto as Exhibit A.

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                                        THIRDSECONDAMENDED COUNTERCLAIMS
                                        -  -- - -
         Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 11 of 195 Page ID
                                           #:1046




 1           11.      ZYA’s “VLAND LED headlights for Ford 150 2018-2020” (the “Accused Products”)
 2   arecopiedare copied from the ‘634 Patent and are listed on VLAND’s website 1 and on Amazon.com 2.
 3   A true and correct copy of ZYA’s listings -are -is attached hereto as Exhibit B.
                                                                                                                                            Formatted: Centered, No bullets or numbering, Tab
 4                      COUNTER-DEFENDANTS’ ATTEMPT TO AVOID LIABILITY
                                                                                                                                 ~          stops: Not at 0.75"

 5                                         AND FRAUDULENT TRANSFER
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 6
 7           12.
                      At the commencement of this lawsuit, ZYA was the owner of several United States
                      rregistered trademarks for VLAND, including U.S. Reg. Nos. 6302000, 6301997,
                                                                                                                                 -1         stops: 0", List tab + Not at 0.75"



 8   5781201, and 5065813 (the “VLAND Trademarks”), all of which relates to motor vehicle products

 9   and/or accessories.
                                                                                                                                            Formatted: Indent: Left: 0", First line: 0.5", Outline
10           13.      On or about December 12, 2022, in the midst of this current action, ZYA transferred                                   numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
                                                                                                                                 --------   Start at: 1 + Alignment: Left + Aligned at: 0.5" + Tab
11   through assignment the entire interest in the VLAND Trademarks from ZYA to ZHL. Each of the                                            after: 0.75" + Indent at: 0.75", Tab stops: 0", List tab
                                                                                                                                            + Not at 0.75"
12   assignments for the VLAND Trademarks was recorded with the USPTO and a true and correct copy of

13   each is attached hereto as Exhibit G.
                                                                                                                                            Formatted: Indent: Left: 0", Tab stops: 0", List tab +
14           14.      After the fraudulent transfer of ZYA’s VLAND Trademarks and potentially other assets
                                                                                                                                 ~          Not at 0.75"

15   to ZHL, ZYA has taken the position that ZYA has only sold the Accused Product up to November of

16   2021 and has since not sold any Accused Products.

17           15.      Contrary to ZYA’s statement and positionHowever, a search for VLAND and the

18   Accused Products shows that the Accused Products are still being sold under the VLAND Trademarks

19   on Amazon.com.

20                            FRAUDULENT ACQUISITION OF PATENTS FROM

21                      THE UNITED STATES PATENT AND TRADEMARK OFFICE

22         USPTO AND INJURY TO COMPETITION AND CUSTOMERS OF COMPETITORS
                                                                                                                                            Commented [KG1]: Is this supposed to be a cause of
23                                           (WALKER
                                              I      PROCESS CLAIM)I                                                              /         action? The title of it makes it sound like it is

24
25
             16.      Incredibly, ZYA has devised a scheme to fraudulently obtained patents formfrom the
     United States Patent and Trademark Office (“USPTO”). -,In counsel’s years of experience and practice
                                                                                                                                 --         Formatted: Indent: Left: 0", First line: 0.5", Outline
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26   in the field of intellectual property and in dealing with the USPTO, counsel has never seen such blatant

27   1
       https://www.vland-official.com/products/vland-led-projector-headlights-for-ford-f150-2018-2020-without-sequential-turn-
     signal
28   2
       https://www.amazon.com/Upgraded-Headlights-Pickup-Assembly-YAA-F150-
     2042A/dp/B08PZ1N9V8/ref=sr_1_32?crid=1H58RM39S8QVC&dchild=1&key

                                                                 5

                                           THIRDSECONDAMENDED
                                                --            COUNTERCLAIMS
        Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 12 of 195 Page ID
                                          #:1047




 1   fraud before the USPTOcommitted by anyone on the USPTO. The level of the fraud and audacity of
 2   ZYA in its fraud is unprecedented and shocking to say the lease.
 3          17.     UnfortunatelyTo date, ZYA, however, has been successfully in its scheme in
 4   fraudulently obtaining patents, including but not limited to U.S. Patent Number D925,796.
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 5          18.     Specifically, ZYA’s D925,796 Patent indicated that a USPTO patent practitioner named                      stops: 0", List tab + Not at 0.75"

 6   Jie Yang (Ms. Y“Yang”), with Registration Number 77,665, prosecuted the patent application.
 7          19.      Ms. Yang, however, has denied under oath that she prosecuted the patent application or

 8   , and she has further taken the position that she has never authorized the use of her name and

 9   registration number for the prosecution of the D925,796 patent.

10          20.     ZYA hasdid not, in its D925,796 patent application, disclose the fact that Ms. Yang was

11   not involved in the prosecution of the patent, nor did she not authorized the use of her name and

12   registration for the prosecution of the patent.

13          21.     Accordingly, ZYA made representations to the USPTO that were material to the

14   patentability of its then pending patent application which it knew to be false. The materially false

15   representations and omissions were intended to induce and did induce reliance by the patent examiners

16   charged with determining whether to grant ZYA’s patent claims.

17          22.     Indeed, but for ZYA’s materially false statements and omissions, the D925,796 patents

18   application could not issue into a patent would not have issued.
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20                                                     COUNT ONE                                                              after: 0.75" + Indent at: 0.75"

21                            INFRINGEMENT OF THE ‘634 PATENT BY ZYA
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22          2.23.   Arex re-alleges and incorporates by reference each and every allegation in the preceding ......------ numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
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23   paragraphs as though fully set forth herein.                                                                             after: 0.75" + Indent at: 0.75", Tab stops: 0", List tab
                                                                                                                              + Not at 0.75"
24          3.24.   ZYAhas knowledge of the design embodied in the ‘634 Patent in as early as February

25   2019 when Arex debuted its product, bearing the ‘634 Patent, in the US. ZYAhas knowledge ofits

26   infringement of the ‘634 Patent since at leastDecember 2021, when counsel for ZYA contacted Arex’s

27   counsel in response to Arex’s October 27, 2021,cease2021, cease and desist letter to third party US

28   ELogistics Service Corp.


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                                       THIRDSECONDAMENDED COUNTERCLAIMS
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 1          4.25.   The ‘634 Patent has a single claim directed to the ornamental design for vehicle
 2   headlights as shown below:
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                                                     Arex’s
 4                                            D909,634 Design Patent
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                                      THIRDSECONDAMENDED COUNTERCLAIMS
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 1            5.26.    ZYA copied the design for its Accused Products from the design of the ‘634 Patent. A   numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
                                                                                                              Start at: 1 + Alignment: Left + Aligned at: 0.5" + Tab
 2   side-by-side comparison of the ‘634 Patent and an exemplary specimen of ZYA’s headlight is shown         after: 0.75" + Indent at: 0.75"

 3   below:
 4                             Arex’s                                             ZYA’s
 5                      D909,634 Design Patent                                   headlight

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                                        THIRDSECONDAMENDED COUNTERCLAIMS
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15          6.27.    As depicted above, the headlight design of the Accused Product is the same or
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16   substantially the same as the headlight design of the ‘634 Patent. While both are designed as              after: 0.75" + Indent at: 0.75", Tab stops: Not at
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17   aftermarket lights to replace the original Ford 2018 headlight, ZYA copied the designs of Arex and
18   made its own design to be so similar to Arex such that an ordinary observer would be so deceived by
19   the substantial similarity between the designs.
20          7.28.    Indeed, the ‘634 Patent is comprised of the following main ornamental features: (1) a
21   single LED projector light with surrounding bezel (having a top horizonal lid, bottom horizontal lid,
22   and side lid displacing a backward pointing arrow) positioned to the top (headlight top main section),
23   (2) triple horizonal LED bars with marginal spacing between each bars (headlight middle main section),
24   (3) a single LED projector light with a surrounding bezel (having a top horizonal lid, bottom horizontal
25   lid, and side lid displacing a backward pointing arrow) positioned to the bottom (headlight lower main
26   section), (4) a continuous LED bar wrapping and taping around the outer perimeter of the headlamp,
27   and (5) an inner side lamp (parking light) adjacent and protruding horizontally to the triple horizontal
28   LED bars.

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                                      THIRDSECONDAMENDED COUNTERCLAIMS
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 1          8.29.   Specifically, the ‘634 Patent contains amain middle section that has prominent triple
 2   horizonal LED bars with marginal spacing between each bar (“Triple LED Bars”) that immediately
 3   draw the user’s attention. These Triple LED Bars are the prominent design element, and are not
 4   disclosed in any of the prior art cited in the ‘634 Patent’s prosecution history. The Accused Product
 5   also has aesthetically identical features comprising of the five ornamental features listed above and
 6   most importantly, the Triple LED Bars.
 7          9.30.   Except for the slight differences in the non-material respect of the appearance of the

 8   inner side lamp (5), the accused product bears identical features matching that of the ‘634 patent, most

 9   notably the Triple LED Bars and the two LED lights with reversed arrow bezels placed on the top and

10   bottom of the Triple LED Bar. Given that the similarity between these points of novelty, such that the

11   overall design of the ‘634 Patent and Accused Products are nearly identical, there is no doubt that

12   ZYA’s Accused Products infringe the ‘634 Patent. Giving such attention as a purchaser usually gives,

13   an ordinary user would be so confused by the substantial similarity between the designs so as to be

14   induced to purchase ZYA’s product supposing it to be from Arex.

15          10.31. Arex has not granted a license or any other authorization to ZYA to make use, offer for

16   sale, sell, or import headlights that embody the headlight design patented in the ‘634 Patent.

17          11.32. Arex alleges upon information and belief that, without authority, ZYA has infringed and

18   continues to infringe the ‘634Patent by, inter alia, making, using, offering to sell, or selling in the

19   United States, including in the State of California and within this District, products infringing the

20   ornamental design covered by the ‘634Patent in violation of 35 U.S.C. § 271, including but not limited

21   to the Accused Products.

22          12.33. ZYA’s acts of infringement of the ‘634Patent was undertaken without authority,

23   permission, or license from Arex. ZYA’s infringement violates 35 U.S.C. § 271.

24          13.34. Arex is informed and believes that ZYA intentionally sells, ships, or otherwise causes to

25   be delivered the Accused Products in the United States, with knowledge that they are designed to and

26   do practice the infringing features of the ‘634 Patent.

27          14.35. Arex has been damaged in an amount to be proven at trial, but not less than $1,000,000,

28   plus interest, attorney’s fees, and costs as provided by law.


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                                       THIRDSECONDAMENDED COUNTERCLAIMS
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        1          15.36. Arex is without an adequate remedy at law and has thus been irreparably harmed by
        2   these acts of infringement. Arex asserts upon information and belief that infringement of the asserted
        3   claims of the ‘634 Patent is continuous and ongoing unless and until ZYA is enjoined from further
        4   infringement by the Court.
        5                                                  COUNT TWO
        6                      WILLFUL INFRINGEMENT OF THE ASSERTED PATENT
                                                                                                                        Formatted: Indent: Left: 0", First line: 0.5", Outline
        7          -16.37.
                       - Arex re-alleges and incorporates by reference each allegation in the preceding                 numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
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        8   paragraphs as though fully set forth herein.                                                                after: 0.75" + Indent at: 0.75", Tab stops: 0", List tab
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        9          -17.38.
                       - ZYA’s infringement of the ‘634 Patent has been willful.
       10          -18.39.
                       - ZYA has had actual knowledge of the ‘634 Patent since as early as 2019 February and
       11   also at least as early as December 2021 when counsel for ZYA contacted Arex’s counsel in response to
g 12        Arex’s October 27, 2021, letter to US E-Logistics Service Corp.
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3,,
::§    13          -19.40.
                       - Accordingly, ZYA’s continued marketing and sales evidence not only ZYA’s pre-suit
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"';:, 14 knowledge of the ‘634 Patent, but that ZYA’s infringement of the ‘634 Patent has been, and continues
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       15   to be, willful and deliberate, warranting treble damages.


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                   -20.41.
                       - Indeed, ZYA’s sole possible defense to willfulness is that it has a valid design patent of
            its own. However, this defense is premised on fraud and foul play.

      I18          -21.42.
                       - On information and belief, when ZYA filed its U.S. Design Patent D925,796 (“the ‘796
       19   Patent”) on July 21, 2020, it copied all of the key ornamental features of Arex’s F150 headlight that are

       20   embodied in the ‘634 Patent.

       21          22.43. The F150 product embodied in the ‘634 Patent was introduced into US commerce as

       22   early as February 2019. It proved to be a tremendous success and received accolades from the industry

       23   and users alike.

       24          23.44. On information and belief, eyeing the success of Arex’s F150 headlight, ZYA devised a

       25   scheme by which it would (a) copy the designs, (b) make slight changes, (c) withhold key prior art that

       26   would show that the changes were not novel, and (4) proceed to obtain a patent by fraud and sell the

       27   products under the cover of a duly-issued patent.

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                                             THIRDSECONDAMENDED COUNTERCLAIMS
                                                                Page 18 of 195 Page ID




                                                                                    1           24.45. Indeed, ZYA first obtained a copy of the F150 sample and copied its prominent key
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                                                                                    2    ornamental features including the features of (1) a single LED projector light with surrounding bezel
                                                                                    3    (having a top horizonal lid, bottom horizontal lid, and side lid displacing a backward pointing arrow)
                                                                                    4    positioned to the top (headlight top main section), (2) triple horizonal LED bars with marginal spacing
                                                                                    5    between each bars (headlight middle main section), (3) a single LED projector light with a surrounding
                                                                                    6    bezel (having a top horizonal lid, bottom horizontal lid, and side lid displacing a backward pointing
                                                                                    7    arrow) positioned to the bottom (headlight lower main section), (4) a continuous LED bar wrapping and
                                                                                    8    taping around the outer perimeter of the headlamp, and (5) an inner side lamp (parking light) adjacent
                                                                                    9    and protruding horizontally to the triple horizontal LED bars.
                                              LAWFI.JlM07/16/23




                                                                 10                             25.46. After ZYA copied the prominent features, it made a marginal effort to distinguish their
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                                                                 11                      design from the ‘634 Patent by incorporating a grill-like bar covering the inner side lamp, a feature that
                                                                 12                      was already disclosed in prior art, specifically, the 2018 Ford F-150 King Ranch Edition exterior
                                      71-1 Filed




                                                                 13                      halogen headlight (“King Ranch Light”).
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                                                                 14
                                                                                               King Ranch Light                                            ZYA’s ‘796
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                                                                                                26.47. ZYA purposely withheld the prior art of the King Ranch Light from the USPTO during




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                                                                                         the prosecution of the ‘796 Patent. Had the King Ranch Light prior art been disclosed to the USPTO,          after: 0.75" + Indent at: 0.75", Tab stops: 0", Left
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                                                                                         the Examiner would not have issued the ‘796 Patent, given that the only material difference between
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                                                                                         Arex’s ‘634 Patent and ZYA’s ‘796 Patent is the grill-like bar covering the inner side lamp, a feature
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                                                                                         that was already disclosed on the King Ranch Light.
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                                                                                                                          THIRDSECONDAMENDED COUNTERCLAIMS




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        Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 19 of 195 Page ID
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 1             27.48. ZYA filed its ‘796 Patent application as an expedited request, which requires a
 2   certification that the relevant agents and principals had conducted a thorough prior art search. Based on
 3   the attorney’s certification of prior art search, only three (3) items of prior art were offered, none of
 4   which were the ‘634 Patent or the King Ranch Light. Despite the heightened requirement of self-
 5   certification of a thorough prior art search, ZYA still failed to disclose the King Ranch Light.
 6             28.49. On information and belief, ZYA knew that it had obtained the ‘796Patent improperly by
 7   copying the features of the ‘634 Patent and adding a grill-like bar covering the inner side lamp identical

 8   to the 2018 Ford King Ranch F150 headlight, and further failing to disclose the existence of the King

 9   Ranch Light prior art to the USPTO.ZYA’s reliance on the ‘796 Patent as a defense to Arex’s

10   infringement claims so that they can continue to sell without consequences only makes their conduct

11   even more egregious.

12             29.50. Therefore, Arex seeks to recover enhanced damages against for willfulness as authorized

13   by law.

14                                                COUNT THREE

15                         DECLARATION OF INVALIDITY OF D925,796 PATENT
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16             30.    Arex re-alleges and incorporates by reference each and every allegation in the preceding    numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
                                                                                                                  Start at: 1 + Alignment: Left + Aligned at: 0.5" + Tab
17             51.    paragraphs as though fully set forth herein.                                                after: 0.75" + Indent at: 0.75", Tab stops: 0", List tab
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18             31.52. The ‘796 Patent is owned by ZYA, and a copy thereof is attached hereto as Exhibit C.

19             32.53. Arex contends that the claim of the ‘796 Patent is invalid for failure to comply with one

20   or more of the conditions for patentability set forth in Part II of Title 35 of the United States Code,

21   including 35 U.S.C. §§ 102and 103 because it is anticipated or is obvious in view of Arex’s ‘634 Patent

22   and the other prior art discussed above.

23             33.54. As shown in Exhibit D, ZYA contends that the ‘796 Patent does not infringe upon the

24   ‘634 Patent because it was issued after the patent examiner considered the ‘634 Patent.

25             34.55. Under 35 USC §§ 102, a person cannot obtain a design patent if someone else already

26   has made an identical version of the design. Simply put, the design must be new. A design that is not

27   new or novel is said to be “anticipated by the prior art.” Under the U.S. patent laws, a design that is

28   “anticipated” is not entitled to patent protection.


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                                        THIRDSECONDAMENDED COUNTERCLAIMS
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 1          35.56. When viewed as a whole, the ‘796 Patent is “identical in all material respects” to the
 2   overall visual impression of the ‘634 Patent. Minor differences between the prior art and the claimed
 3   design do not preclude a finding of anticipation.
 4          36.57. The distinctive ornamental features of the ‘634 Patent are compared to the ‘796 Patent in
 5   the charts herein. Specifically, as shown in Fig. 2, the ‘634 Patent is comprised of these main
 6   ornamental features: (1) a single LED projector light with surrounding bezel (having a top horizonal
 7   lid, bottom horizontal lid, and side lid displacing a backward pointing arrow) positioned to the top

 8   (headlight top main section), (2) triple horizonal LED bars with marginal spacing between each bar

 9   (headlight middle main section), (3) a single LED projector light with a surrounding bezel (having a top

10   horizonal lid, bottom horizontal lid, and side lid displacing a backward pointing arrow) positioned to

11   the bottom (headlight lower main section), (4) a continuous LED bar wrapping and taping around the

12   outer perimeter of the headlamp, and (5) an inner side lamp (parking light) adjacent and protruding

13   horizontally to the triple horizontal LED bars.

14          37.     The ‘634 Patent contains a middle main section that has the prominent Triple

15          58.     LED Bars that immediately draw the user’s attention. These Triple LED Bars are the

16   prominent design element that is not disclosed in any of the prior art cited in the ‘634 Patent’s

17   prosecution history. Similarly, the ‘796 Patent also has aesthetically identical features comprising of the

18   five ornamental features and most importantly, the Triple LED Bars. This undisputed similarity

19   between the ‘634 Patent and the ‘796 Patent can be seen in the following comparison chart.:

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                        AREX’s ‘634                                      ZYA’s ‘796
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                                       THIRDSECONDAMENDED COUNTERCLAIMS
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                                                                                               38.59. Except for slight non-material differences in the appearance of the inner side lamp (5),   numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
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                                                                                        the ‘796 Patent bears identical features matching that of the ‘634 Patent, most notably the Triple LED   after: 0.75" + Indent at: 0.75", Tab stops: 0", List tab
                                                                18                                                                                                                               + Not at 0.75"
                                                                                        Bar and the two LED lights with reversed arrow bezels placed on top and bottom of the Triple LED
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                                                                                        Bar. The differences between these points of novelty and the Accused Products are so minor that the
                                                                20
                                                                                        overall design of the ‘634 Patent and ‘796 Patent are identical in all material respects, and the ‘796
                                                                21
                                                                                        Patent should be held invalid under 35 USC § 102.
                                                                22
                                                                                               39.60. A claimed design is invalid as “obvious” if it would have been obvious to a designer of
                                                                                                  i'




                                                                23
                                                                                        ordinary skill who designs articles of the type involved.
                                                                24
                                                                                               40.61. Here, the combination of the ‘634 Patent with a closely related secondary reference,
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                                                                25
                                                                                        such as the King Ranch Light already in public display and use as early as January 12, 2017, would
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                                                                                        suggest the claimed design to a designer of ordinary skill. Indeed, a designer of ordinary skill would
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                                                                                        have combined these references to create the same overall visual appearance as the claimed design.
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                                                                                                                          THIRDSECONDAMENDED COUNTERCLAIMS




                                                                                                                                II
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                                                                               1              41.62. The slight non-material differences in the appearance of the inner side lamp (5) with
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                                                                               2    grill like bar is disclosed in the King Ranch Light, shown in Exhibit E.
                                                                               3              42.63. By combining the design of the ‘634 Patent as primary prior art and the King Ranch
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                                                                               4    Light as secondary prior art, the ‘796 Patent is invalid for obviousness under 35 USC § 103.
                                                                               5              43.64. An actual and justiciable controversy within the meaning of the Declaratory Judgment
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                                                                               6    Act, 28 U.S.C. § 2201,et seq., exists between Arex and ZYA with respect to the invalidity of the ‘796
                                                                               7    Patent.
                                                                               8              44.65. A judicial declaration of the invalidity of the ‘796 Patent, under 35 USC § 102 for
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                                                                               9    Anticipation and 35 USC § 103 for Obviousness, is necessary and appropriate to resolve this
                                              FLRM07/16/23




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                                                             10                     controversy.
                                                             11                                                                    COUNT FOUR
                                                             12                                         DECLARATION OF UNENFORCEABILITY OF D925,796 PATENT
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                                                             13                               45.66. Arex re-alleges and incorporates by reference each and every allegation in the preceding   numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
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                                                             15                               46.67. Every person who is substantively involved in the preparation or prosecution of the
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                                                             16                     patent application and who was associated with ZYAowed a duty to disclose information material to
                                                             17                     patentability to the USPTO under 37 C.F.R. section 1.56(a).
                                                             18                               47.68. The obligation of such individuals to disclose material information to the USPTO is also
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                                                             19                     reflected in the Manual of Patent Examining Procedure (MPEP), Chapter 2000.
                                                             20                               48.69. For example, MPEP section 2001.01 states: “the duty of disclosure ... would apply to
                                                                                               1

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                                                             21                     individuals within the corporation or institution who were substantively involved in the preparation or
                                                             22                     prosecution of the application, and actions by such individuals may affect the rights of the corporation
                                                             23                     or institution.”MPEP § 2001.01 (Rev. 10.2019, Last revised June 2020).
                                                             24                               49.70. The duty of disclosure applies to those who are associated with the inventor, the
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                                                             25                     applicant, an assignee, or anyone to whom there is an obligation to assign the application. 37 CFR
                                                             26                     1.56(c)(3).
                                                             27                               50.71. The individuals, therefore, and according 37 CF 1.56(c)(3), that have duties to disclose
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                                                             28                     prior art, include the named inventor Yu Chen of Rui’an China, who is also the manager of applicant
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                                                                                                                       THIRDSECONDAMENDED COUNTERCLAIMS




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       1   ZYA, the named prosecuting USPTO agent practitioner Jie Yang, the designer of the accused light
       2   apparatus Xiaopeng Liao, the principal of applicant ZYA Wang Yonghuo.
       3           51.72. The ‘796 Patent is presumed to be owned by ZYA as ZYA was the named applicant.
       4           52.73. Arex contends that the sole claim of the ‘796 Patent is unenforceable because it was
       5   procured by inequitable conduct.
       6           53.74. On information and belief, when ZYA filed its application for the ‘796 Patent, Yu Chen,
       7   Xiaopeng Liao and Wang Yonghuo copied all of the key ornamental features of Arex’s F150 headlight.

       8           54.75. Specifically, Arex’s F150 product (“the ‘634 Patent”) was introduced into US commerce

       9   in as early as February 2019 and was tremendously successful with accolades from the industry and

      10   users alike.

      11          -55.76.
                      - On information and belief, eyeing the success of the Arex F150 headlight, Yu Chen,
g 12       Xiaopeng Liao and Wang Yonghuo wanted to cache by selling AREX copycat. To do so, they would
""
3,,
::§   13   (a) copy the AREX design, (b) make slight changes by adding a feature from a prior art, (c) withhold
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"';:, 14 the disclosure of the prior art during prosecution of the copycat design and (d) obtain a patent by fraud
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Q
      15   so they can sell the copycat design legitimately.


~     16
      17
                  -56.77.
                      - On information and belief, Yu Chen, Xiaopeng Liao, and Wang Yonghuo first obtained
           a sample of the Arex’s F150 headlight and copied its prominent key ornamental features including (1) a

      18   single LED projector light with surrounding bezel (having a top horizonal lid, bottom horizontal lid,

      19   and side lid displacing a backward pointing arrow) positioned to the top (headlight top main section),

      20   (2) triple horizonal LED bars with marginal spacing between each bars (headlight middle main section),

      21   (3) a single LED projector light with a surrounding bezel (having a top horizonal lid, bottom horizontal

      22   lid, and side lid displacing a backward pointing arrow) positioned to the bottom (headlight lower main

      23   section), (4) a continuous LED bar wrapping and taping around the outer perimeter of the headlamp,

      24   and (5) an inner side lamp (parking light) adjacent and protruding horizontally to the triple horizontal

      25   LED bars.

      26           57.78. On information and belief, after copying the prominent features from AREX, Yu Chen,

      27   Xiaopeng Liao, and Wang Yonghuo, in the spring of 2020,next purchased a copy of the “Ford F150

      28

                                                               17

                                              THIRDSECONDAMENDED COUNTERCLAIMS
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                                                                                   1    King Ranch Light” which was revealed to the public in as early as 2017 and available to purchase in
                                                                                   2    the fall of 2017.
                                                                                   3           58.79. Specifically, the Ford F150 King Ranch Light was developed by Ford for its F150,
                                                                                                 II




                                                                                   4    specifically the thirteenth generation F150 mid cycle upgrade Model Year 2018-2020. It was revealed
                                                                                   5    to the public in 2017 Detroit Auto Show on January 8, 2017.
                                                                                   6           59.80. They then made a marginal effort to distinguish the Arex design by copying the grill-like
                                                                                                 II




                                                                                   7    bar covering the inner side lamp, a prominent feature in the “Ford F150 King Ranch Light.” There is no
                                                                                   8    doubt that Yu Chen, Xiaopeng Liao, and Wang Yonghuo copied the “grill-like bar covering” of the
                                                                                   9    2018 King Ranch because the same feature looks exactly identical in ZYA’s design as illustrated in the
                                           LAW FIRlll 07/16/23




                                                                10                      below side by side comparison.
                                                                11
                                                                                          Ford F150 2018 King Ranch                                       ZYA’s ‘796
                                                                12
                                   71-1CO. Filed




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                                  #:1059




                                                                14
                              ~ INHOUSE




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Case 2:22-cv-01692-JWH-PD Document




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                                                                19
                                                                20                             60.81. It is important to explain here that while certain products are available for public to
                                                                                                                                                                                                  Formatted: Indent: Left: 0", First line: 0.5", Outline




                                                                                                                                                                                                  \
                                                                                                                                                                                                  numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
                                                                                                 II




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                                                                21                      purchase, the USPTO Examiner often will not know about it unless such products also has a patent for      after: 0.75" + Indent at: 0.75", Tab stops: 0", List tab
                                                                                                                                                                                                  + Not at 0.75"
                                                                22                      reasons being that examiner often only search USPTO database for prior art search. On information
                                                                23                      and belief, Yu Chen, Xiaopeng Liao, and Wang Yonghuo knew that and chose to not inform the
                                                                24                      Examiner of the Ford F150 King ranch.
                                                                25                             61.82. After the ZYA completes its design, it then proceeded to put together a USPTO
                                                                                                 II




                                                                26                      application for design patent on or about July 21, 2020.
                                                                27
                                                                28
                                                                                                                                            18
                                                                                                                         THIRDSECONDAMENDED COUNTERCLAIMS




                                                                                                                                II
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 1             62.83. Every person who is substantively involved in the preparation or prosecution of the
 2   patent application and who was associated with ZYA owed a duty to disclose information material to
 3   patentability to the USPTO under 37 C.F.R. section 1.56(a).
 4             63.84. Information is material to patentability when it is not cumulative to information already
 5   of record or being made of record in the application, and (1) It establishes, by itself or in combination
 6   with other information, a prima facie case of unpatentability of a claim; or (2) It refutes, or is
 7   inconsistent with, a position the applicant takes in:(i) Opposing an argument of unpatentability relied

 8   on by the Office, or (ii) Asserting an argument of patentability.

 9             64.85. The “grill-like bar covering” feature was not in any of the prior art cited during the

10   prosecution of the ZYA patent and thus is not cumulative nor made of a record in the application.

11   Likewise, a prima facie case of unpatentability would have been established had the Examiner been

12   made aware of the “grill-like bar covering” as it should have been made as a record in the application.

13             65.86. Yu Chen, Xiaopeng Liao, and Wang Yonghuo knew they had an affirmative duty to

14   disclosing the “grill-like bar covering” of the 2018 King Ranch prior art but made a conscious decision

15   to withhold the prior art because they knew had they done so, the ZYA patent would not have been

16   issued.

17             66.87. On July 21, 2020, when the application was filed, an information disclosure statement

18   (“IDS”) was filed in connection to the application which is meant for applicant to disclose all pertinent

19   prior art considered. There was no mention of the “grill-like bar covering” of the 2018 King Ranch in

20   the IDS.

21             67.88. Worst, on August 29, 2020, thirty-eight (38) days after the original application was filed,

22   Yu Chen, Xiaopeng Liao, and Wang Yonghuo then moved to expediate the ZYA Patent application ,

23   which requires a certification that the relevant agents and principals have conducted a thorough prior art

24   search. (35 CFR. 1.155 (2).)

25             68.89. Specifically, the expedited application under 35 CF. 1.155 is a special procedure that

26   affords immediate processing of the application based on applicant’s promise that it conducted a pre-

27   examination search and to list the search result is listed in the information disclosure statement.

28

                                                            19

                                         THIRDSECONDAMENDED COUNTERCLAIMS
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 1   USPTO provides such expedited procedure in reliance of applicant’s duty of candor. ZYA, including
 2   Yu Chen, Xiaopeng Liao, and Wang Yonghuo took advantage of the system and abused it.
 3             69.90. Based on the certification of prior art search under the expeditedated request dated on
                                                                                                                 Formatted: Font: Not Bold, Italic, No underline
 4   August 29, 2020, and shown in Exhibit F, only three (3) items of prior art were offered, none of which
 5   discloses the “grill-like bar covering” of the 2018 King Ranch prior art.
 6             70.91. Despite the heightened requirement of self-certification of a thorough prior art search,
 7   ZYA, including Yu Chen, Xiaopeng Liao, and Wang Yonghuo purposelydly failed to disclose the King

 8   Ranch Light, which contains ZYA’s grill-like bar covering the inner side lamp. The intent is to deceive

 9   is especially obvious given that ZYA offered certification that they had conducted the required prior art

10   search.

11             71.92. Based on the above inequitable conduct, the ‘796 Patent is unenforceable.

12             72.93. Even more sinister than Yu Chen, Xiaopeng Liao, and Wang Yonghuo’s intentional

13   withholding of the King Ranch Prior art to fraudulently obtain the issuance of the ‘796 patent is the

14   shocking deposition testimony of USPTO agent licensed practitioner Jie Yang stating that the entire

15   ‘796 application was procured by fraud.

16             73.94. Specifically, on May 2, 2023, the USPTO licensed practitioner agent Jie Yang to which

17   this application was prosecuted under was deposed. It was revealed that the ‘796 patent was never

18   authorized to be prosecuted by her. Jie Yang testified that someone fraudulently used her name and her

19   USPTO practitioner agent license to prosecute the ‘796 patent entirely without Yang’s knowledge or

20   authorization. That she has never heard of the applicant ZYA, the inventor Yu Chen, or for that matter

21   Xiaopeng Liao or Wang Yonghuo.

22             74.95. When asked, as the entire prosecution file for ‘796 patent contains at least six (6)

23   different locations bearing Yang’s signature, individually and collectively, Yang stated that she had

24   never seen any of the documents and certainly did not sign them

25   For example:

26             Q: ……..is it also your position that you do not have a client-practitioner relationship with
               regard to Mr. Yu Chen (misspelled as YuanZheng), the inventor of this application?
27
28             A: I do not have any practitioner-client relationship with the inventor. What’s his name again?


                                                            20

                                         THIRDSECONDAMENDED COUNTERCLAIMS
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             ….
 1
 2           A: That’s correct.

 3           Q: ….You do not have any practitioner relationship – relationship with the inventor, as well as
             the applicant, correct?
 4
 5           A: That’s correct.

 6   (P16: ln 10- to ln 23.)
 7           Q: Q:MadamMadam Court Reporter to go ahead and mark this Exhibit Number 7 and by way of
 8           sharing the screen, I will represent to you Exhibit 7 is a Design Patent Application transmittal
             referring to first name of inventor, Yu Chen, of this particular patent at issue, and I want to go
 9           ahead and
             ask you to go and look to the bottom.
10
11   (p.45: ln 3 to ln -7.)

12           Q: There is signature, signature number signature is Jie Yang. The name is also Jie Yang and
             the registration number of this particular attorney or agent, 77665. Now my question for you is,
13           is your registration number at USPTO 77665?
14
             A: Yes, that’s my number.
15
             Q: Are you familiar with this document at all?
16
17           A: No.

18           Q: Is this not your signature, ma’am?
19           A: I did not sign it
20
     (p.45 ln :11 to ln- 21.)
21
             Q: You have any knowledge or reason to understand why your signature is affixed to this
22           particular transmittal?
23
             A: I don’t know how it got there.
24
     (       p.45 ln 11 to ln :22- to P.46: ln 3.)
25
             Q Did you authorize anyone to sign on behalf of this Information Disclosure Statement?
26
27           A: No.

28   (p.52: ln 10- to ln 12.)

                                                         21

                                        THIRDSECONDAMENDED COUNTERCLAIMS
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 1           Q: Go ahead and look at Exhibit 15. I just sent -- Madam Court Reporter, please go ahead and          Formatted: Font color: Auto
 2           mark as Exhibit 15. This -- I willrepresentwill represent to you this is the fees transmittal. This
             was a fees transmittalthattransmittal that was submitted to the USPTO in connection to the
 3           prosecution of this particular application. Towards the bottom I will ask you to carefully -- look
             -- it states the authorized signature is Jie Yang, dated June 21st, 2021. The prosecutioner’s name
 4           is Jie Yang, registration number 77665. To the extent you testified that this is you, do you
 5           recognize the signature here?

 6           A: I did not sign it.
 7   (p.55: ln 5- to 20.)
 8
             Q: Have you authorized your friend, Mr. Wang, to file any patent applications on your behalf?
 9
             A: I did not authorize Mr. Wang to file these applications.
10
11   - -
     (p.89: ln 12 to --19.)

12                                                                                                                 Formatted: Indent: Left: 0", First line: 0.5", Outline
             75.96. Yang suspects that the firm of W&K, which prosecuted the patent, specifically Yu               numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
13                                                                                                                 Start at: 1 + Alignment: Left + Aligned at: 0.5" + Tab
     Wang, someone who is neither an attorney or a registered USPTO agent, stole her identity to prosecute         after: 0.75" + Indent at: 0.75", Tab stops: Not at
                                                                                                                   0.75"
14   the ‘796 patent.
15           76.97. Under USPTO MPEP Section 2016 Fraud, Inequitable Conduct, or Violation of Duty of
16   Disclosure Affects All Claims [R-08.2017], a finding of "fraud," "inequitable conduct," or violation of
17   duty of disclosure with respect to any claim in an application or patent, renders all the claims thereof
18   unpatentable or invalid. See Therasense Inc. v. Becton Dickinson and Co., 649 F.3d 1276, 1288, 99
19   USPQ2d 1065, 1071 (Fed. Cir. 2011), Chromalloy American Corp. v. Alloy Surfaces Co., 339 F. Supp.
20   859, 173 USPQ 295 (D.Del. 1972) and Strong v. General Electric Co., 305 F. Supp. 1084, 162 USPQ
21   141 (N.D. Ga. 1969), aff’d, 434 F.2d1042, 168 USPQ 8 (5th Cir. 1970), cert. denied, 403 U.S. 906
22   (1971). In J. P. Stevens & Co. v. Lex TexLtd., 747 F.2d 1553, 1561, 223 USPQ 1089, 1093-94 (Fed.
23   Cir. 1984).
24           77.98.
             -   -While most fraud on the USPTO occurs in the context of intentionally withholding prior
25   art, fraud in this context of using identity theft to procure USPTO Patent falls squarely into the
26   definition of “Fraud” as defined in the MPEP 2016 and the cases thereunder.
27           78.99. Accordingly based on this indisputable fraud and inequitable conduct, the ‘796 Patent is
28   unenforceable.

                                                          22

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 1          -79.100.        An actual and justiciable controversy within the meaning of the Declaratory
 2   Judgment-Act, 28 U.S.C. § 2201, et seq., exists between Arex and ZYA with respect to the
 3   enforceability of the ‘796 Patent.
                                                                                                                          Formatted: Indent: Left: 0", Tab stops: Not at 0" +
 4          101.-A judicial declaration of the unenforceability of the ‘796 Patent is appropriate to resolve
            -
                                                                                                                 ~
                                                                                                                          0.75"

 5   this controversy.                                                                                            ~ Formatted:
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 6
 7                                                  COUNT FIVE

 8                                        FRAUDULENT TRANSFER

 9                                        (Cal. Civil Code § 3439 et. seq.)

10          102.    Arex re-alleges and incorporates by reference each and every allegation in the preceding

11   paragraphs as though fully set forth herein.                                                                ---1 Formatted: No bullets or numbering
12          103.    On January 6, 2022, ZYA sendst a cease-and-desist a letter askingto Arex demanding that

13   it not to interfere with its business in selling its VALND F150 headlightstop attempting to enforce its
                                                                                                                          Formatted: Font color: Custom Color(RGB(0,0,10)),
14   patent rights against ZYA.                                                                                           Pattern: Clear

15          104.                                               --
                    On March 14, 2022, ZYA filed the instant its lawsuit alleging various harms as a result of
                                                                                                                          Formatted: Font color: Custom Color(RGB(0,0,10)),
16   Arex’s patent enforcementinterference if it selling VALND F150 headlight efforts.                            /       Pattern: Clear

17              On May 13, 2022, ZYA filed itsa motion for Ppreliminary Iinjunction, admitting that              ---      Formatted: Indent: Left: 0"


18   Plaintiff which included the admission that ZYA is the owner of the registered trademark “VLAND”.

19   The motion further
                                                                                                                          Formatted: Font: (Default) TimesNewRomanPSMT
20          105.    In the same pleading it statesd that VLAND has suffered, and will continue to suffer,
                                                -
21   irreparable harm as a result of Arex’s alleged interference.. This pleading was signed by ZYA’s counsel
                                                                                                                          Formatted: Font: (Default) Times New Roman
22   Tianyu Ju on May 13, 2022.

23          106.    On April 21, 2023, ZYA’s responds in its verified discovery responses state , that
                                                                                                                          Formatted: Font: (Default) TimesNewRomanPSMT,
24   “[p]laintiff has no active stores on Amazon.com. Plaintiff is only a manufacturer of the alleged accused     /       Font color: Custom Color(RGB(0,0,10))

25   products.” -In the same response, ZYA states that “[o]ur company’'s financial sales decreased after we        ~ Formatted: Font: (Default) TimesNewRomanPSMT,
                                                                                                                          Font color: Custom Color(RGB(0,0,10))

26   received Defendant’s cease and desist letter. Our company could not sell any headlights in 2022 due to

27   the cease and desist letter. Our Company also stopped selling the headlights in December 2021 due to
                                                                                                                          Formatted: Font: (Default) TimesNewRomanPSMT,
28   the warehouse holding the products after receiving Arex’s cease and desist letter.”                          /       Font color: Custom Color(RGB(0,0,10))

                                                                                                                          Formatted: Font: Courier New
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                                                         23

                                      THIRDSECONDAMENDED COUNTERCLAIMS
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 1                                                                                                                           numbering
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 2             23           Subject to and notwithstanding its General and Specific Objections, Plaintiff responds as
                                                                                                                             pt

 3             24    follows: Our company's financial sales decreased after we received Defendant's cease and desist
               25
 4
                     letter. Our company could not sell any headlights in 2022 due to the cease and desist letter. Our
               26
                     Company also stopped selling the headlights in December 2021 due to the warehouse holding the
 5             27
                     products after receiving Arex's cease and desist letter.
 6             28

 7
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 8                                                                                                                           Left


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            107.
                                  " >=========<
                      It went on to state that it has only sold 308 of the accused products in 2021.
                                                                                                                             Formatted: Font color: Custom Color(RGB(0,0,10)),
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                                                                                                                             Formatted: No bullets or numbering
10                                                                                                                           Formatted: Font: (Default) Times New Roman
                                                                                                                         ~   >===========<
11                  Subject to and notwithstanding its General and Specific Objections, Plaintiff responds as                Formatted: Indent: Left: 0.5", No bullets or
                                                                                                                             numbering
12          follows: Refer to sales data in the March 20, 2023 production. Plaintiff sold 368 ACCUSED

13          PRODUCTS in the year of 2021. Plaintiffs profit for each of the Accused Product is ¥ 503.01

14          (RMB).

15                                                                                                                           Formatted: Line spacing: single, No bullets or
                                                                                                                             numbering
16          108.      Yet as of the time of this complaint, the very same VLAND F150 light is available for

17   sale in Amazon’s Vland Store, Vlandus.com, Vland-USA.com, Vland-official.com, Vlandshop.com, and

18   Vlandfactory.com.
                                                                                                                             Formatted: Font: Bold
19          109.      Attached Exhibit J is a true and correct copy of the website Amazon’s Vland Store

20   showing it selling the accused product as of July 3, 2023.
                                                                                                                             Formatted: Font: Bold
21          110.      Attached Exhibit K is a true and correct copy of the website Vlandus.Com showing it

22   selling the accused product as of July 3, 2023.
                                                                                                                             Formatted: Font: Bold
23          111.      Attached Exhibit L is a true and correct copy of the website Vland-USA.Com showing it

24   selling the accused product as of July 3, 2023.
                                                                                                                             Formatted: Font: Bold
25          112.      Attached Exhibit M is a true and correct copy of the website Vland-Official.com

26   showing it selling the accused product as of July 3, 2023.
                                                                                                                             Formatted: Font: Bold
27          113.      Attached Exhibit N is a true and correct copy of the website Vlandshop.com showing it

28   selling the accused product as of July 3, 2023.


                                                                      24

                                             THIRDSECONDAMENDED COUNTERCLAIMS
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                                                                                                                               Formatted: Font: Bold
 1          114.    Attached Exhibit O is a true and correct copy of the website Vlanddfactory.Com
 2   showing it selling the accused product as of July 3, 2023.
 3          115.    In fact, as of July 3, 2023, Vlandfactory.Com states clearly state it is operated and own by
 4   ZYA:
 5                                                                                                              ,...           Formatted: Line spacing: single
 6
 7
 8
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15                                                                                                                             Formatted: Indent: Left: 0.5", No bullets or
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16
            116.    And onOn July 3, 2023, Arex an order was placed and paidan order for the aAccused
17
     lightProduct, and it was indeed processed and tracking number generated:
18
19                            VLAND Factory
                                                                                                                               Formatted: Indent: Left: 1", Line spacing: single, No
                                                                                                                               bullets or numbering
20                            Your order is on the way

21
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                                            THIRDSECONDAMENDED COUNTERCLAIMS
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 1            117.     Attached as Exhibit P is a true copy of the order that was placed and paid for the
 2   aAccused lightProduct on July 2, 2023, and it was indeedwhich has been processed and tracking number
 3   generatedshipped:.
                     -
 4            118.     Why does ZYA’s filed its preliminary injunction filed inin May of 2022 when it already
 5   stopped selling VLAND F150 headlights in December of 2021?.-
 6            119.     Why are the VLAND F150 headlights still for sale as of the day of this complaint on all
 7   major eCommerce site if ZYA could not sell anymorestopped selling them in 2021 December of 2021?

 8               Indeed, Counter Plaintiff was clearly able to purchase the accused product as of the date of

 9   this complaint.

10            120.     Perplexed, ZYA has since discovered that conducts further investigation and realized

11   thatZYA transferred all of its VLAND trademarks to VLAND has already been transferred to ZYA to

12   ZHL in December 2022, which has the exact same ownership as ZYA.

13               Apparently on December 2022, all of the trademarks of Vland have been assigned by ZYA to

14   --ZHL.
15
16                                                                                                               ------1 Formatted Table        I
        -Mark                     Serial Number       Previous Owner     Current Owner       Assignment

17                                                                                    -Date
                                  88486095            Zhejiang           ZHEJIANG
18                                                    Yuanzheng Auto     HONGGUAN
                                                                                       12/2/2022

19                                                    & Motorcycle       LIGHTING
                                                      Accessories Co.,   TECHNOLOGY
20                                                    Ltd limited        CO., LTD.
         I/LAND                                       company (ltd.)     LIMITED
21                                                    CHINA              COMPANY
                                                      -   -
22                                                                       (LTD.) CHINA

23
                                  88483414            Zhejiang           ZHEJIANG
          VLAND                                                                       12/2/2022
24                                                    Yuanzheng Auto     HONGGUAN
                                                      & Motorcycle       LIGHTING
25                                                    Accessories Co.,   TECHNOLOGY
26                                                    Ltd limited        CO., LTD.
                                                      company (ltd.)     LIMITED
27                                                    CHINA
                                                      -   -              COMPANY
                                                                         (LTD.) CHINA
28

                                                           26


                                        -THIRDSECONDAMENDED COUNTERCLAIMS
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                                       88196972                Zhejiang                         ZHEJIANG
 1                                                             Yuanzheng Auto                   HONGGUAN
                                                                                                             12/2/2022
 2                                                             & Motorcycle                     LIGHTING
                                                               Accessories Co.,                 TECHNOLOGY
 3                                                             Ltd limited                      CO., LTD.
                                                               company (ltd.)                   LIMITED
 4                                                             CHINA                            COMPANY
 5                                                                                              (LTD.) CHINA

 6
 7      VLAND 86834961                                         Zhejiang
                                                               Yuanzheng Auto
                                                                                                ZHEJIANG
                                                                                                HONGGUAN
                                                                                                             12/2/2022
                                                               & Motorcycle                     LIGHTING
 8                                                             Accessories Co.,                 TECHNOLOGY
 9                                                             Ltd limited                      CO., LTD.
                                                               company (ltd.)                   LIMITED
10                                                             CHINA                            COMPANY
                                                                                                (LTD.) CHINA
11
12                                                                                                                       Formatted: No bullets or numbering
13
            121.    Each assignment was signed by non -other the Mr. Wang Yang Huoon behalf of ZYA
14
     and on behalf of ZHL:.
15                                                                                                                       Formatted: Line spacing: single
16              TI-IIS AGREEMENT shall take effect from ~ day o{IJ«cmbcr, 2022                                           Formatted: Line spacing: single, No bullets or
                                                                                                                         numbering
17
                IN WTlNESS WHEREOF the parties hereto have caused their respective authorized
18              repn,seotativcs to execute thisAgrecmcot on the day and yea, Mt written above.

19
                ASSIGNOR:                                     ASSIGNEE:
20              ZHEIIANG YU~ZHENG Al.n'O &                    ZHFJ!ANC HONCCUAN LIGJITINC
                MOTORCYCLE ACCT.SSORIES CO.,                  TECHNOLOGY CO., LTD.
21              LTD

22
23              Signed by,      \A,,t,J foJJuoCAO
                             Name: ana,
                                                              Signed by,      ~ '<yJ, hwcz
                                                                            Name· ang.           s)\uo
24                           Title: Principal                               Title: Pril>cipal


25
26          122.    The transfer make sense.This fraudulent transfers permits the people behind ZYA to

27   continue to sell the Accused Products via ZHL would continue to sell the accused VLAND F150

28   headlight, who was not initially named infree of lability from this lawsuit. ZYA will claims that it has


                                                                       27

                                                THIRDSECONDAMENDED COUNTERCLAIMS
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 1   sustained damage and could not sell any VLAND F150 because of Arex’s cease and desist letter, but t.-
 2   This is a farce that flies in the face of this Court.
                     ZYA and ZHL’s outlandish shell game is poorly disguised and should be punishedcannot ...------- numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
                                                                                                                            Formatted: Indent: Left: 0", First line: 0.5", Outline
 3           123.
                                                                                                                            Start at: 1 + Alignment: Left + Aligned at: 0.5" + Tab
 4   be permitted to stand.                                                                                                 after: 0.75" + Indent at: 0.75"

 5           124.    Specifically, ZYA’s Vland trademarks and other assets were transferred by and among
 6   the Alter Ego Defendants with fraudulent intent to hinder, delay, or defraud Arex (actual fraud).
 7           125.    Alternatively, upon information and belief, the transfers by and among the Alter Ego

 8   Defendants were made for less than reasonably equivalent value (constructive fraud).

 9           126.    These fraudulent transfers were a substantial factor in causing harm to Arex. Due to the

10   improper transfer of ZYA’s trademarks and other assets into the names of the Alter Ego Defendants,

11   ZYA has cut off its liability herein and made itself judgment-proof. Without this cause of action, all of

12   ZYA’s assets will beyond Arex’s reach by the time this -
                                                            actioncase
                                                               -       concludes.

13           127.    Arex seeks avoidance of the transfers, judgment against the transferees for the value of

14   the assets transferred, that the DefendantsCounter-defendants post an undertaking in the amount of the

15   value of the transferred assets, attachment, preliminary and permanent injunction against further

16   disposition or transfer of assets, appointment of a receiver, execution on the transferred assets or their

17   proceeds if disposed of, and/or any other and further relief the court deems appropriate.

18           128.    Arex further seeks consequential and punitive damages against these -DCounter-

19   defendants as the transfers were made with malicious intent in an effort to avoid liability for ZYA’s

20   patent infringement.

21                                                    COUNT SIX

22      ATTEMPTED MONOPOLIZATION (15 U.S.C § 2) WALKER PROCESS SHERMAN ACT

23                                                    VIOLATION
                     Arex re-alleges and incorporates by reference each and every allegation in the preceding ...------- numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
                                                                                                                            Formatted: Indent: Left: 0", First line: 0.5", Outline
24           129.
                                                                                                                            Start at: 1 + Alignment: Left + Aligned at: 0.5" + Tab
25   paragraphs as though fully set forth herein.                                                                           after: 0.75" + Indent at: 0.75", Tab stops: 0", List tab
                                                                                                                            + Not at 0.75"
26           130.    As detailed with particularity in paragraphs 69-104 of these Counterclaims, the ‘796           ~ Formatted: Indent: Left: 0", First line: 0.5", Outline
27   patent is unenforceable because individuals associated with the filing and prosecution of the ‘796 patent,             numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
                                                                                                                            Start at: 1 + Alignment: Left + Aligned at: 0.5" + Tab
     including Yu Chen, Xiaopeng Liao, and Wang Yonghuo, acting as agents and/or with knowledge of                          after: 0.75" + Indent at: 0.75"
28

                                                             28

                                        THIRDSECONDAMENDED COUNTERCLAIMS
                                        -  -- - -
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 1   ZYA intentionally and willfully misled the USPTO by omitting material information and using stolen
 2   USPTO agent identity which if known by the PTO, would have resulted in the USPTO not allowing the
 3   patent.
 4             131.   Knowing that Patent ‘796 was obtained by fraud and the commission of inequitable
 5   conduct before the USPTO, ZYA nonetheless commenced the present action against Arex in this instant
 6   action based on the very existence and validity of its ‘796 patent.
 7                As it turns out, the very existence and validity of its ‘796 patent is based on lies, intentional

 8   misrepresentation, and is a farce that flies in the face of the United States judicial system.

 9             132.   Such conduct constitutes a knowing, willful, and intentional attempt to enforce patent

10   procured by fraud and to improperly maintain and/or obtain monopoly power in the relevant market in

11   the United States in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2. The relevant market

12   consists of sellers of Ford 150 headlight having (1) a single LED projector light with surrounding bezel

13   (having a top horizonal lid, bottom horizontal lid, and side lid displacing a backward pointing arrow)

14   positioned to the top (headlight top main section), (2) triple horizonal LED bars with marginal spacing

15   between each bar (headlight middle main section), (3) a single LED projector light with a surrounding

16   bezel (having a top horizonal lid, bottom horizontal lid, and side lid displacing a backward pointing

17   arrow) positioned to the bottom (headlight lower main section), (4) a continuous LED bar wrapping and

18   taping around the outer perimeter of the headlamp, (5) an inner side lamp (parking light) adjacent and

19   protruding horizontally to the triple horizontal LED bars, and (6) a grill-like bar covering the inner side

20   lamp.

21             133.   ZYA has acted with specific intent to unlawfully monopolize the relevant markets, and

22   has a dangerous probability of achieving monopoly power in the relevant market as evidenced by the

23   anticompetitive conduct alleged herein, and without legitimate business justification.

24             134.   As a direct and proximate result of ZYA’s anticompetitive conduct alleged heretofore,

25   competition in the relevant markets has been, and will continue to be, injured to the detriment of

26   consumers who will be subject to reduced choice, retarded quality in terms of product attributes.

27
28

                                                            29

                                         THIRDSECONDAMENDED COUNTERCLAIMS
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 1           135.    As a direct and proximate result of ZYA’s anticompetitive conduct alleged heretoforein,
                                                                                                   -
 2    Arex hashas been and continues to be been iinjured in its business and property and is threatened with
                                                                                                                              Formatted: Font: Not Bold, No underline
 3    additional losses from ZYA’s conduct.
 4                                                   COUNT SEVEN
 5                     VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW                                               .---1 Formatted: Indent: Left: 0"
 6                        (Cal. Bus. & Prof. Code § 17200 Against All Counter-Ddefendants).
                                                                              -           -
                                                                                                                              Formatted: Indent: Left: 0", First line: 0.5", Outline
 7
 8
             136.    Arex re-alleges and incorporates by reference each and every allegation in the preceding
      paragraphs as though fully set forth herein.
                                                                                                                    -----     numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
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 9           137.    The California Unfair Competition Law (“UCL”) prohibits acts of “unfair competition”,               ___.,,., Formatted: Font: (Default) TimesNewRomanPSMT
                                                                                                                              Formatted: Font: (Default) TimesNewRomanPSMT
10    including any “unlawful, unfair, and fraudulent business act or practice”. Cal. Bus. & Prof. Code              /
                                                                                                                              Formatted: Font: Times New Roman
11    § -17200.
                                                                                                                              Formatted: Font: (Default) TimesNewRomanPSMT
12           138.    Counter-Ddefendant’s’
                             -         - actions set forth herein constitute intentional business acts and           /        Formatted: Font: (Default) TimesNewRomanPSMT
13
14
      practices that are unlawful, unfair, and fraudulent, including Counter-Ddefendant’s’
                                                                             -         - unreasonable -cease-
      and-desist letters, and harassment inby filing this frivolous lawsuit to the Counter-Plaintiffagainst Arex.
                                                                                                                         -    Formatted: Font: (Default) TimesNewRomanPSMT
                                                                                                                     ~ Formatted: Font: (Default) TimesNewRomanPSMT

                                                                                                                              Formatted: Font: (Default) TimesNewRomanPSMT
15           139.    As demonstrated above, Counter-dDefendants violated the Unfair Competition LawUCL -~
                                                                                                                              Formatted: Font: Times New Roman
16    by knowingly and willfully committeding
                                        -     fraud upon the USPTO in prosecuting their patent using a                        Formatted: Font: (Default) TimesNewRomanPSMT

17    stolen identity and made false or misleading statements regarding the validity of their patent in                       Formatted: Font: 12 pt




                                                                                                                    '
                                                                                                                              Formatted: Font: (Default) TimesNewRomanPSMT
18    connection sales of their products as well as the demand lettercease and desist letter sent to the Counter-
                                                                                                                              Formatted: Font: (Default) TimesNewRomanPSMT
19 -PlaintiffArex, ultimately leading to this lawsuit.
20           140.    As demonstrated above, Counter-defendants violated the UCL by knowingly and

21    willfully committing fraud upon the USPTO in prosecuting their patent using a stolen identity andAs
                                                                                                       -

22    demonstrated above, Counter-Defendant violated the Unfair Competition Law as its actions of

23    knowingly and willfully committed fraud upon the USPTO in prosecuting their patent using stolen

24    identity and enforcing such patent through at least the cease-and-desistdemand letter and the institution               Formatted: Font: (Default) TimesNewRomanPSMT

25    of this lawsuit. This conduct is a violation of Sherman Act Section 2, which constitutes both-as unlawful               Formatted: Font: (Default) TimesNewRomanPSMT




                                                                                                                    &
                                                                                                                              Formatted: Font: (Default) TimesNewRomanPSMT
26    and unfair business practices.
                                                                                                                              Formatted: Font: (Default) TimesNewRomanPSMT
27           141.    As a direct and proximate result of Counter-Ddefendants’s
                                                                 -           - acts of unfair competition,                    Formatted: Font: (Default) TimesNewRomanPSMT

28    Counter-dDefendants haves wrongfully harmed Counter-PlaintiffArex. Counter-Ddefendants must                             Formatted: Font: (Default) TimesNewRomanPSMT
                                                                                                                              Formatted: Font: (Default) TimesNewRomanPSMT
                                                                                                                         ~




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                                       -THIRDSECONDAMENDED
                                             -             COUNTERCLAIMS
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                                                                                                                              Formatted: Font: (Default) TimesNewRomanPSMT
 1 -
   should
      - therefore disgorge all profits from the above conduct and further should be ordered to
                                                                                                                              Formatted: Font: (Default) TimesNewRomanPSMT
 2   performprovide full restitution to Counter-Plaintiff as a consequence of Counter-Defendant’s unlawful,
                                                                                                                              Formatted: Font: (Default) TimesNewRomanPSMT
 3   unfair, and fraudulent activitiesArex.                                                                           ~ Formatted: Font: Times New Roman
 4        , and/or is designed to deceive a substantial segment of consumers into believing that Counter-
 5          Defendants have successfully designed and obtained a patent registration for its products.
                                                                                                                     .---{ Formatted: Indent: Left: 0.5", No bullets or
 6                                                                                                                            numbering

 7   Counter-Defendants’ patent registration is invalid and unenforceable and Counter-Defendants’ false and

 8    misleading statement to the contrary deceives consumers. This deception is material in that it has, upon

 9      information and belief, influenced, and will continue to influence, consumer purchasing decisions

10    regarding Counter-Defendants’ products and services, and to the detriment of Arex.COUNT EIGHT
                                                                                                                              Formatted: Indent: Left: 0"
11    FALSE ADVERTISING               VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW ---1

12
13
14
15
            142.
                          (Cal. Bus. & Prof. Code § 17500 Against All Counter-dDefendants)


     paragraphs as though fully set forth herein.
            143.
                                                                               -
                    Arex re-alleges and incorporates by reference each and every allegation in the preceding


                    California s unfair competition law §Section 17500 of California’s Business and
                                                                                                                     --   ~
                                                                                                                              Formatted: Indent: Left: 0", First line: 0.5", Outline
                                                                                                                              numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
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                                                                                                                              Formatted: Font: (Default) Times
                                                                                                                              Formatted: Font: (Default) Times
16   Professions Code ( UCL§ 17500 ) protects both consumers and competitors by promoting fair                        /
17   competition in commercial markets for goods and services. This Sectione text of the UCL competition
                                                                                                                              Formatted: Font: (Default) Times New Roman
18   law ( UCL ) makes it it unlawful:

19
20              for any person, . . . corporation . . . or any employee thereof with intent directly or indirectly            Formatted: Font: 12 pt

21              to dispose of real or personal property or to perform services . . .or to induce the public to       ""---
                                                                                                                       '-..   Formatted: Indent: Left: 0.75", Space Before: 0 pt,
                enter into any obligation relating thereto, to make or disseminate . . . before the public in this            After: 0 pt, Line spacing: single, No bullets or
22              state, . . . in any newspaper or other publication . . . or in any other manner or means                      numbering
                whatever . . . any statement, concerning that real or personal property or those services . .
23              which is untrue or misleading, and which is known, or which by the exercise of reasonable
                care should be known, to be untrue or misleading . . . .
24
                Cal. Bus. & Prof. Code § 17500.
25                                                                                                                   ~        Formatted: Font: 12 pt
                                                                                                                          ~
            144.    Counter-dDefendants knowingly and willfully committed fraud upon the USPTO in                             Formatted: Indent: Left: 0.75", Space Before: 0 pt,
26                           -                                                                                                After: 0 pt, Line spacing: single, No bullets or
                                                                                                                              numbering
27   prosecuting their patent and made false or misleading statements regarding the validity of their patent in

28   connection with the advertising and sale of their products.


                                                          31

                                      THIRDSECONDAMENDED COUNTERCLAIMS
                                      -  -- -
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 1          145.         Specifically, Counter-dDefendants, on at least one location on the point-of-sale web page,
 2   would advertised that the Accused Product For F150 headlight which is the subject of the lawsuit has a
 3   valid design patent.
                                                                                                                                                                                 Formatted: Font: Bold
 4          146.         Attached as Exhibit H is a true and correct copy of the VLAND website selling the
 5   subject F150 headlight dated June 29, 2023, touting it having valid US design patent.:
                                                                                                                                                                                 Formatted: Indent: Left: 0"
 6
 7
 8                                                                                18-20 Ford F150 13th Gen
                                                                                  Facelifted Viand (II) LED
 9                                                                                Dual Beam Projector
                                                                                  Headlights Black
10
                                                                                  USS4H.H

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16                                                                                 •-Ot,l-•-UD..-.,,ti_._
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17
             Our factory Ms Atneflcan DOT, European E-~11( and Chinese CCC cerurieation to assu,e product quahty. lni terms°' appearance. we ha"e the appearance 6M              Formatted: Indent: Left: 0.5", Line spacing: single,
18           design .,,,_1entt ot ou, cat ligbl.$. A.s fOC' f)l'OductiOft uip,ac:ity, our r~oc-y l'IH IATF 16949 auto pert$ production ma~nt system al"ld ISO 9001 qu,eitit'f'
             man.ag,e.nent sys;tem cert.ifiebtlon stand-&tds.
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19                                                                                                                                                                               Formatted: Font: (Default) Times
            147.         The statements in thishe advertismenting are simply untrue orand misleading and the
20                                                                                                                                                                               Formatted: Font: (Default) Times
     Counter-defendants knew, or by the exercise of reasonable care should have known, that this statement                                                                       Formatted: Font: (Default) Times
21
     iwas untrue and misleading.                                                                                                                                                 Formatted: Indent: Left: 0", First line: 0.5", Outline
22                                                                                                                                                                               numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
                  A violation of Section 17500 is a misdemeanor, punishable by fine or imprisonment. Cal.                                                                        Start at: 1 + Alignment: Left + Aligned at: 0.5" + Tab
23                                                                                                                                                                               after: 0.75" + Indent at: 0.75"
     Bus. & Prof. Code §17500.                                                                                                                                                   Formatted: Font: (Default) Times
24
            148.         Injunctive relief and restitution are also available to both private and public prosecutors                                                             Formatted: Font: (Default) Times New Roman
25                                                                                                                                                                               Formatted: Font: (Default) Times
     under the UCL. (Id. at § 17535).
26                                                                                                                                                                               Formatted: Font: (Default) Times
            149.         Accordingly, Counter-dDefendants should thereforemust disgorge all profits from the
27                                                                                                                                                                               Formatted: Font: (Default) Times
     above conduct and further should be ordered to perforprovidem full restitution to Counter-PlaintiffArex.                                                                    Formatted: Font: (Default) Times
28                                                                                                                                                                               Formatted: Font: (Default) Times New Roman


                                                                                           32

                                                         THIRDSECONDAMENDED COUNTERCLAIMS
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 1              ’s conduct constitutes unlawful, unfair, and/or fraudulent business practices within the State
 2   of California in one or more of the following ways:
                                                                                                                              Formatted: Indent: Left: 0.75", Tab stops: Not at
 3                  Counter-Defendants’ conduct is unlawful as their patent was obtained in violation of the ----i 0.75"
 4                  relevant patent law of the United States and also because their advertising and sale of
 5                  their products are in violation of false advertisement in violation of California law.
 6                  Counter-Defendants’ conduct is unfair as it is substantially injurious to consumers in that
 7                  it wrongly limits competition through the use of an invalid patent registration and

 8                  unfairly influence consumer purchasing decision regarding Counter-Defendants’ products

 9                  and services, and to the detriment of the consumers. Counter-Defendants’

10                  misrepresentation as to the validity of their patent in relation to its products is unfair—the

11                  harm caused by such conduct outweighs any benefit to Counter-Defendant, the State of

12                  California, or its residents.

13                  Counter-Defendants’ conduct is fraudulent because it likely deceive members of the

14                  public as to the validity of their patent and fraudulently influence consumers’ purchasing

15                  decisions regarding Counter-Defendants’ products and services, and to the detriment of

16                  the consumers.

17                                    Counter-Defendants /or2COUNT NINE
                                                                                                                              Formatted: Font: Bold
18                         VIOLATION OF SECTION 43(a) of the LANHAM ACT

19          150.    Arex re-alleges and incorporates by reference each and every allegation in the preceding
     paragraphs as though fully set forth herein.                                                                     -----1 Formatted: No bullets or numbering
20
                                                                                                                              Formatted: Font: (Default) Times
21          151.    Like Section 17500 of the UCL, Section 43(a) of the Lanham Act is designed to protect
                                                                                                                              Formatted: Font: (Default) Times New Roman
22   both consumers as well as competitors. Section 43(a) of the Lanham Act provides, in relevant part:
                                                                                                                         Formatted: No Spacing, Indent: Left: 0.5", Space
23                                                                                                                       Before: 0 pt, After: 0 pt, Line spacing: Exactly 23 pt,
                    (1) Any person who, on or in connection with any goods or services, or any container for ----------- No bullets or numbering
24                   goods, uses in commerce any . . . false or misleading representation of fact, which --
25                  -..-.
                     (B) in commercial advertising or promotion, misrepresents the nature, characteristics,
26                   qualities, or geographic origin of his or another person s goods, services, or commercial
                     activities, shall be liable in a civil action by any person who believes that he or she is
27                   likely to be damaged by such act.
                     15 U.S.C. §1125(a).
28                                                                                                                            Formatted: Indent: Left: 0.5", First line: 0.5", Space
                                                                                                                      -1      Before: 0 pt, After: 0 pt

                                                            33

                                       THIRDSECONDAMENDED COUNTERCLAIMS
                                       -  -- -
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 1
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 2                                                                                                                   >( Formatted:
                                                                                                                        Formatted: Indent: Left: 0.5", No bullets or
 3           152.    The elements for a false advertising claim under Section 43(a) are: (1) a false statement ~ numbering
                                                                                                                  Formatted: Font: (Default) Times
                                                                                                                ~ Formatted: No Spacing, Indent: Left: 0", First line:
 4   of fact by the defendant in a commercial advertisement about its own or -anotheanother’r
                                                                                  -            - s product; (2)
                                                                                                                             0.5", Space Before: 0 pt, After: 0 pt, Line spacing:
 5   the statement actually deceived or has the tendency to deceive a substantial segment of its audience; (3)               Exactly 23 pt


 6   the deception is material, in that it is likely to influence the consumer’-s purchasing decisions; (4) the
 7   defendant caused its false statement to enter interstate commerce; and (5) the plaintiff has been or is

 8   likely to be injured as a result of the false statement, either by a direct diversion of sales from itself to

 9   defendant or by a lessening of the good will associated with its products. Southland Sod Farms v. Stover
                                                                                                                             Formatted: Font: (Default) Times New Roman
10   Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997).

11           153.    Counter-dDefendants
                              -          knowingly and willfully committed fraud upon the USPTO in

12   prosecuting their patent and made false or misleading statements regarding the validity of their patent in

13   connection with the advertising and sale of their products.

14           154.    Specifically, Counter-Defendant on at least one location on the point-of-sale web page

15   would advertise that For F150 headlight which is the subject of the lawsuit has valid design patent.
                                                                                                                             Formatted: Font: Bold
16           155.    Attached as Exhibit H is a true and correct copy of the VLAND website selling the

17   subject F150 headlight dated June 29, 2023, touting it having valid US design patent.

18           156.    The statements in the advertising are simply untrue or misleading and-the Counter-

19   defendants knew, or by the exercise of reasonable care should have known, that this statement is untrue
                                                                                                                             Formatted: Font: (Default) Times New Roman
20   and misleading.

21           157.    The statement actually deceived or has the tendency to deceive a substantial segment of
                                                                                                                             Formatted: Font: (Default) Times New Roman
22   its audience.

23           158.    The deception is material, in that it is likely to influence the consumer’-s purchasing
                                                                                                                             Formatted: Font: (Default) Times New Roman
24   decision.
                                                                                                                             Formatted: Font: (Default) Times New Roman
25           159.    Counter-dDefendants
                              -          caused -itstheir false statements to enter interstate commerce.

26           160.    And Counter-plaintiffArex has been or is likely to be injured as a result of the false

27   statement, either by a direct diversion of sales from itself to Counter-defendants or by a lessening of the
                                                                                                                             Formatted: Font: (Default) Times New Roman
28   good will associated with its products.


                                                            34

                                        THIRDSECONDAMENDED COUNTERCLAIMS
                                        -  -- -
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                                                                                                                           Formatted: Font: (Default) Times
 1                 A plaintiff who successfully establishes a violation of Section 43(a) of the Lanham ActArex     X       Formatted: Indent: Left: 0"
 2
 3
     is thus entitled to may obtain injunctive relief and is entitled to recover, subject to the principles of
     equity, (1)Counter--defendant-s’ profits, (2) any damages sustained by the plaintiff, and (3) the costs of
                                                                                                                       -   Formatted: Font: (Default) Times
                                                                                                                   _,,,.,.-- Formatted: Font: (Default) Times
                                                                                                                           Formatted: Font: (Default) Times
 4   the actionsuit.                                                                                               /
                                                                                                                           Formatted: Font: (Default) Times
 5           161.      The court may treble any of these damages and, in exceptional cases, may award              X       Formatted: No Spacing, Indent: Left: 0", First line:
 6   reasonable attorney fees to the prevailing party. 15 U.S.C. §§ 1116 and 1117(a).                                      0.5", Space Before: 0 pt, After: 0 pt, Line spacing:
                                                                                                                           Exactly 23 pt
 7                 Accordingly, Counter-Plaintiff shall seek this Court to award Counter-plaintiff’s profit, the   ~ Formatted: Font: Times New Roman
 8   damages sustained by the plaintiff, the cost of the action, a treble of damage and attorneys fees against

 9   the Counter-Defendant.
                                                                                                                           Formatted: Font:
10          -80.
11                                             PRAYER FOR RELIEF

12           WHEREFORE, Arex prays for relief and judgment as follows:

13           1.        That ZYA-takes-- nothing by itscomplaintits complaint;

14           2.        That the Court enter judgment against ZYA-and in favor of Arex and that ZYA’s claims

15   be dismissed in their entirety, with prejudice;

16           3.        That this Court determine that ZYA, ZHL, and Waong
                                                                      - haves
                                                                          - - infringed the ‘634 Patent;
17          4. -That ZYA,,
            -           -- its-officers, agents, servants, employees, and attorneys, and those persons in
18   active concert or participation with them, be preliminarily and permanently enjoined from infringement

19   of the ‘634 Patent, including but not limited to any making, using, offering for sale, selling, or
                                                                                                                           Formatted: Font color: Auto
20   importing of unlicensed infringing products within the United States;   .
21           5.        That ZHL, its officers, agents, servants, employees, and attorneys, and those persons in

22   active concert or participation with them, be preliminarily and permanently enjoined from infringement

23   of the ‘634 Patent, including but not limited to any making, using, offering for sale, selling, or

24   importing of unlicensed infringing products within the United States;

25           6.        That this Court permanently enjoin ZYA, ZHL, and Woang
                                                                         -    -andas well as their agents

26   and employees from continuing their unlawful actions set forth herein;

27           7.        That this Court Arex recover treble damages;void t avoidance of the fraudulent

28   transfers, enter judgment against the transferees for the value of the assets transferred, order that the


                                                            35


                                         -THIRDSECONDAMENDED
                                               --            COUNTERCLAIMS
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 1   ZYA, ZHL and Woang post an undertaking in the amount of the value of the transferred assets,
 2   attachment, preliminary and permanent injunction against further disposition or transfer of assets,
 3   appointment of a receiver, execution on the transferred assets or their proceeds if disposed of;
 4          8.      Consequential and punitive damages and ZYA, ZHL and Wong;
 5          Disgorgement of ZYA, ZHL and Wong’s sales and profits.
 6          4.9.
 7          5.10.   Compensation for all damages caused by ZYA, ZHL, and Woang’s unfair competition

 8   and or infringement of the ‘634 Patent to be determined at trial, and but not less than

 9   $1,000,000;$3,000,000;

10          6.11.   A finding that this case is exceptional and awarding reasonable attorney’s fees to Arex

11   pursuant to 35 U.S.C. § 285;;

12          12.     A finding that this case is exceptional, thereby trebling the damages and awarding
                                                                                                               Formatted: Font: Times   I
13   reasonable attorney’s fees to Arex pursuant to 15 U.S.C. §§ 1116 and 1117(a).

14          7.13.   Granting Arex pre-and post-judgment interest on its damages, together with all costs and

15   expenses;

16          8.14.   Finding ZYA, ZHL, and Woang’s infringement of the ‘634 Patent to be willful and

17   increasing damages up to three times the amount found or assessed by the jury;

18          9.15.   Ordering that ZYA, ZHL, and Waong to deliver to Arex or destroy all infringing

19   products;

20          10.16. Declaring that the claims of the ‘796 Patent is invalid;

21          11.17. Declaring that the claims of the ‘796 Patent are unenforceable; and

22          18.     Granting Arex such other and further relief as the Court may deem just and proper.

23          12.1.   Disgorgement of ZYA, ZHL and Wong’s sales and profits.

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28   DATED: JuNEJune 23July 143, 2023,                                    INHOUSE CO. LAW FIRM

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                                      THIRDSECONDAMENDED COUNTERCLAIMS
     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 43 of 195 Page ID
                                       #:1078




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 2
                              By: ____________________________
 3                                   Alexander Chen, Esq.
 4                                   Katja M. Grosch, Esq.
                                     Theodore Lee, Esq.
 5                                   Attorneys for Defendant and Counterclaimant
                                     Arex Industries, Inc.
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                     THIRDSECONDAMENDED COUNTERCLAIMS
                                                                   Page 44 of 195 Page ID




                                                                                                                               DEMAND FOR JURY TRIAL
                                                                                       1
                                                                                       2          Defendant and Counter claiman thereby demands a trial by jury on all claims.
                                                                                                                         I




                                                                                                                                                   f1



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                                                                                       4    DATED: June 23July 143, 20232023 ,                               INHOUSE CO. LAW FIRM
                                                                                                       ·1


                                                                                                                II

                                                                                                                              I.
                                                                                                                      I




                                                                                       5
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                                                                                       7
                                                                                                                                        By: ____________________________
                                                                                       8
                                                                                                                                               Alexander Chen, Esq.
                                                                                       9                                                       Katja M. Grosch, Esq.
                                                 LAW .FLRM07/16/23




                                                                                                                                               Theodore Lee, Esq.
                                                                   10                                                                          Attorneys for Defendant and Counterclaimant
                                                                                                                                               Arex Industries, Inc.
                                                                   11
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                                        HOUSE CO.Filed




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                                      #:1079




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                               ,.._._ IN71-1




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Case 2:22-cv-01692-JWH-PD Document




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                                                                                                                             THIRDSECONDAMENDED COUNTERCLAIMS




                                                                                                                                   II
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 45 of 195 Page ID
                                  #:1080




                      EXHIBIT 2
                                                                                 1   Alexander Chen [SBN 245798]
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                                                                                 2   Katja M. Grosch [SBN 266935]
                                                                                     kmg@inhouseco.com
                                                                                 3   Theodore S. Lee [SBN 281475]
                                                                                     tlee@inhouseco.com
                                                                                 4   INHOUSE CO. LAW FIRM
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                                                                                 5   Irvine, CA 92618
                                                                                     Telephone: 949-250-1555
                                                                                 6   Facsimile: 714-882-7770
                                                                                 7   Attorneys for Defendant and Counterclaimant,
                                                                                 8   Arex Industries, Inc
                                                                                                                   UNITED STATES DISTRICT COURT
                                                                                 9
                                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                                10
                                                                                11
                                                                                                                                    )
                           ~ TNHOUSECO.LAWFIRM




                                                                                12   ZHEJIANG YUANZHENG AUTO &                      ) Case No. 2:22-cv-01692-JWH-PD
                                                                                     MOTORCYCLE ASSESSORIES CO.,                    )
                                                                                13   LTD., a Chinese company,                       )
                                                                                                                                    )
                                                                                                                                       THIRD AMENDED COUNTERCLAIMS
                                  #:1081




                                                                                14                                                  )
                                                                                            Plaintiff,
                                                                                                                                    ) FOR:
                                                                                15                                                  )
                                                                                     v.                                             ) 1. INFRINGEMENT OF US PATENT
                                                                                16                                                  )     NO. D909,634;
                                                                                17   AREX INDUSTRIES, INC., a California            ) 2. WILLFUL INFRINGEMENT;
                                                                                     company,                                       ) 3. DECLARATION OF INVALIDITY OF
                                                                                18                                                  )     US PATENT NO. D925,796;
                                                                                     Defendant.                                     ) 4. DECLARATION OF
                                                                                19                                                  )     UNENFORCEABLILTY OF US
                                                                                                                                    )
                                                                                20                                                        PATENT NO. D925,796;
                                                                                                                                    )
                                                                                     AREX INDUSTRIES, INC., a California            ) 5. FRAUDULENT TRANSFER;
                                                                                21   company,                                       ) 6. CALIFORNIA FLASE
                                                                                                                                    )     ADVERTISING; and
                                                                                22         Counterclaimaint,                        ) 7. CALIFORNIA UNFAIR
                                                                                23                                                  )     COMPETITION
                                                                                     v.                                             )  8. WALKER PROCESS ANTITRUST
                                                                                24                                                  )     VIOLATION
                                                                                                                                    )
                                                                                25                                                  )
                                                                                     ZHEJIANG YUANZHENG AUTO &                      )
                                                                                26   MOTORCYCLE ASSESSORIES CO.,                    )
                                                                                     LTD., a Chinese company,                       )
                                                                                27                                                  )
                                                                                            Counterdefendant.                       )
                                                                                28                                                  )
                                                                                                                                       1
                                                                                                                           THIRDAMENDED COUNTERCLAIMS
                                                                                 1           Defendant and Counterclaimant Arex Industries, Inc. (“Arex”) presents the following
                                                                                 2   allegations and facts in support of these Counterclaims and demands a jury trial on all causes of action
                                                                                 3   stated herein against the named Counterclaim Defendant as follows:
                                                                                 4                                        JURISDICTION AND VENUE
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 47 of 195 Page ID




                                                                                 5           1.      This is a civil action for infringement of a patent and for a declaration of
                                                                                 6   noninfringement and invalidity of a patent, arising under the patent laws of the United States, including,
                                                                                 7   without limitation, 35 U.S.C. § 100, et seq., and the Declaratory Judgment Act, 28 U.S.C. § 2201, et
                                                                                 8   seq.
                                                                                 9           2.      This court has subject matter jurisdiction over these claims pursuant to the patent laws of
                                                                                10   the United States under 28 U.S.C. §§ 1331 and 1338(a) and the Declaratory Judgment Act, 28 U.S.C.
                                                                                11   §§ 2201-2202.
                           ~ TNHOUSECO.LAWFIRM




                                                                                12           3.      Venue properly lies within the Central District of California pursuant to 28 U.S.C.
                                                                                13   § 1391(b), (c), and (d).
                                  #:1082




                                                                                14                                                    PARTIES
                                                                                15           4.      Arex is a corporation registered and existing under the laws of the State of California,
                                                                                16   having its principal place of business at 5300 Irwindale Ave, Irwindale, California 91706.
                                                                                17           5.      Upon information and belief, Zhejiang Yuanzheng Auto & Motorcycle Accessories
                                                                                18   Co., Ltd. (“ZYA”) is a company organized and existing under the laws of China, having its principal
                                                                                19   place of business in Wenzhou, China. ZYA has consented to the jurisdiction of this Court by initiating
                                                                                20   this lawsuit.
                                                                                21           6.      Upon information and belief, ZYA is a China-based manufacturer, online distributor,
                                                                                22   and retailer of auto and motorcycle parts and accessories, and ZYA is the owner of the United Stated
                                                                                23   registered trademark for VLAND for various lights for vehicles.
                                                                                24           7. Upon information and belief, Zhejiang Hongguang Lighting Technology Co., Ltd. (“ZHL”)
                                                                                25   is a company organized and existing under the laws of China, having its principal place of business in
                                                                                26   Zhejiang, China. ZHL is a China-based manufacturer, online distributor, and retailer of automobile
                                                                                27   parts and accessories, and ZHL is currently the owner of the United Stated registered trademarks for
                                                                                28   VLAND for various lights for vehicles.
                                                                                                                                           2
                                                                                                                           THIRDAMENDED COUNTERCLAIMS
                                                                                 1          8. Upon information and belief, Yonghuo Wang (“Wang”) is an individual having a
                                                                                 2   citizenship of China residing in Gangzhou, China. Wang is the principal of both ZYA and ZHL.
                                                                                 3                                       ALTER EGO ALLEGATIONS
                                                                                 4          9. Arex is informed and believes and thereon alleges that the individual and entity named as
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                                                                                 5   Counter-Defendants herein, including but not limited to Wang and ZHL (hereinafter collectively
                                                                                 6   referred to as the “Alter Ego Counter-Defendants”), and each of them, were at all times relevant herein
                                                                                 7   the alter egos ZYA by the reason of the following:
                                                                                 8              (a) Arex is informed and believes and thereon alleges that ZYA, at all times herein was
                                                                                 9                  mentioned, dominated, influenced, and controlled by each of the Alter Ego Counter-
                                                                                10                  Defendants and the officers thereof as well as the business, property, and affairs of each
                                                                                11                  said entities;
                           ~ TNHOUSECO.LAWFIRM




                                                                                12              (b) Arex is informed and believes and thereon alleges that, at all times herein mentioned,
                                                                                13                  there existed and now exists a unity of interest and ownership between ZYA and each
                                  #:1083




                                                                                14                  of the Alter Ego Counter-Defendants; the individual and separateness of ZYA and each
                                                                                15                  of the Alter Ego Counter-Defendants have ceased;
                                                                                16              (c) Arex is informed and believes and thereon alleges that, at all times herein mentioned,
                                                                                17                  ZYA has been and continues to be a mere shell and naked framework which the Alter
                                                                                18                  Ego Defendants uses as a conduit for the conduct of their personal business, property, and
                                                                                19                  affairs;
                                                                                20              (d) Arex is informed and believes and thereon alleges that, at all times herein mentioned,
                                                                                21                  ZYA was created and continued pursuant to a fraudulent plan, scheme, and/or device
                                                                                22                  conceived and operated by the Alter Ego Counter-Defendants, whereby the income,
                                                                                23                  revenue, and profit of ZYA were diverted by the Alter Ego Counter-Defendants to
                                                                                24                  themselves;
                                                                                25              (e) Arex is informed and believes and thereon alleges that, at all times herein mentioned,
                                                                                26                  ZYA was organized by the Alter Ego Counter-Defendants as a device to avoid liability
                                                                                27                  and for the purpose of substituting financially irresponsible entities in the place and
                                                                                28                  stead of ZYA;
                                                                                                                                          3
                                                                                                                          THIRDAMENDED COUNTERCLAIMS
                                                                                 1                 (f) By virtue of the foregoing, adherence to the fiction of the separate corporate existence
                                                                                 2                    of ZYA would, under the circumstances, sanction a fraud and promote injustice in that
                                                                                 3                    Arex would be unable to realize any judgment in its favor.
                                                                                 4                 (g) Additionally, upon information and belief, Wang is the principal for both ZYA and
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                                                                                 5                    ZHL. ZHL owns the VLAND trademark in the European Union; ZHL owns the
                                                                                 6                    VLAND trademark in Australia; and after the transfer by ZYA to ZHL, ZHL owns the
                                                                                 7                    VLAND Trademarks in the United States as well.
                                                                                 8                 (h) Attached Exhibit I is a true and copy of a copy of the website yzheng.com , which is
                                                                                 9                    the website of ZHL showing in the same webpage bearing “Vland” trademark, while in
                                                                                10                    the ”About US” section stating that the company is “ZYA” and then at the bottom of
                                                                                11                    the webpage stating that the company is ZHL.
                           ~ TNHOUSECO.LAWFIRM




                                                                                12                        THE ASSERTED PATENT AND INFRINGMENT THEREOF
                                                                                13           10.      On February 2, 2021, the United States Patent and Trademark Office duly and legally
                                  #:1084




                                                                                14   issued United States Design Patent No. D909,634, entitled “Vehicle Headlight” (“the ’634 Patent”).
                                                                                15   The patent’s named inventor is Mizeng He. Arex is the assignee and owner of the entire right, title, and
                                                                                16   interest in and to the ‘634 Patent and as such is vested with the right to bring this suit for damages and
                                                                                17   other relief. A true and correct copy of the ‘634 Patent is attached hereto as Exhibit A.
                                                                                18           11.      ZYA’s “VLAND LED headlights for Ford 150 2018-2020” (the “Accused Products”)
                                                                                19   are copied from the ‘634 Patent and are listed on VLAND’s website1 and on Amazon.com2. A true and
                                                                                20   correct copy of ZYA’s listings is attached hereto as Exhibit B.
                                                                                21                      COUNTER-DEFENDANTS’ ATTEMPT TO AVOID LIABILITY
                                                                                22                                         AND FRAUDULENT TRANSFER
                                                                                23           12.      At the commencement of this lawsuit, ZYA was the owner of several United States
                                                                                24   registered trademarks for VLAND, including U.S. Reg. Nos. 6302000, 6301997, 5781201, and
                                                                                25   5065813 (the “VLAND Trademarks”), all of which relates to motor vehicle products and/or
                                                                                26   accessories.
                                                                                27   1
                                                                                       https://www.vland-official.com/products/vland-led-projector-headlights-for-ford-f150-2018-2020-without-sequential-turn-
                                                                                     signal
                                                                                28   2
                                                                                       https://www.amazon.com/Upgraded-Headlights-Pickup-Assembly-YAA-F150-
                                                                                     2042A/dp/B08PZ1N9V8/ref=sr_1_32?crid=1H58RM39S8QVC&dchild=1&key
                                                                                                                                                 4
                                                                                                                               THIRDAMENDED COUNTERCLAIMS
                                                                                 1          13.     On or about December 12, 2022, in the midst of this current action, ZYA transferred
                                                                                 2   through assignment the entire interest in the VLAND Trademarks from ZYA to ZHL. Each of the
                                                                                 3   assignments for the VLAND Trademarks was recorded with the USPTO and a true and correct copy of
                                                                                 4   each is attached hereto as Exhibit G.
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                                                                                 5          14.     After the fraudulent transfer of ZYA’s VLAND Trademarks and potentially other assets
                                                                                 6   to ZHL, ZYA has taken the position that ZYA has only sold the Accused Product up to November of
                                                                                 7   2021 and has since not sold any Accused Products.
                                                                                 8          15.     However, a search for VLAND and the Accused Products shows that the Accused
                                                                                 9   Products are still being sold under the VLAND Trademarks on Amazon.com.
                                                                                10                          FRAUDULENT ACQUISITION OF PATENTS FROM
                                                                                11                             THE USPTO AND INJURY TO COMPETITION
                           ~ TNHOUSECO.LAWFIRM




                                                                                12          16.     Incredibly, ZYA has fraudulently obtained patents from the United States Patent and
                                                                                13   Trademark Office (“USPTO”). In counsel’s years of experience and practice in the field of intellectual
                                  #:1085




                                                                                14   property, counsel has never seen such blatant fraud before the USPTO. The level of the fraud and
                                                                                15   audacity of ZYA is unprecedented.
                                                                                16          17.     To date, ZYA has been successfully in its scheme in fraudulently obtaining patents,
                                                                                17   including but not limited to U.S. Patent Number D925,796.
                                                                                18          18.     Specifically, ZYA’s D925,796 Patent indicated that a USPTO patent practitioner Jie
                                                                                19   Yang (“Yang”), Registration Number 77,665, prosecuted the patent application.
                                                                                20          19.      Yang, however, has denied under oath that she prosecuted the patent application or
                                                                                21   authorized the use of her name and registration number for the prosecution of the D925,796 patent.
                                                                                22          20.     ZYA did not, in its D925,796 patent application, disclose the fact that Ms. Yang was not
                                                                                23   involved in the prosecution of the patent, nor did she not authorized the use of her name and
                                                                                24   registration for the prosecution of the patent.
                                                                                25          21.     Accordingly, ZYA made representations to the USPTO that were material to the
                                                                                26   patentability of its then pending patent application which it knew to be false. The materially false
                                                                                27   representations and omissions were intended to induce and did induce reliance by the patent examiners
                                                                                28   charged with determining whether to grant ZYA’s patent claims.
                                                                                                                                          5
                                                                                                                           THIRDAMENDED COUNTERCLAIMS
     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 51 of 195 Page ID
                                       #:1086



 1           22.      Indeed, but for ZYA’s materially false statements and omissions, the D925,796 patent
 2    would not have issued.
 3                                                   COUNT ONE
 4                             INFRINGEMENT OF THE ‘634 PATENT BY ZYA
 5           23.      Arex re-alleges and incorporates by reference each and every allegation in the preceding
 6    paragraphs as though fully set forth herein.

 7           24.      ZYAhas knowledge of the design embodied in the ‘634 Patent in as early as February
 8    2019 when Arex debuted its product, bearing the ‘634 Patent, in the US. ZYAhas knowledge ofits

 9    infringement of the ‘634 Patent since at leastDecember 2021, when counsel for ZYA contacted Arex’s

10    counsel in response to Arex’s October 27, 2021, cease and desist letter to third party US ELogistics

11    Service Corp.

12           25.      The ‘634 Patent has a single claim directed to the ornamental design for vehicle

13    headlights as shown below:

14
                                                       Arex’s
15                                              D909,634 Design Patent
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                                           THIRDAMENDED COUNTERCLAIMS
     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 52 of 195 Page ID
                                       #:1087



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17             26.   ZYA copied the design for its Accused Products from the design of the ‘634 Patent. A
18    side-by-side comparison of the ‘634 Patent and an exemplary specimen of ZYA’s headlight is shown
19    below:
20
                             Arex’s                                             ZYA’s
21                    D909,634 Design Patent                                   headlight

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                                          THIRDAMENDED COUNTERCLAIMS
            Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 53 of 195 Page ID
                                              #:1088



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                                         THIRDAMENDED COUNTERCLAIMS
                                                                                 1          27.     As depicted above, the headlight design of the Accused Product is the same or
                                                                                 2   substantially the same as the headlight design of the ‘634 Patent. While both are designed as
                                                                                 3   aftermarket lights to replace the original Ford 2018 headlight, ZYA copied the designs of Arex and
                                                                                 4   made its own design to be so similar to Arex such that an ordinary observer would be so deceived by
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                                                                                 5   the substantial similarity between the designs.
                                                                                 6          28.     Indeed, the ‘634 Patent is comprised of the following main ornamental features: (1) a
                                                                                 7   single LED projector light with surrounding bezel (having a top horizonal lid, bottom horizontal lid,
                                                                                 8   and side lid displacing a backward pointing arrow) positioned to the top (headlight top main section),
                                                                                 9   (2) triple horizonal LED bars with marginal spacing between each bars (headlight middle main section),
                                                                                10   (3) a single LED projector light with a surrounding bezel (having a top horizonal lid, bottom horizontal
                                                                                11   lid, and side lid displacing a backward pointing arrow) positioned to the bottom (headlight lower main
                           ~ TNHOUSECO.LAWFIRM




                                                                                12   section), (4) a continuous LED bar wrapping and taping around the outer perimeter of the headlamp,
                                                                                13   and (5) an inner side lamp (parking light) adjacent and protruding horizontally to the triple horizontal
                                  #:1089




                                                                                14   LED bars.
                                                                                15          29.     Specifically, the ‘634 Patent contains a main middle section that has prominent triple
                                                                                16   horizonal LED bars with marginal spacing between each bar (“Triple LED Bars”) that immediately
                                                                                17   draw the user’s attention. These Triple LED Bars are the prominent design element, and are not
                                                                                18   disclosed in any of the prior art cited in the ‘634 Patent’s prosecution history. The Accused Product
                                                                                19   also has aesthetically identical features comprising of the five ornamental features listed above and
                                                                                20   most importantly, the Triple LED Bars.
                                                                                21          30.     Except for the slight differences in the non-material respect of the appearance of the
                                                                                22   inner side lamp (5), the accused product bears identical features matching that of the ‘634 patent, most
                                                                                23   notably the Triple LED Bars and the two LED lights with reversed arrow bezels placed on the top and
                                                                                24   bottom of the Triple LED Bar. Given that the similarity between these points of novelty, such that the
                                                                                25   overall design of the ‘634 Patent and Accused Products are nearly identical, there is no doubt that
                                                                                26   ZYA’s Accused Products infringe the ‘634 Patent. Giving such attention as a purchaser usually gives,
                                                                                27   an ordinary user would be so confused by the substantial similarity between the designs so as to be
                                                                                28   induced to purchase ZYA’s product supposing it to be from Arex.
                                                                                                                                          9
                                                                                                                          THIRDAMENDED COUNTERCLAIMS
                                                                                 1          31.     Arex has not granted a license or any other authorization to ZYA to make use, offer for
                                                                                 2   sale, sell, or import headlights that embody the headlight design patented in the ‘634 Patent.
                                                                                 3          32.     Arex alleges upon information and belief that, without authority, ZYA has infringed and
                                                                                 4   continues to infringe the ‘634Patent by, inter alia, making, using, offering to sell, or selling in the
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                                                                                 5   United States, including in the State of California and within this District, products infringing the
                                                                                 6   ornamental design covered by the ‘634Patent in violation of 35 U.S.C. § 271, including but not limited
                                                                                 7   to the Accused Products.
                                                                                 8          33.     ZYA’s acts of infringement of the ‘634Patent was undertaken without authority,
                                                                                 9   permission, or license from Arex. ZYA’s infringement violates 35 U.S.C. § 271.
                                                                                10          34.     Arex is informed and believes that ZYA intentionally sells, ships, or otherwise causes to
                                                                                11   be delivered the Accused Products in the United States, with knowledge that they are designed to and
                           ~ TNHOUSECO.LAWFIRM




                                                                                12   do practice the infringing features of the ‘634 Patent.
                                                                                13          35.     Arex has been damaged in an amount to be proven at trial, but not less than $1,000,000,
                                  #:1090




                                                                                14   plus interest, attorney’s fees, and costs as provided by law.
                                                                                15          36.     Arex is without an adequate remedy at law and has thus been irreparably harmed by
                                                                                16   these acts of infringement. Arex asserts upon information and belief that infringement of the asserted
                                                                                17   claims of the ‘634 Patent is continuous and ongoing unless and until ZYA is enjoined from further
                                                                                18   infringement by the Court.
                                                                                19                                                  COUNT TWO
                                                                                20                      WILLFUL INFRINGEMENT OF THE ASSERTED PATENT
                                                                                21          37.     Arex re-alleges and incorporates by reference each allegation in the preceding
                                                                                22   paragraphs as though fully set forth herein.
                                                                                23          38.     ZYA’s infringement of the ‘634 Patent has been willful.
                                                                                24          39.     ZYA has had actual knowledge of the ‘634 Patent since as early as 2019 February and
                                                                                25   also at least as early as December 2021 when counsel for ZYA contacted Arex’s counsel in response to
                                                                                26   Arex’s October 27, 2021, letter to US E-Logistics Service Corp.
                                                                                27
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                                                                                                                           THIRDAMENDED COUNTERCLAIMS
                                                                                 1          40.     Accordingly, ZYA’s continued marketing and sales evidence not only ZYA’s pre-suit
                                                                                 2   knowledge of the ‘634 Patent, but that ZYA’s infringement of the ‘634 Patent has been, and continues
                                                                                 3   to be, willful and deliberate, warranting treble damages.
                                                                                 4          41.     Indeed, ZYA’s sole possible defense to willfulness is that it has a valid design patent of
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                                                                                 5   its own. However, this defense is premised on fraud and foul play.
                                                                                 6          42.     On information and belief, when ZYA filed its U.S. Design Patent D925,796 (“the ‘796
                                                                                 7   Patent”) on July 21, 2020, it copied all of the key ornamental features of Arex’s F150 headlight that are
                                                                                 8   embodied in the ‘634 Patent.
                                                                                 9          43.     The F150 product embodied in the ‘634 Patent was introduced into US commerce as
                                                                                10   early as February 2019. It proved to be a tremendous success and received accolades from the industry
                                                                                11   and users alike.
                           ~ TNHOUSECO.LAWFIRM




                                                                                12          44.     On information and belief, eyeing the success of Arex’s F150 headlight, ZYA devised a
                                                                                13   scheme by which it would (a) copy the designs, (b) make slight changes, (c) withhold key prior art that
                                  #:1091




                                                                                14   would show that the changes were not novel, and (4) proceed to obtain a patent by fraud and sell the
                                                                                15   products under the cover of a duly-issued patent.
                                                                                16          45.     Indeed, ZYA first obtained a copy of the F150 sample and copied its prominent key
                                                                                17   ornamental features including the features of (1) a single LED projector light with surrounding bezel
                                                                                18   (having a top horizonal lid, bottom horizontal lid, and side lid displacing a backward pointing arrow)
                                                                                19   positioned to the top (headlight top main section), (2) triple horizonal LED bars with marginal spacing
                                                                                20   between each bars (headlight middle main section), (3) a single LED projector light with a surrounding
                                                                                21   bezel (having a top horizonal lid, bottom horizontal lid, and side lid displacing a backward pointing
                                                                                22   arrow) positioned to the bottom (headlight lower main section), (4) a continuous LED bar wrapping and
                                                                                23   taping around the outer perimeter of the headlamp, and (5) an inner side lamp (parking light) adjacent
                                                                                24   and protruding horizontally to the triple horizontal LED bars.
                                                                                25          46.     After ZYA copied the prominent features, it made a marginal effort to distinguish their
                                                                                26   design from the ‘634 Patent by incorporating a grill-like bar covering the inner side lamp, a feature that
                                                                                27   was already disclosed in prior art, specifically, the 2018 Ford F-150 King Ranch Edition exterior
                                                                                28   halogen headlight (“King Ranch Light”).
                                                                                                                                         11
                                                                                                                          THIRDAMENDED COUNTERCLAIMS
                                                                                 1
                                                                                            King Ranch Light                                            ZYA’s ‘796
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                                                                                11          47. ZYA purposely withheld the prior art of the King Ranch Light from the USPTO during the
                                  #:1092CO. LAW FIRM




                                                                                12   prosecution of the ‘796 Patent. Had the King Ranch Light prior art been disclosed to the USPTO, the
                                                                                13   Examiner would not have issued the ‘796 Patent, given that the only material difference between
                                                                                14   Arex’s ‘634 Patent and ZYA’s ‘796 Patent is the grill-like bar covering the inner side lamp, a feature
                                TNHOUSE




                                                                                15   that was already disclosed on the King Ranch Light.
                                                                                16          48. ZYA filed its ‘796 Patent application as an expedited request, which requires a certification
                                                                                17   that the relevant agents and principals had conducted a thorough prior art search. Based on the
                                                                                18   attorney’s certification of prior art search, only three (3) items of prior art were offered, none of which
                                                                                19   were the ‘634 Patent or the King Ranch Light. Despite the heightened requirement of self-certification
                                                                                     of a thorough prior art search, ZYA still failed to disclose the King Ranch Light.
                                                                                20
                                                                                            49. On information and belief, ZYA knew that it had obtained the ‘796Patent improperly by
                                                                                21
                                                                                     copying the features of the ‘634 Patent and adding a grill-like bar covering the inner side lamp identical
                                                                                22
                                                                                     to the 2018 Ford King Ranch F150 headlight, and further failing to disclose the existence of the King
                                                                                23
                                                                                     Ranch Light prior art to the USPTO.ZYA’s reliance on the ‘796 Patent as a defense to Arex’s
                                                                                24
                                                                                     infringement claims so that they can continue to sell without consequences only makes their conduct
                                                                                25
                                                                                     even more egregious.
                                                                                26
                                                                                            50. Therefore, Arex seeks to recover enhanced damages against for willfulness as authorized by
                                                                                27
                                                                                     law.
                                                                                28
                                                                                                                                          12
                                                                                                                           THIRDAMENDED COUNTERCLAIMS
                                                                                 1                                                COUNT THREE
                                                                                 2                        DECLARATION OF INVALIDITY OF D925,796 PATENT
                                                                                 3          51.     Arex re-alleges and incorporates by reference each and every allegation in the preceding
                                                                                 4   paragraphs as though fully set forth herein.
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                                                                                 5          52.     The ‘796 Patent is owned by ZYA, and a copy thereof is attached hereto as Exhibit C.
                                                                                 6          53.     Arex contends that the claim of the ‘796 Patent is invalid for failure to comply with one
                                                                                 7   or more of the conditions for patentability set forth in Part II of Title 35 of the United States Code,
                                                                                 8   including 35 U.S.C. §§ 102and 103 because it is anticipated or is obvious in view of Arex’s ‘634 Patent
                                                                                 9   and the other prior art discussed above.
                                                                                10          54.     As shown in Exhibit D, ZYA contends that the ‘796 Patent does not infringe upon the
                                                                                11   ‘634 Patent because it was issued after the patent examiner considered the ‘634 Patent.
                           ~ TNHOUSECO.LAWFIRM




                                                                                12          55.     Under 35 USC §§ 102, a person cannot obtain a design patent if someone else already
                                                                                13   has made an identical version of the design. Simply put, the design must be new. A design that is not
                                  #:1093




                                                                                14   new or novel is said to be “anticipated by the prior art.” Under the U.S. patent laws, a design that is
                                                                                15   “anticipated” is not entitled to patent protection.
                                                                                16          56.     When viewed as a whole, the ‘796 Patent is “identical in all material respects” to the
                                                                                17   overall visual impression of the ‘634 Patent. Minor differences between the prior art and the claimed
                                                                                18   design do not preclude a finding of anticipation.
                                                                                19          57.     The distinctive ornamental features of the ‘634 Patent are compared to the ‘796 Patent in
                                                                                20   the charts herein. Specifically, as shown in Fig. 2, the ‘634 Patent is comprised of these main
                                                                                21   ornamental features: (1) a single LED projector light with surrounding bezel (having a top horizonal
                                                                                22   lid, bottom horizontal lid, and side lid displacing a backward pointing arrow) positioned to the top
                                                                                23   (headlight top main section), (2) triple horizonal LED bars with marginal spacing between each bar
                                                                                24   (headlight middle main section), (3) a single LED projector light with a surrounding bezel (having a top
                                                                                25   horizonal lid, bottom horizontal lid, and side lid displacing a backward pointing arrow) positioned to
                                                                                26   the bottom (headlight lower main section), (4) a continuous LED bar wrapping and taping around the
                                                                                27   outer perimeter of the headlamp, and (5) an inner side lamp (parking light) adjacent and protruding
                                                                                28   horizontally to the triple horizontal LED bars.
                                                                                                                                           13
                                                                                                                           THIRDAMENDED COUNTERCLAIMS
     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 59 of 195 Page ID
                                       #:1094



 1           58.     The ‘634 Patent contains a middle main section that has the prominent Triple LED Bars
 2    that immediately draw the user’s attention. These Triple LED Bars are the prominent design element
 3    that is not disclosed in any of the prior art cited in the ‘634 Patent’s prosecution history. Similarly, the
 4    ‘796 Patent also has aesthetically identical features comprising of the five ornamental features and most
 5    importantly, the Triple LED Bars. This undisputed similarity between the ‘634 Patent and the ‘796
 6    Patent can be seen in the following chart:

 7
                          AREX’s ‘634                                      ZYA’s ‘796
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24           59.     Except for slight non-material differences in the appearance of the inner side lamp (5),
25    the ‘796 Patent bears identical features matching that of the ‘634 Patent, most notably the Triple LED
26    Bar and the two LED lights with reversed arrow bezels placed on top and bottom of the Triple LED
27    Bar. The differences between these points of novelty and the Accused Products are so minor that the
28

                                                            14

                                            THIRDAMENDED COUNTERCLAIMS
                                                                                 1   overall design of the ‘634 Patent and ‘796 Patent are identical in all material respects, and the ‘796
                                                                                 2   Patent should be held invalid under 35 USC § 102.
                                                                                 3             60.   A claimed design is invalid as “obvious” if it would have been obvious to a designer of
                                                                                 4   ordinary skill who designs articles of the type involved.
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                                                                                 5             61.   Here, the combination of the ‘634 Patent with a closely related secondary reference,
                                                                                 6   such as the King Ranch Light already in public display and use as early as January 12, 2017, would
                                                                                 7   suggest the claimed design to a designer of ordinary skill. Indeed, a designer of ordinary skill would
                                                                                 8   have combined these references to create the same overall visual appearance as the claimed design.
                                                                                 9             62.   The slight non-material differences in the appearance of the inner side lamp (5) with
                                                                                10   grill like bar is disclosed in the King Ranch Light, shown in Exhibit E.
                                                                                11             63.   By combining the design of the ‘634 Patent as primary prior art and the King Ranch
                           ~ TNHOUSECO.LAWFIRM




                                                                                12   Light as secondary prior art, the ‘796 Patent is invalid for obviousness under 35 USC § 103.
                                                                                13             64.   An actual and justiciable controversy within the meaning of the Declaratory Judgment
                                  #:1095




                                                                                14   Act, 28 U.S.C. § 2201,et seq., exists between Arex and ZYA with respect to the invalidity of the ‘796
                                                                                15   Patent.
                                                                                16             65.   A judicial declaration of the invalidity of the ‘796 Patent, under 35 USC § 102 for
                                                                                17   Anticipation and 35 USC § 103 for Obviousness, is necessary and appropriate to resolve this
                                                                                18   controversy.
                                                                                19                                                  COUNT FOUR
                                                                                20                   DECLARATION OF UNENFORCEABILITY OF D925,796 PATENT
                                                                                21             66.   Arex re-alleges and incorporates by reference each and every allegation in the preceding
                                                                                22   paragraphs as though fully set forth herein.
                                                                                23             67.   Every person who is substantively involved in the preparation or prosecution of the
                                                                                24   patent application and who was associated with ZYAowed a duty to disclose information material to
                                                                                25   patentability to the USPTO under 37 C.F.R. section 1.56(a).
                                                                                26             68.   The obligation of such individuals to disclose material information to the USPTO is also
                                                                                27   reflected in the Manual of Patent Examining Procedure (MPEP), Chapter 2000.
                                                                                28
                                                                                                                                          15
                                                                                                                          THIRDAMENDED COUNTERCLAIMS
                                                                                 1           69.    For example, MPEP section 2001.01 states: “the duty of disclosure ... would apply to
                                                                                 2   individuals within the corporation or institution who were substantively involved in the preparation or
                                                                                 3   prosecution of the application, and actions by such individuals may affect the rights of the corporation
                                                                                 4   or institution.”MPEP § 2001.01 (Rev. 10.2019, Last revised June 2020).
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                                                                                 5           70.    The duty of disclosure applies to those who are associated with the inventor, the
                                                                                 6   applicant, an assignee, or anyone to whom there is an obligation to assign the application. 37 CFR
                                                                                 7   1.56(c)(3).
                                                                                 8           71.    The individuals, therefore, and according 37 CF 1.56(c)(3), that have duties to disclose
                                                                                 9   prior art, include the named inventor Yu Chen of Rui’an China, who is also the manager of applicant
                                                                                10   ZYA, the named prosecuting USPTO practitioner Jie Yang, the designer of the accused light apparatus
                                                                                11   Xiaopeng Liao, the principal of applicant ZYA Wang Yonghuo.
                           ~ TNHOUSECO.LAWFIRM




                                                                                12           72.    The ‘796 Patent is presumed to be owned by ZYA as ZYA was the named applicant.
                                                                                13           73.    Arex contends that the sole claim of the ‘796 Patent is unenforceable because it was
                                  #:1096




                                                                                14   procured by inequitable conduct.
                                                                                15           74.    On information and belief, when ZYA filed its application for the ‘796 Patent, Yu Chen,
                                                                                16   Xiaopeng Liao and Wang Yonghuo copied all of the key ornamental features of Arex’s F150 headlight.
                                                                                17           75.    Specifically, Arex’s F150 product (“the ‘634 Patent”) was introduced into US commerce
                                                                                18   in as early as February 2019 and was tremendously successful with accolades from the industry and
                                                                                19   users alike.
                                                                                20           76.    On information and belief, eyeing the success of the Arex F150 headlight, Yu Chen,
                                                                                21   Xiaopeng Liao and Wang Yonghuo wanted to cache by selling AREX copycat. To do so, they would
                                                                                22   (a) copy the AREX design, (b) make slight changes by adding a feature from a prior art, (c) withhold
                                                                                23   the disclosure of the prior art during prosecution of the copycat design and (d) obtain a patent by fraud
                                                                                24   so they can sell the copycat design legitimately.
                                                                                25           77.    On information and belief, Yu Chen, Xiaopeng Liao, and Wang Yonghuo first obtained
                                                                                26   a sample of the Arex’s F150 headlight and copied its prominent key ornamental features including (1) a
                                                                                27   single LED projector light with surrounding bezel (having a top horizonal lid, bottom horizontal lid,
                                                                                28   and side lid displacing a backward pointing arrow) positioned to the top (headlight top main section),
                                                                                                                                         16
                                                                                                                          THIRDAMENDED COUNTERCLAIMS
     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 62 of 195 Page ID
                                       #:1097



 1    (2) triple horizonal LED bars with marginal spacing between each bars (headlight middle main section),
 2    (3) a single LED projector light with a surrounding bezel (having a top horizonal lid, bottom horizontal
 3    lid, and side lid displacing a backward pointing arrow) positioned to the bottom (headlight lower main
 4    section), (4) a continuous LED bar wrapping and taping around the outer perimeter of the headlamp,
 5    and (5) an inner side lamp (parking light) adjacent and protruding horizontally to the triple horizontal
 6    LED bars.

 7           78.     On information and belief, after copying the prominent features from AREX, Yu Chen,

 8    Xiaopeng Liao, and Wang Yonghuo, in the spring of 2020,next purchased a copy of the “Ford F150

 9    King Ranch Light” which was revealed to the public in as early as 2017 and available to purchase in

10    the fall of 2017.

11           79.     Specifically, the Ford F150 King Ranch Light was developed by Ford for its F150,

12    specifically the thirteenth generation F150 mid cycle upgrade Model Year 2018-2020. It was revealed

13    to the public in 2017 Detroit Auto Show on January 8, 2017.

14           80.     They then made a marginal effort to distinguish the Arex design by copying the grill-like

15    bar covering the inner side lamp, a prominent feature in the “Ford F150 King Ranch Light.” There is no

16    doubt that Yu Chen, Xiaopeng Liao, and Wang Yonghuo copied the “grill-like bar covering” of the

17    2018 King Ranch because the same feature looks exactly identical in ZYA’s design as illustrated in the

18    below side by side comparison.

19
        Ford F150 2018 King Ranch                                       ZYA’s ‘796
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                                           THIRDAMENDED COUNTERCLAIMS
                                                                                 1             81.   It is important to explain here that while certain products are available for public to
                                                                                 2   purchase, the USPTO Examiner often will not know about it unless such products also has a patent for
                                                                                 3   reasons being that examiner often only search USPTO database for prior art search. On information
                                                                                 4   and belief, Yu Chen, Xiaopeng Liao, and Wang Yonghuo knew that and chose to not inform the
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                                                                                 5   Examiner of the Ford F150 King ranch.
                                                                                 6             82.   After the ZYA completes its design, it then proceeded to put together a USPTO
                                                                                 7   application for design patent on or about July 21, 2020.
                                                                                 8             83.   Every person who is substantively involved in the preparation or prosecution of the
                                                                                 9   patent application and who was associated with ZYA owed a duty to disclose information material to
                                                                                10   patentability to the USPTO under 37 C.F.R. section 1.56(a).
                                                                                11             84.   Information is material to patentability when it is not cumulative to information already
                           ~ TNHOUSECO.LAWFIRM




                                                                                12   of record or being made of record in the application, and (1) It establishes, by itself or in combination
                                                                                13   with other information, a prima facie case of unpatentability of a claim; or (2) It refutes, or is
                                  #:1098




                                                                                14   inconsistent with, a position the applicant takes in:(i) Opposing an argument of unpatentability relied
                                                                                15   on by the Office, or (ii) Asserting an argument of patentability.
                                                                                16             85.   The “grill-like bar covering” feature was not in any of the prior art cited during the
                                                                                17   prosecution of the ZYA patent and thus is not cumulative nor made of a record in the application.
                                                                                18   Likewise, a prima facie case of unpatentability would have been established had the Examiner been
                                                                                19   made aware of the “grill-like bar covering” as it should have been made as a record in the application.
                                                                                20             86.   Yu Chen, Xiaopeng Liao, and Wang Yonghuo knew they had an affirmative duty to
                                                                                21   disclosing the “grill-like bar covering” of the 2018 King Ranch prior art but made a conscious decision
                                                                                22   to withhold the prior art because they knew had they done so, the ZYA patent would not have been
                                                                                23   issued.
                                                                                24             87.   On July 21, 2020, when the application was filed, an information disclosure statement
                                                                                25   (“IDS”) was filed in connection to the application which is meant for applicant to disclose all pertinent
                                                                                26   prior art considered. There was no mention of the “grill-like bar covering” of the 2018 King Ranch in
                                                                                27   the IDS.
                                                                                28
                                                                                                                                           18
                                                                                                                           THIRDAMENDED COUNTERCLAIMS
                                                                                 1             88.   Worst, on August 29, 2020, thirty-eight (38) days after the original application was filed,
                                                                                 2   Yu Chen, Xiaopeng Liao, and Wang Yonghuo then moved to expediate the ZYA Patent application ,
                                                                                 3   which requires a certification that the relevant agents and principals have conducted a thorough prior art
                                                                                 4   search. (35 CFR. 1.155 (2).)
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                                                                                 5             89.   Specifically, the expedited application under 35 CF. 1.155 is a special procedure that
                                                                                 6   affords immediate processing of the application based on applicant’s promise that it conducted a pre-
                                                                                 7   examination search and to list the search result is listed in the information disclosure statement.
                                                                                 8   USPTO provides such expedited procedure in reliance of applicant’s duty of candor. ZYA, including
                                                                                 9   Yu Chen, Xiaopeng Liao, and Wang Yonghuo took advantage of the system and abused it.
                                                                                10             90.   Based on the certification of prior art search under the expedited request dated on
                                                                                11   August 29, 2020, and shown in Exhibit F, only three (3) items of prior art were offered, none of which
                           ~ TNHOUSECO.LAWFIRM




                                                                                12   discloses the “grill-like bar covering” of the 2018 King Ranch prior art.
                                                                                13             91.   Despite the heightened requirement of self-certification of a thorough prior art search,
                                  #:1099




                                                                                14   ZYA, including Yu Chen, Xiaopeng Liao, and Wang Yonghuo purposely failed to disclose the King
                                                                                15   Ranch Light, which contains ZYA’s grill-like bar covering the inner side lamp. The intent is to deceive
                                                                                16   is especially obvious given that ZYA offered certification that they had conducted the required prior art
                                                                                17   search.
                                                                                18             92.   Based on the above inequitable conduct, the ‘796 Patent is unenforceable.
                                                                                19             93.   Even more sinister than Yu Chen, Xiaopeng Liao, and Wang’s intentional withholding
                                                                                20   of the King Ranch Prior art to fraudulently obtain the issuance of the ‘796 patent is the shocking
                                                                                21   deposition testimony of USPTO licensed practitioner Yang stating that the entire ‘796 application was
                                                                                22   procured by fraud.
                                                                                23             94.   Specifically, on May 2, 2023, the USPTO licensed practitioner Yang was deposed. It
                                                                                24   was revealed that the ‘796 patent was never authorized to be prosecuted by her. Yang testified that
                                                                                25   someone fraudulently used her name and her USPTO practitioner license to prosecute the ‘796 patent
                                                                                26   entirely without Yang’s knowledge or authorization. That she has never heard of the applicant ZYA,
                                                                                27   the inventor Yu Chen, or for that matter Xiaopeng Liao or Wang.
                                                                                28
                                                                                                                                          19
                                                                                                                           THIRDAMENDED COUNTERCLAIMS
                                                                                 1          95.      When asked, as the entire prosecution file for ‘796 patent contains at least six (6)
                                                                                 2   different locations bearing Yang’s signature, individually and collectively, Yang stated that she had
                                                                                 3   never seen any of the documents and certainly did not sign them
                                                                                 4   For example:
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                                                                                 5          Q: ……..is it also your position that you do not have a client-practitioner relationship with
                                                                                 6          regard to Mr. Yu Chen (misspelled as YuanZheng), the inventor of this application?
                                                                                 7          A: I do not have any practitioner-client relationship with the inventor. What’s his name again?
                                                                                 8          ….
                                                                                 9
                                                                                            Q: ….You do not have any practitioner relationship – relationship with the inventor, as well as
                                                                                10          the applicant, correct?
                                                                                11          A: That’s correct.
                           ~ TNHOUSECO.LAWFIRM




                                                                                12
                                                                                     (16:10-23.)
                                                                                13
                                                                                            Q: Madam Court Reporter to go ahead and mark this Exhibit Number 7 and by way of sharing
                                  #:1100




                                                                                14          the screen, I will represent to you Exhibit 7 is a Design Patent Application transmittal referring
                                                                                15          to first name of inventor, Yu Chen, of this particular patent at issue, and I want to go ahead and
                                                                                            ask you to go and look to the bottom.
                                                                                16
                                                                                     (45:3-7.)
                                                                                17
                                                                                18          Q: There is signature, signature number signature is Jie Yang. The name is also Jie Yang and
                                                                                            the registration number of this particular attorney or agent, 77665. Now my question for you is,
                                                                                19          is your registration number at USPTO 77665?
                                                                                20          A: Yes, that’s my number.
                                                                                21
                                                                                            Q: Are you familiar with this document at all?
                                                                                22
                                                                                            A: No.
                                                                                23
                                                                                            Q: Is this not your signature, ma’am?
                                                                                24
                                                                                25          A: I did not sign it
                                                                                26   (45:11-21.)
                                                                                27          Q: You have any knowledge or reason to understand why your signature is affixed to this
                                                                                28          particular transmittal?
                                                                                                                                          20
                                                                                                                           THIRDAMENDED COUNTERCLAIMS
                                                                                            A: I don’t know how it got there.
                                                                                 1
                                                                                 2   (45:22-46:3.)
                                                                                 3          Q Did you authorize anyone to sign on behalf of this Information Disclosure Statement?
                                                                                 4
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                                                                                            A: No.
                                                                                 5
                                                                                     (52:10-12.)
                                                                                 6
                                                                                            Q: Go ahead and look at Exhibit 15. I just sent -- Madam Court Reporter, please go ahead and
                                                                                 7          mark as Exhibit 15. This -- I will represent to you this is the fees transmittal. This was a fees
                                                                                 8          transmittal that was submitted to the USPTO in connection to the prosecution of this particular
                                                                                            application. Towards the bottom I will ask you to carefully -- look -- it states the authorized
                                                                                 9          signature is Jie Yang, dated June 21st, 2021. The prosecutioner’s name is Jie Yang, registration
                                                                                            number 77665. To the extent you testified that this is you, do you recognize the signature here?
                                                                                10
                                                                                11          A: I did not sign it.
                           ~ TNHOUSECO.LAWFIRM




                                                                                12   (55:5-20.)
                                                                                13          Q: Have you authorized your friend, Mr. Wang, to file any patent applications on your behalf?
                                  #:1101




                                                                                14
                                                                                            A: I did not authorize Mr. Wang to file these applications.
                                                                                15
                                                                                     (89:12-19.)
                                                                                16
                                                                                17          96.      Yang suspects that the firm of W&K, which prosecuted the patent, specifically Yu
                                                                                18   Wang, someone who is neither an attorney or a registered USPTO agent, stole her identity to prosecute
                                                                                19   the ‘796 patent.
                                                                                20          97.      Under USPTO MPEP Section 2016 Fraud, Inequitable Conduct, or Violation of Duty of
                                                                                21   Disclosure Affects All Claims [R-08.2017], a finding of "fraud," "inequitable conduct," or violation of
                                                                                22   duty of disclosure with respect to any claim in an application or patent, renders all the claims thereof
                                                                                23   unpatentable or invalid. See Therasense Inc. v. Becton Dickinson and Co., 649 F.3d 1276, 1288, 99
                                                                                24   USPQ2d 1065, 1071 (Fed. Cir. 2011), Chromalloy American Corp. v. Alloy Surfaces Co., 339 F. Supp.
                                                                                25   859, 173 USPQ 295 (D.Del. 1972) and Strong v. General Electric Co., 305 F. Supp. 1084, 162 USPQ
                                                                                26   141 (N.D. Ga. 1969), aff’d, 434 F.2d1042, 168 USPQ 8 (5th Cir. 1970), cert. denied, 403 U.S. 906
                                                                                27   (1971). In J. P. Stevens & Co. v. Lex TexLtd., 747 F.2d 1553, 1561, 223 USPQ 1089, 1093-94 (Fed.
                                                                                28   Cir. 1984).
                                                                                                                                          21
                                                                                                                          THIRDAMENDED COUNTERCLAIMS
                                                                                 1          98.       While most fraud on the USPTO occurs in the context of intentionally withholding prior
                                                                                 2   art, fraud in this context of using identity theft to procure USPTO Patent falls squarely into the
                                                                                 3   definition of “Fraud” as defined in the MPEP 2016 and the cases thereunder.
                                                                                 4          99.       Accordingly based on this indisputable fraud and inequitable conduct, the ‘796 Patent is
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                                                                                 5   unenforceable.
                                                                                 6          100.      An actual and justiciable controversy within the meaning of the Declaratory Judgment
                                                                                 7   Act, 28 U.S.C. § 2201, et seq., exists between Arex and ZYA with respect to the enforceability of the
                                                                                 8   ‘796 Patent.
                                                                                 9          101.      A judicial declaration of the unenforceability of the ‘796 Patent is appropriate to resolve
                                                                                10   this controversy.
                                                                                11                                                  COUNT FIVE
                           ~ TNHOUSECO.LAWFIRM




                                                                                12                                          FRAUDULENT TRANSFER
                                                                                13                                         (Cal. Civil Code § 3439 et seq.)
                                  #:1102




                                                                                14          102.      Arex re-alleges and incorporates by reference each and every allegation in the preceding
                                                                                15   paragraphs as though fully set forth herein.
                                                                                16          103.      On January 6, 2022, ZYA sent a letter to Arex demanding that it stop attempting to
                                                                                17   enforce its patent rights against ZYA.
                                                                                18          104.      On March 14, 2022, ZYA filed the instant suit alleging various harms as a result of
                                                                                19   Arex’s patent enforcement efforts.
                                                                                20          105.      On May 13, 2022, ZYA filed a motion for preliminary injunction, which included the
                                                                                21   admission that ZYA is the owner of the registered trademark “VLAND”. The motion further stated that
                                                                                22   VLAND has suffered, and will continue to suffer, irreparable harm as a result of Arex’s alleged
                                                                                23   interference.
                                                                                24          106.      On April 21, 2023, ZYA’s verified discovery responses state that “[p]laintiff has no
                                                                                25   active stores on Amazon.com. Plaintiff is only a manufacturer of the alleged accused products.” In the
                                                                                26   same response, ZYA states that “[o]ur company’s financial sales decreased after we received
                                                                                27   Defendant’s cease and desist letter. Our company could not sell any headlights in 2022 due to the cease
                                                                                28
                                                                                                                                           22
                                                                                                                            THIRDAMENDED COUNTERCLAIMS
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 1    and desist letter. Our Company also stopped selling the headlights in December 2021 due to the
 2    warehouse holding the products after receiving Arex’s cease and desist letter.”
 3
 4              23           Subject to and notwithstanding its General and Specific Objections, Plaintiff responds as

                24    follows: Our company's financial sales decreased after we received Defendant's cease and desist
 5
                25    letter. Our company could not sell any headlights in 2022 due to the cease and desist letter. Our
 6              26
                      Company also stopped selling the headlights in December 2021 due to the warehouse holding the
 7              27
                      products after receiving Arex's cease and desist letter.
 8              28

 9
10           107.      It went on to state that it has only sold 308 of the accused products in 2021.
11
12                   Subject to and notwithstanding its General and Specific Objections, Plaintiff responds as

13          follows: Refer to sales data in the March 20, 2023 production. Plaintiff sold 368 ACCUSED

            PRODUCTS in the year of 2021. Plaintiffs profit for each of the Accused Product is ¥ 503.01
14
15          (RMB).

16
             108.      Yet as of the time of this complaint, the very same VLAND F150 light is available for
17
      sale in Amazon’s Vland Store, Vlandus.com, Vland-USA.com, Vland-official.com, Vlandshop.com, and
18
      Vlandfactory.com.
19
             109.      Attached Exhibit J is a true and correct copy of the website Amazon’s Vland Store
20
      showing it selling the accused product as of July 3, 2023.
21
             110.      Attached Exhibit K is a true and correct copy of the website Vlandus.Com showing it
22
      selling the accused product as of July 3, 2023.
23
             111.      Attached Exhibit L is a true and correct copy of the website Vland-USA.Com showing it
24
      selling the accused product as of July 3, 2023.
25
             112.      Attached Exhibit M is a true and correct copy of the website Vland-Official.com
26
      showing it selling the accused product as of July 3, 2023.
27
             113.      Attached Exhibit N is a true and correct copy of the website Vlandshop.com showing it
28
      selling the accused product as of July 3, 2023.

                                                                       23

                                                   THIRDAMENDED COUNTERCLAIMS
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 1           114.     Attached Exhibit O is a true and correct copy of the website Vlanddfactory.Com
 2    showing it selling the accused product as of July 3, 2023.
 3           115.     In fact, as of July 3, 2023, Vlandfactory.Com states clearly state it is operated and own by
 4    ZYA:
 5
 6
 7                                                                               Subscription


 8
 9
10                  Follow us                  COMPANV INFORMATION                       CUSTOMER SERVICES       About US

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14
15
             116.     On July 3, 2023, Arex placed an order for the Accused Product, and it was indeed
16
      processed and tracking number generated:
17
18                              VLAND Factory                                                  ORDER P03-3798


19                              Your order is on the way
                                Your order is on the way. Track vour shipment to see the dehvery status

20                              here: bllP£//Vlandfactory.com/p~sJcustomer services-track order




21                              Fili++++                      " v;,;1 ourstore



22
                                $JSH_ fEOEX_GROUNO_D tracking n1irnber-. 78061182358 2




23                              Items in this shipment


24                                         VLAN0 Full L ED Projector Headlights For Ford F150 13 th Gen
                                           Pic kup 2018 2019 2020 x 1
                                           LEDProteetor

25                                         f' VLAfllO JUN SALES /CAN'T COMBINE WITH OTHER DISCOUNTS.)
                                           l·JZ:.19)



26
             117.     Attached as Exhibit P is a true copy of the order that was placed for the Accused Product
27
      on July 2, 2023, which has been processed and shipped.
28

                                                                                            24

                                                             THIRDAMENDED COUNTERCLAIMS
            Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 70 of 195 Page ID
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        1          118.   ZYA’s preliminary injunction filed in May of 2022 when it already stopped selling
        2    VLAND F150 headlights in December of 2021?
        3          119.   Why are the VLAND F150 headlights still for sale as of the day of this complaint on all
        4    major eCommerce site if ZYA stopped selling them in December of 2021?
        5          120.   ZYA has since discovered that ZYA transferred all of its VLAND marks to ZHL in
        6    December 2022, which has the exact same ownership as ZYA.

        7
        8      Mark                  Serial Number      Previous Owner     Current Owner       Assignment
        9                                                                                      Date
                                     88486095           Zhejiang           ZHEJIANG
       10                                               Yuanzheng Auto     HONGGUAN
                                                                                        12/2/2022
       11                                               & Motorcycle       LIGHTING
~                                                       Accessories Co.,   TECHNOLOGY
~ 12                                                    Ltd limited        CO., LTD.
~                                                       company (ltd.)     LIMITED
,-l
0
u
       13       I/LAND                                  CHINA              COMPANY
~      14                                                                  (LTD.) CHINA
Ul
~
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...z 15
;i:;

                                     88483414           Zhejiang           ZHEJIANG
       16                                                                               12/2/2022
                                                        Yuanzheng Auto     HONGGUAN
~ 17             VLAND                                  & Motorcycle
                                                        Accessories Co.,
                                                                           LIGHTING
                                                                           TECHNOLOGY
       18                                               Ltd limited        CO., LTD.
                                                        company (ltd.)     LIMITED
       19                                               CHINA              COMPANY
                                                                           (LTD.) CHINA
       20
       21                            88196972           Zhejiang           ZHEJIANG
                                                                                        12/2/2022
       22                                               Yuanzheng Auto     HONGGUAN
                                                        & Motorcycle       LIGHTING
       23                                               Accessories Co.,   TECHNOLOGY
                                                        Ltd limited        CO., LTD.
       24       I/LAND                                  company (ltd.)     LIMITED
       25                                               CHINA              COMPANY
                                                                           (LTD.) CHINA
       26
       27                            86834961           Zhejiang       ZHEJIANG
                                                                                               12/2/2022
                                                        Yuanzheng Auto HONGGUAN
       28      VLAND                                    & Motorcycle   LIGHTING

                                                              25

                                                THIRDAMENDED COUNTERCLAIMS
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                                                                 Accessories Co.,               TECHNOLOGY
 1
                                                                 Ltd limited                    CO., LTD.
 2                                                               company (ltd.)                 LIMITED
                                                                 CHINA                          COMPANY
 3                                                                                              (LTD.) CHINA
 4
 5           121.     Each assignment was signed by non other the Wang on behalf of ZYA and on behalf of
 6    ZHL:
 7
                 THlS AGREEMENT shall take effect from 2nd day ofDecembet, 2022
 8
 9                IN WITNESS WHEREOF the parties hereto have caused their respective authorized
                 ·representatives to execute this Agreement on the day and year first VvTitten above.
10
11               ASSIGNOR:                                      ASSIGNEE:
                                                                ZRE.IlANG HONGGUAN LIGHTING
                 ZHEJIA.'l'IG YUANZHENG AUTO &
                                                                TECHNOLOGY CO., LTD.
12               MOTORCYCLE ACCESSORIES CO.,
                 LTD
13
14
                 Signed by,     \fv,.,i4 :r~ 6(A,Q              Signed by,     ~         '{11     ~WO
15                            Name: ang, ogbuo
                              Title: Principal
                                                                             Name· ang,
                                                                             Title: Principal
                                                                                                 gbuo


16
17           122.     This fraudulent transfers permits the people behind ZYA to continue to sell the Accused
18    Products via ZHL, who was not initially named in this lawsuit. ZYA claims that it has sustained damage
19    and could not sell any VLAND F150 because of Arex’s cease and desist letter, but this is a farce.
20           123.     ZYA and ZHL’s shell game is poorly disguised and cannot be permitted to stand.
21           124.     Specifically, ZYA’s Vland trademarks and other assets were transferred by and among
22    the Alter Ego Defendants with fraudulent intent to hinder, delay, or defraud Arex (actual fraud).
23           125.     Alternatively, upon information and belief, the transfers by and among the Alter Ego
24    Defendants were made for less than reasonably equivalent value (constructive fraud).
25           126.     These fraudulent transfers were a substantial factor in causing harm to Arex. Due to the
26    improper transfer of ZYA’s trademarks and other assets into the names of the Alter Ego Defendants,
27    ZYA has cut off its liability herein and made itself judgment-proof. Without this cause of action, all of
28    ZYA’s assets will beyond Arex’s reach by the time this case concludes.

                                                                        26

                                                    THIRDAMENDED COUNTERCLAIMS
                                                                                 1          127.     Arex seeks avoidance of the transfers, judgment against the transferees for the value of
                                                                                 2   the assets transferred, that the Counter-defendants post an undertaking in the amount of the value of the
                                                                                 3   transferred assets, attachment, preliminary and permanent injunction against further disposition or
                                                                                 4   transfer of assets, appointment of a receiver, execution on the transferred assets or their proceeds if
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                                                                                 5   disposed of, and/or any other and further relief the court deems appropriate.
                                                                                 6          128.     Arex further seeks consequential and punitive damages against these Counter-defendants
                                                                                 7   as the transfers were made with malicious intent in an effort to avoid liability for ZYA’s patent
                                                                                 8   infringement.
                                                                                 9                                                  COUNT SIX
                                                                                10     ATTEMPTED MONOPOLIZATION (15 U.S.C § 2) WALKER PROCESS SHERMAN ACT
                                                                                11                                                  VIOLATION
                           ~ TNHOUSECO.LAWFIRM




                                                                                12          129.     Arex re-alleges and incorporates by reference each and every allegation in the preceding
                                                                                13   paragraphs as though fully set forth herein.
                                  #:1107




                                                                                14          130.     As detailed with particularity in paragraphs 69-104 of these Counterclaims, the ‘796
                                                                                15   patent is unenforceable because individuals associated with the filing and prosecution of the ‘796 patent,
                                                                                16   including Yu Chen, Xiaopeng Liao, and Wang, acting as agents and/or with knowledge of ZYA
                                                                                17   intentionally and willfully misled the USPTO by omitting material information and using stolen USPTO
                                                                                18   agent identity which if known would have resulted in the USPTO not allowing the patent.
                                                                                19          131.     Knowing that Patent ‘796 was obtained by fraud and the commission of inequitable
                                                                                20   conduct before the USPTO, ZYA nonetheless commenced the present action against Arex based on its
                                                                                21   ‘796 patent.
                                                                                22          132.     Such conduct constitutes a knowing, willful, and intentional attempt to enforce patent
                                                                                23   procured by fraud and to improperly maintain and/or obtain monopoly power in the relevant market in
                                                                                24   the United States in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2. The relevant market
                                                                                25   consists of sellers of Ford 150 headlight having (1) a single LED projector light with surrounding bezel
                                                                                26   (having a top horizonal lid, bottom horizontal lid, and side lid displacing a backward pointing arrow)
                                                                                27   positioned to the top (headlight top main section), (2) triple horizonal LED bars with marginal spacing
                                                                                28   between each bar (headlight middle main section), (3) a single LED projector light with a surrounding
                                                                                                                                          27
                                                                                                                           THIRDAMENDED COUNTERCLAIMS
                                                                                 1   bezel (having a top horizonal lid, bottom horizontal lid, and side lid displacing a backward pointing
                                                                                 2   arrow) positioned to the bottom (headlight lower main section), (4) a continuous LED bar wrapping and
                                                                                 3   taping around the outer perimeter of the headlamp, (5) an inner side lamp (parking light) adjacent and
                                                                                 4   protruding horizontally to the triple horizontal LED bars, and (6) a grill-like bar covering the inner side
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                                                                                 5   lamp.
                                                                                 6           133.   ZYA has acted with specific intent to unlawfully monopolize the relevant markets, and
                                                                                 7   has a dangerous probability of achieving monopoly power in the relevant market as evidenced by the
                                                                                 8   anticompetitive conduct alleged herein, and without legitimate business justification.
                                                                                 9           134.   As a direct and proximate result of ZYA’s anticompetitive conduct alleged heretofore,
                                                                                10   competition in the relevant markets has been, and will continue to be, injured to the detriment of
                                                                                11   consumers who will be subject to reduced choice, retarded quality in terms of product attributes.
                           ~ TNHOUSECO.LAWFIRM




                                                                                12           135.   As a direct and proximate result of ZYA’s anticompetitive conduct alleged herein, Arex
                                                                                13   has been and continues to be injured in its business and property.
                                  #:1108




                                                                                14                                                  COUNT SEVEN
                                                                                15                    VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW
                                                                                16                         (Cal. Bus. & Prof. Code § 17200 Against All Counter-defendants)
                                                                                17           136.   Arex re-alleges and incorporates by reference each and every allegation in the preceding
                                                                                18   paragraphs as though fully set forth herein.
                                                                                19           137.   The California Unfair Competition Law (“UCL”) prohibits acts of “unfair competition”,
                                                                                20   including any “unlawful, unfair, and fraudulent business act or practice”. Cal. Bus. & Prof. Code
                                                                                21   § 17200.
                                                                                22           138.   Counter-defendants’ actions set forth herein constitute intentional business acts and
                                                                                23   practices that are unlawful, unfair, and fraudulent, including Counter-defendants’ unreasonable
                                                                                24   harassment by filing this frivolous lawsuit against Arex.
                                                                                25           139.   As demonstrated above, Counter-defendants violated the UCL by knowingly and
                                                                                26   willfully committing fraud upon the USPTO in prosecuting their patent using a stolen identity and made
                                                                                27   false or misleading statements regarding the validity of their patent in connection sales of their products
                                                                                28   as well as the demand letter sent to Arex, ultimately leading to this lawsuit.
                                                                                                                                          28
                                                                                                                           THIRDAMENDED COUNTERCLAIMS
                                                                                 1          140.    As demonstrated above, Counter-defendants violated the UCL by knowingly and
                                                                                 2   willfully committing fraud upon the USPTO in prosecuting their patent using a stolen identity and
                                                                                 3   enforcing such patent through at least the demand letter and the institution of this lawsuit. This conduct
                                                                                 4   is a violation of Sherman Act Section 2, which constitutes both unlawful and unfair business practices.
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                                                                                 5          141.    As a direct and proximate result of Counter-defendants’ acts of unfair competition,
                                                                                 6   Counter-defendants have wrongfully harmed Arex. Counter-defendants must therefore disgorge all
                                                                                 7   profits from the above conduct and further should be ordered to provide full restitution to Arex.
                                                                                 8                                                  COUNT EIGHT
                                                                                 9                                           FALSE ADVERTISING
                                                                                10                         (Cal. Bus. & Prof. Code § 17500 Against All Counter-defendants)
                                                                                11          142.    Arex re-alleges and incorporates by reference each and every allegation in the preceding
                           ~ TNHOUSECO.LAWFIRM




                                                                                12   paragraphs as though fully set forth herein.
                                                                                13          143.    Section 17500 of California’s Business and Professions Code protects both consumers
                                  #:1109




                                                                                14   and competitors by promoting fair competition in commercial markets for goods and services. This
                                                                                15   Section makes it unlawful:
                                                                                16              for any person, . . . corporation . . . or any employee thereof with intent directly or indirectly
                                                                                17              to dispose of real or personal property or to perform services . . .or to induce the public to
                                                                                                enter into any obligation relating thereto, to make or disseminate . . . before the public in this
                                                                                18              state, . . . in any newspaper or other publication . . . or in any other manner or means
                                                                                                whatever . . . any statement, concerning that real or personal property or those services . .
                                                                                19              which is untrue or misleading, and which is known, or which by the exercise of reasonable
                                                                                20              care should be known, to be untrue or misleading . . . .
                                                                                                Cal. Bus. & Prof. Code § 17500.
                                                                                21
                                                                                22          144.    Counter-defendants knowingly and willfully committed fraud upon the USPTO in
                                                                                23   prosecuting their patent and made false or misleading statements regarding the validity of their patent in
                                                                                24   connection with the advertising and sale of their products.
                                                                                25          145.    Specifically, Counter-defendants, on at least one location on the point-of-sale web page,
                                                                                26   advertised that the Accused Product has a valid design patent.
                                                                                27          146.    Attached as Exhibit H is a true and correct copy of the VLAND website selling the
                                                                                28   subject F150 headlight dated June 29, 2023, touting it having valid US design patent:
                                                                                                                                          29
                                                                                                                          THIRDAMENDED COUNTERCLAIMS
     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 75 of 195 Page ID
                                       #:1110



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                                                                                            Home / F01t0 / Ford F150 / \'land F !50 Headl>IJhb I


 3                                                                                           18-20 Ford F150 13th Gen
                                                                                             Facelifted Viand (11) LED
 4                                                                                           Dual Beam Proj ector
                                                                                             Headlights Black
 5                                                                                          •     •       (lll rf"',tWS)


                                                                                            US$499.99

 6                                                                                              · , · HIHIPHM 1111
                                                                                            Receive items in l •4 bus.neu days

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10                                                                                               {2J t2·Months warranty                 ©   1!l•~y.Re.1JJ1J1

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11                                                                                           • Direct OEM Fltment - VLAND LED head lig hts 8$$embly (Of'
                                                                                                 FORD Fl50 2018 2019 2020 . Oesigned as a perfect



12
              Our fact ory has American DOT, European E-Mark and Chinese CCC certificat ion t o assure product quality. In t erms of appearance, we have the appearance and

13            design patent s of our car lights. As for product ion capacity, our factory has IATF 16949 auto parts production management system and ISO 9001 quality
              management system certification standards.


14
             147.        The statements in this advertisment are untrue and misleading and Counter-defendants
15
      knew, or by the exercise of reasonable care should have known, that this statement was untrue and
16
      misleading.
17
             148.        A violation of Section 17500 is a misdemeanor, punishable by fine or imprisonment.
18
      Injunctive relief and restitution are also available under the UCL. (§ 17535).
19
             149.        Accordingly, Counter-defendants must disgorge all profits from the above conduct and
20
      should be ordered to provide full restitution to Arex.
21
                                                                                       COUNT NINE
22
                                    VIOLATION OF SECTION 43(a) of the LANHAM ACT
23
             150.        Arex re-alleges and incorporates by reference each and every allegation in the preceding
24
      paragraphs as though fully set forth herein.
25
             151.        Section 43(a) of the Lanham Act is designed to protect both consumers as well as
26
      competitors. Section 43(a) of the Lanham Act provides, in relevant part:
27
28                       (1) Any person who, on or in connection with any goods or services, or any container for
                         goods, uses in commerce any . . . false or misleading representation of fact, which --
                                                                                                            30

                                                                      THIRDAMENDED COUNTERCLAIMS
                                                                                                     ...
                                                                                 1                   (B) in commercial advertising or promotion, misrepresents the nature, characteristics,
                                                                                 2                   qualities, or geographic origin of his or another person s goods, services, or commercial
                                                                                                     activities, shall be liable in a civil action by any person who believes that he or she is
                                                                                 3                   likely to be damaged by such act.
                                                                                 4
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                                                                                                     15 U.S.C. §1125(a).
                                                                                 5
                                                                                 6           152.    The elements for a false advertising claim under Section 43(a) are: (1) a false statement
                                                                                 7   of fact by the defendant in a commercial advertisement about its own or another’s product; (2) the
                                                                                 8   statement actually deceived or has the tendency to deceive a substantial segment of its audience; (3) the
                                                                                 9   deception is material, in that it is likely to influence the consumer’s purchasing decisions; (4) the
                                                                                10   defendant caused its false statement to enter interstate commerce; and (5) the plaintiff has been or is
                                                                                     likely to be injured as a result of the false statement, either by a direct diversion of sales from itself to
                                                                                11
                           ~ TNHOUSECO.LAWFIRM




                                                                                     defendant or by a lessening of the good will associated with its products. Southland Sod Farms v. Stover
                                                                                12
                                                                                     Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997).
                                                                                13
                                                                                             153.    Counter-defendants knowingly and willfully committed fraud upon the USPTO in
                                  #:1111




                                                                                14
                                                                                     prosecuting their patent and made false or misleading statements regarding the validity of their patent in
                                                                                15
                                                                                     connection with the advertising and sale of their products.
                                                                                16
                                                                                             154.    Specifically, Counter-Defendant on at least one location on the point-of-sale web page
                                                                                17
                                                                                     would advertise that For F150 headlight which is the subject of the lawsuit has valid design patent.
                                                                                18
                                                                                             155.    Attached as Exhibit H is a true and correct copy of the VLAND website selling the
                                                                                19
                                                                                     subject F150 headlight dated June 29, 2023, touting it having valid US design patent.
                                                                                20
                                                                                             156.    The statements in the advertising are simply untrue or misleading and Counter-
                                                                                21
                                                                                     defendants knew, or by the exercise of reasonable care should have known, that this statement is untrue
                                                                                22
                                                                                     and misleading.
                                                                                23
                                                                                             157.    The statement actually deceived or has the tendency to deceive a substantial segment of
                                                                                24
                                                                                     its audience.
                                                                                25
                                                                                             158.    The deception is material, in that it is likely to influence the consumer’s purchasing
                                                                                26
                                                                                     decision.
                                                                                27
                                                                                             159.    Counter-defendants caused their false statements to enter interstate commerce.
                                                                                28
                                                                                                                                            31
                                                                                                                            THIRDAMENDED COUNTERCLAIMS
                                                                                 1          160.    Arex has been or is likely to be injured as a result of the false statement, either by a direct
                                                                                 2   diversion of sales from itself to Counter-defendants or by a lessening of the good will associated with its
                                                                                 3   products.
                                                                                 4          161.    Arex is thus entitled to injunctive relief and to recover, subject to the principles of equity,
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                                                                                 5   Counter-defendants’ profits, damages, and costs of suit. The court may treble any of these damages and,
                                                                                 6   in exceptional cases, may award reasonable attorney fees to the prevailing party. 15 U.S.C. §§ 1116 and
                                                                                 7   1117(a).
                                                                                 8                                              PRAYER FOR RELIEF
                                                                                 9          WHEREFORE, Arex prays for relief and judgment as follows:
                                                                                10          1.      That ZYA take nothing by its complaint;
                                                                                11          2.      That the Court enter judgment against ZYA and in favor of Arex and that ZYA’s claims
                           ~ TNHOUSECO.LAWFIRM




                                                                                12   be dismissed in their entirety, with prejudice;
                                                                                13          3.      That this Court determine that ZYA, ZHL, and Wang have infringed the ‘634 Patent;
                                  #:1112




                                                                                14          4.      That ZYA, its officers, agents, servants, employees, and attorneys, and those persons in
                                                                                15   active concert or participation with them, be preliminarily and permanently enjoined from infringement
                                                                                16   of the ‘634 Patent, including but not limited to any making, using, offering for sale, selling, or
                                                                                17   importing of unlicensed infringing products within the United States;
                                                                                18          5.      That ZHL, its officers, agents, servants, employees, and attorneys, and those persons in
                                                                                19   active concert or participation with them, be preliminarily and permanently enjoined from infringement
                                                                                20   of the ‘634 Patent, including but not limited to any making, using, offering for sale, selling, or
                                                                                21   importing of unlicensed infringing products within the United States;
                                                                                22          6.      That this Court permanently enjoin ZYA, ZHL, and Wang as well as their agents and
                                                                                23   employees from continuing their unlawful actions set forth herein;
                                                                                24          7.      That this Court void the fraudulent transfers, enter judgment against the transferees for
                                                                                25   the value of the assets transferred, order that the ZYA, ZHL and Wang post an undertaking in the
                                                                                26   amount of the value of the transferred assets, attachment, preliminary and permanent injunction
                                                                                27   against further disposition or transfer of assets, appointment of a receiver, execution on the transferred
                                                                                28   assets or their proceeds if disposed of;
                                                                                                                                          32
                                                                                                                           THIRDAMENDED COUNTERCLAIMS
                                                                                 1          8.      Consequential and punitive damages;
                                                                                 2          9.      Disgorgement of ZYA, ZHL and Wong’s sales and profits.
                                                                                 3          10.     Compensation for all damages caused by ZYA, ZHL, and Wang’s unfair competition
                                                                                 4   and infringement of the ‘634 Patent to be determined at trial, and but not less than $3,000,000;
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 78 of 195 Page ID




                                                                                 5          11.     A finding that this case is exceptional and awarding reasonable attorney’s fees to Arex
                                                                                 6   pursuant to 35 U.S.C. § 285;
                                                                                 7          12.     A finding that this case is exceptional, thereby trebling the damages and awarding
                                                                                 8   reasonable attorney’s fees to Arex pursuant to 15 U.S.C. §§ 1116 and 1117(a).
                                                                                 9          13.     Granting Arex pre-and post-judgment interest on its damages, together with all costs and
                                                                                10   expenses;
                                                                                11          14.     Finding ZYA, ZHL, and Wang’s infringement of the ‘634 Patent to be willful and
                                  #:1113CO. LAW FIRM




                                                                                12   increasing damages up to three times the amount found or assessed by the jury;
                                                                                13          15.     Ordering that ZYA, ZHL, and Wang to deliver to Arex or destroy all infringing
                                                                                14   products;
                           ~ fNHOUSE




                                                                                15          16.     Declaring that the claims of the ‘796 Patent is invalid;
                                                                                16          17.     Declaring that the claims of the ‘796 Patent are unenforceable; and
                                                                                17          18.     Granting Arex such other and further relief as the Court may deem just and proper.
                                                                                18
                                                                                19   DATED: July 14, 2023,                                INHOUSE CO. LAW FIRM
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                                                                                22
                                                                                                                                   By: ____________________________
                                                                                23                                                        Alexander Chen, Esq.
                                                                                                                                          Katja M. Grosch, Esq.
                                                                                24                                                        Theodore Lee, Esq.
                                                                                                                                          Attorneys for Defendant and Counterclaimant
                                                                                25
                                                                                                                                          Arex Industries, Inc.
                                                                                26
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                                                                                                                          THIRDAMENDED COUNTERCLAIMS
     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 79 of 195 Page ID
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                                       DEMAND FOR JURY TRIAL
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 2          Defendant and Counter claimant thereby demands a trial by jury on all claims.

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      DATED: July 14, 2023,                             INHOUSE CO. LAW FIRM
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                                                By: ____________________________
 8
                                                       Alexander Chen, Esq.
 9                                                     Katja M. Grosch, Esq.
                                                       Theodore Lee, Esq.
10                                                     Attorneys for Defendant and Counterclaimant
                                                       Arex Industries, Inc.
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                                        THIRDAMENDED COUNTERCLAIMS
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 80 of 195 Page ID
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                     Exhibit “A”
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   c12)   United States Design Patent c10) Patent No.:                                                                                           US D909,634 S
          He                                                                                                 (45) Date of Patent:                ** Feb. 2, 2021

   (54)    VEHICLE HEADLIGHT                                                                                   D842,503 S   * 3/2019 Yang .............................. D26/28
                                                                                                               D843,621 S   * 3/2019 Yang .............................. D26/28
   (71)    Applicant: Arex Industries, Inc., Irwindale, CA
                                                                                                               D844,199 S   * 3/2019 Lin ................................ D26/28
                      (US)
                                                                                                               D844,200 S   * 3/2019 Lin ................................ D26/28
                                                                                                               D846,770 S   * 4/2019 Kozub ........................... D26/28
                                                                                                               D849,285 S   * 5/2019 Lin ................................ D26/28
   (72)    Inventor:           Mizeng He, TaiZhou (CN)                                                         D850,677 S   * 6/2019 Lin ................................ D26/28
                                                                                                               D855,849 S   * 8/2019 Lin ................................ D26/28
   (**)    Term:               15 Years                                                                        D857,262 S   * 8/2019 Lin ................................ D26/28
                                                                                                               D863,627 S   * 10/2019 Lin ................................ D26/28
   (21)    Appl. No.: 29/677,455                                                                          * cited by examiner

   (22)    Filed:              Jan. 21, 2019                                                              Primary Examiner - Angela J Lee
                                                                                                          (74) Attorney, Agent, or Firm - Theodore S. Lee, Esq.
   (51)    LOC (13) Cl. ............................................... 26-06
   (52)    U.S. Cl.                                                                                       (57)                    CLAIM
           USPC . ... ... ... .. ... ... ... ... ... .. ... ... ... ... ... .. ... ... ... ... . D26/28   The ornamental design for a vehicle headlight, as shown and
   (58)    Field of Classification Search                                                                 described.
           USPC ....... D26/28, 29, 30, 31, 32, 33, 34, 35, 36;                                                                 DESCRIPTION
                                          362/459--468, 475--478, 485-487
           CPC .......... F21S 48/00; F21S 48/10; F21S 48/115;                                            FIG. 1 is a perspective view of a vehicle headlight;
                                      F21S 48/225; F21S 48/1233; F21S                                     FIG. 2 is a front view thereof;
                           48/1266; F21S 48/1388; F21S 48/2268;                                           FIG. 3 is a right side view thereof;
                                                                                         F21V 21/04       FIG. 4 is an alternative perspective view thereof; and,
           See application file for complete search history.                                              FIG. 5 is a top view thereof.
                                                                                                          The broken lines are for environmental purposes only and
   (56)                            References Cited                                                       form no part of the claimed design. The drawings and
                                                                                                          descriptions represent the right side embodiment. The claim
                        U.S. PATENT DOCUMENTS
                                                                                                          is also for a mirror image of a left side embodiment that is
          D769,480 S           * 10/2016 Lai ................................. D26/28                     not shown.
          D771,291 S           * 11/2016 Tsai ............................... D26/28
          D807,547 S           * 1/2018 Lin ................................ D26/28                                      1 Claim, 5 Drawing Sheets
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 82 of 195 Page ID
                                  #:1117

 U.S. Patent          Feb.2,2021     Sheet 1 of 5          US D909,634 S




                                                        FIG. 1
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 83 of 195 Page ID
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   U.S. Patent         Feb.2,2021                 Sheet 2 of 5   US D909,634 S




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                                                                 FIG. 2
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 84 of 195 Page ID
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 U.S. Patent          Feb.2,2021     Sheet 4 of 5          US D909,634 S




                                                                  FIG. 4
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 86 of 195 Page ID
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 U.S. Patent          Feb.2,2021     Sheet 5 of 5                 US D909,634 S




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                                                                  FIG. 5
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 87 of 195 Page ID
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                     Exhibit “B”
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                 VLAND Headllght                  VLAND Led Headllghts           Fits 2018-2020 Ford             ACANII - For 2018-2020       VLANDLED
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   Videos                                                                                                                                     Page 1 af2

            Videos for this product                   Videos for related products




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             VLAND LED Headllghts For Ford             Jeep Gladiator Oculus Headlight             AUTOSAVERBB Headlight for 99-02     The lnstallat
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             YUANZHENG US                               Oracle Lighting                                                                XpltlaUSA



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   Customer questions & answers
        Have a question? Search for answers


               Question:        Is there warranty
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     votes
                                Any question, we can apply the replacemenL
                                Other questions wlll welcome to email: vland04@yzheng.com
                                ByVUANZHENG US SELLE•_ 011 February 27, 2021


               question:        Does the black projector style have the sequential turn signal option Uke the black full led set?
       0       Answer:          Dear customer, no. The turn signal Is no sequential
     votes
                                ByVUANZHENG US S!u.n_ 011 July 23, 2021


               Question:        Does clear mean chrome?
       0
               Answer:          Yes dear friend, housing of thls2042 headlights Is chrome, flt for 2018 2019 F150 (NOT for
     votes
                                raptor). Same looking to the OE ones, but YUANZHENG 2042 headlights have the sequential tum
                                signal For more detail please tell and I will help you. vland04@yzheng.com
                                ByVUANZHENG US s1wa_ 011 December 24, 2019


               Question:        Amazon Is stating this doesn't flt my 2019 ford stx. please advise. also I see this Is plug and play
      0                         but only see one plug. most have 3. please advise
     votes                      Dear customer, yes. It have 3 connector, plug and play.
               Answer:
                                By VUANZHENG US SELLER_ on September 6, 2021




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                Black Flt 1B-20 Ford               Compatible with F150              LED Headllghts Sealed      H6054 LED Headllghts     Headlght
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                Black Switchback                   A Raptor) with Sequential         Wiring Haman               Hi/Low Sealed Beam H4    and Pane
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https://www.amazon.com/Upgraded-Headlights-Pickup-Assembly-YAA-F150-2D42A/dp/BOBPZ1 N9V8/ref=sr_1_32?crid=1 H58RM39SBQVC&dchild=1. ..                                                          9/9
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 101 of 195 Page ID
                                   #:1136




                      Exhibit “C”
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 102 of 195 Page ID
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   c12)    United States Design Patent c10) Patent No.:                                                                                             US D925, 796 S
           Chen                                                                                               (45) Date of Patent:                  **       Jul. 20, 2021

   (54)     CAR HEADLIGHT                                                                                         D849,285 S   * 5/2019 Lin ................................ D26/28
                                                                                                                  D855,849 S   * 8/2019 Lin ................................ D26/28
   (71)     Applicant: ZHEJIANG YUANZHENG AUTO &                                                                  D863,627 S   * 10/2019 Lin ................................ D26/28
                                                                                                                  D863,628 S   * 10/2019 Lin ................................ D26/28
                       MOTORCYCLE ACCESSORIES                                                                     D874,040 S   * 1/2020 He ................................. D26/28
                       CO., LTD., Rui'an (CN)                                                                     D878,642 S       3/2020 Ren
                                                                                                                  D883,535 S   * 5/2020 He ................................. D26/28
   (72)     Inventor:           Yu Chen, Rui'an (CN)                                                              D883,536 S   * 5/2020 Lin ................................ D26/28
                                                                                                                  D890,386 S   * 7/2020 Wu ................................ D26/28
   (**)     Term:               15 Years                                                                          D890,388 S   * 7/2020 Wu ................................ D26/28
                                                                                                                  D892,368 S   * 8/2020 Lin ................................ D26/28
                                                                                                                  D903,158 S   * 11/2020 Platto ............................. D26/28
   (21)     Appl. No.: 29/743,300                                                                                 D907,264 S   * 1/2021 Lin ................................ D26/28
                                                                                                                  D909,634 S   * 2/2021 He ................................. D26/28
   (22)     Filed:              Jul. 21, 2020
                                                                                                           * cited by examiner
   (51)     LOC (13) Cl. ............................................... 26-06
   (52)     U.S. Cl.                                                                                       Primary Examiner - Angela J Lee
            USPC . ... ... ... .. ... ... ... ... ... .. ... ... ... ... ... .. ... ... ... ... . D26/28
   ( 58)    Field of Classification Search                                                                 (57)                         CLAIM
            USPC ........ D26/28, 29, 30, 31, 32, 33, 34, 35, 36,                                          The ornamental design for a car headlight, as shown and
                                                                                                  D26144   described.
            CPC .......... F21S 48/00; F21S 48/10; F21S 48/115;
                                       F21S 48/225; F21S 48/1233; F21S                                                            DESCRIPTION
                            48/1266; F21S 48/1388; F21S 48/2268;
                        F21V 21/04; F21W 2103/35; F21W 3/40;                                               FIG. 1 is a first perspective view of a car headlight showing
                              F21W 2102/17; F21W 2102/30; F21W                                             my new design;
                        2103/00; F21W 2103/55; F21W 2104/00;                                               FIG. 2 is a second perspective view of the thereof;
                                               F21W 2107/17; F21W 2107/13                                  FIG. 3 is a front view of the thereof;
            See application file for complete search history.                                              FIG. 4 is a back view of the thereof;
                                                                                                           FIG. 5 is a left side view of the thereof;
   (56)                             References Cited                                                       FIG. 6 is a right side view of the thereof;
                         U.S. PATENT DOCUMENTS                                                             FIG. 7 is a top view of the thereof; and,
                                                                                                           FIG. 8 is a bottom view of the thereof.
           D593,233 S                 5/2009 Bai et al.
           D597,689 S                 8/2009 Sun et al.                                                                    1 Claim, 8 Drawing Sheets
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 103 of 195 Page ID
                                   #:1138

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                             FIG. 1
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                                   #:1139

  U.S. Patent         Jul. 20, 2021        Sheet 2 of 8                        US D925, 796 S



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                               FIG.2
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  U.S. Patent         Jul. 20, 2021   Sheet 3 of 8         US D925, 796 S




                                FIG.3
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                                FIG.4
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                              FIG.5
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                             FIG.6
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                             FIG. 7
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                               FIG.8
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 111 of 195 Page ID
                                   #:1146




                      Exhibit “D”
 Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 112 of 195 Page ID
                                    #:1147

                              GLACIER LAW LLP
TIANYU JU                                    200 PARK AVENUE,                          TELEPHONE (312) 270-0413
                                                  SUITE 1703,                           FACSIMILE (312) 801-4587
                                             NEW YORK, 10166
                                          EMAIL: IRIS.JU@GLACIER.LAW
                                           WEB: WWW.GLACIER.LAW


                                                                                      January 6, 2022
   Alexander Chen
   ALEXC@INHOUSECO.COM
   Yard House Restaurant Building
   7700 Irvine Center Dr., Suite 800
   Irvine, CA 92618

                                    SENT VIA CERTIFIED MAIL

   Dear Mr. Chen,

   As you have already known, Zhejiang Yuanzheng Auto & Motorcycle Accessories Co., Ltd.
   (“Client”) has retained Glacier Law LLP for representation regarding Arex Industries, Inc’s.
   (“Arex”) Confidential Settlement Communication letter.

   Enclosed, please find our Client’s response as well as demand regarding Arex’s cease-and-desist
   letter to US ELogistics Service Corp. (“ELogistics”) and demanded it to stop the sale and shipment
   of our client’s VLAND LED Headlights for Ford F150, because Arex believes that our client’s
   VLAND LED Headlights infringe Arex’s patent, U.S. Patent No. D909,634S (“D634 Patent)”
   Elogistics received the letter and promptly followed the instructions contained in the letter.

   As opposed to what Arex claims about the infringement, the Products in dispute do not infringe
   the ‘D634 Patent as the products in dispute incorporated with our Client’s own Patent. Our Client
   is the lawful owner of all rights, title, and interest of the U.S. Patent No. D925,796. See Exhibit A
   for your reference. Our Client’s Patent is different from Arex’s ‘D634 Patent, as the ‘D634 Patent
   is referenced by the USPTO when issuing our Client’s Patent.

   Arex’s letter has caused serious interfered with Our Client’s business operation and caused huge
   loss of profits. Our Client, therefore, demands that Arex cease harassing our Client as well as its
   partners immediately. If by such time we do not receive any response from you, we expressly
   reserve the right to pursue any and all available legal and equitable remedies, including, but not
   limited to, instituting formal litigation proceedings against Arex.


   Very Truly Yours,



   _______________
   Tianyu Ju, Esq



                                                                                               1|Page
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 113 of 195 Page ID
                                   #:1148




                           Exhibit A
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 114 of 195 Page ID
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   c12)    United States Design Patent c10) Patent No.:                                                                                             US D925, 796 S
           Chen                                                                                               (45) Date of Patent:                  **       Jul. 20, 2021

   (54)     CAR HEADLIGHT                                                                                         D849,285 S   * 5/2019 Lin ................................ D26/28
                                                                                                                  D855,849 S   * 8/2019 Lin ................................ D26/28
   (71)     Applicant: ZHEJIANG YUANZHENG AUTO &                                                                  D863,627 S   * 10/2019 Lin ................................ D26/28
                                                                                                                  D863,628 S   * 10/2019 Lin ................................ D26/28
                       MOTORCYCLE ACCESSORIES                                                                     D874,040 S   * 1/2020 He ................................. D26/28
                       CO., LTD., Rui'an (CN)                                                                     D878,642 S       3/2020 Ren
                                                                                                                  D883,535 S   * 5/2020 He ................................. D26/28
   (72)     Inventor:           Yu Chen, Rui'an (CN)                                                              D883,536 S   * 5/2020 Lin ................................ D26/28
                                                                                                                  D890,386 S   * 7/2020 Wu ................................ D26/28
   (**)     Term:               15 Years                                                                          D890,388 S   * 7/2020 Wu ................................ D26/28
                                                                                                                  D892,368 S   * 8/2020 Lin ................................ D26/28
                                                                                                                  D903,158 S   * 11/2020 Platto ............................. D26/28
   (21)     Appl. No.: 29/743,300                                                                                 D907,264 S   * 1/2021 Lin ................................ D26/28
                                                                                                                  D909,634 S   * 2/2021 He ................................. D26/28
   (22)     Filed:              Jul. 21, 2020
                                                                                                           * cited by examiner
   (51)     LOC (13) Cl. ............................................... 26-06
   (52)     U.S. Cl.                                                                                       Primary Examiner - Angela J Lee
            USPC . ... ... ... .. ... ... ... ... ... .. ... ... ... ... ... .. ... ... ... ... . D26/28
   ( 58)    Field of Classification Search                                                                 (57)                         CLAIM
            USPC ........ D26/28, 29, 30, 31, 32, 33, 34, 35, 36,                                          The ornamental design for a car headlight, as shown and
                                                                                                  D26144   described.
            CPC .......... F21S 48/00; F21S 48/10; F21S 48/115;
                                       F21S 48/225; F21S 48/1233; F21S                                                            DESCRIPTION
                            48/1266; F21S 48/1388; F21S 48/2268;
                        F21V 21/04; F21W 2103/35; F21W 3/40;                                               FIG. 1 is a first perspective view of a car headlight showing
                              F21W 2102/17; F21W 2102/30; F21W                                             my new design;
                        2103/00; F21W 2103/55; F21W 2104/00;                                               FIG. 2 is a second perspective view of the thereof;
                                               F21W 2107/17; F21W 2107/13                                  FIG. 3 is a front view of the thereof;
            See application file for complete search history.                                              FIG. 4 is a back view of the thereof;
                                                                                                           FIG. 5 is a left side view of the thereof;
   (56)                             References Cited                                                       FIG. 6 is a right side view of the thereof;
                         U.S. PATENT DOCUMENTS                                                             FIG. 7 is a top view of the thereof; and,
                                                                                                           FIG. 8 is a bottom view of the thereof.
           D593,233 S                 5/2009 Bai et al.
           D597,689 S                 8/2009 Sun et al.                                                                    1 Claim, 8 Drawing Sheets
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 115 of 195 Page ID
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                             FIG. 1
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                               FIG.2
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                                FIG.3
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                                FIG.4
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                              FIG.5
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                             FIG.6
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                             FIG. 7
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                               FIG.8
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 123 of 195 Page ID
                                   #:1158




                      Exhibit “E”
                                 Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 124 of 195 Page ID
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Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 125 of 195 Page ID
                                   #:1160




                      Exhibit “F”
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 126 of 195 Page ID
                                   #:1161
    Doc Code: ROCKET
    Document Description: Req for Expedited Processing, Design Rocket Docket

                                                                                                                                                      PTO/SB/27 105'15 I
                                                                                                                Approved for use through 07i31/2016. 0MB 0651-0031
                                                                                                  U.S. Patent and Trademark Office, U.S. DEPARTMEfHOF COMMERCE
               Under the Panerwork Reduction Act o 1995 no oersons are reauired to resoond to a collect1on ofinformatton unless it disolavs a valid 0MB control number.
r                                                                                                  .A.pplication Number                         29743300

     REQUEST FOR EXPEDITED EXAMINATION                                                             Filing Date                                  07/21/2020
                                                                                                   First Named Inventor                        Yu Chen
                    OF A DESIGN APPLICATION
                                                                                                   Title                                        Car headlight
                                 (37 CFR 1.155)
                                                                                                   Atty Docket Number                           TXUN-US-ID-20034

r
    ADDRESS TO:
                                   MAIL STOP EXPEDITED DESIGN
                                   COMMISSIONER OF PATENTS
                                   P.O. Box 1450
                                   Alexandria, VA 22313-1450
\.
    This is a request for expedited examination of a design application under 37 CFR 1.155.

NOTE: If the present form (PTO/SB/27) accompanies a new non provisional design application under 37 CFR l.53(b),
      include form PTO/SB/18 "Design Patent Application Transmittal" or its equivalent. Do not include the present
               form (PTO/SB/27) on the date of filing a new international design application. For an international design
               application to qualify for expedited examination, 37 CFR 1.155(a)(l) provides that the international design
               application first must have been published by WIPO pursuant to Hague Agreement Article 10(3).

    A preexamination search was conducted. The field of search was;
     LOC: 26-06
     Kl=(S1) AND CC=(US) AND CTB=(Car headlight);


    Related applications: _N_O_N_E_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    The following items are required under 37 CFR 1.155:

           •        Drawings in compliance with 37 CFR 1.84, unless the design application is an international design application that
                    designates the United States and was published by WIPO pursuant to Hague Agreement Article 10(3).
           •        The fee set forth in 37 CFR 1.17(k).
           •        An information disclosure statement in compliance with 37 CFR 1.98.

    Note: The Office will not grant a request for expedited examination if all of the requirements of 37 CFR 1.155 are not satisfied.
    In addition, the Office will not examine an application that is not in a condition for examination (e.g., missing basic filing fee)
    even if the applicant files a request for expedited examination under 37 CFR 1.155.
               /JIE YANG/                                                                                                         os,1912020
                                                           Signature                                                                                         Date


               JIE YANG                                                                                                           77665
                                                  Typed or printed name                                                              Registration Number, if applicable




                                                    Telephone Number

           Warning: Information on this form may become public. Credit card information should not be included on this form.
                                    Provide credit card information and authorization on PTO-2038.
    This corlecOon of mfot·mation :s required by 37 CFR 1.48. The 1r,formation is required to oota1r: or ret;)lr.1 a De11ef1t by the public which is to fil.e (and by the US-CJTQ to process) an appticaTion.
    Confidentiality is governt;>:d by 35 U.S.C. 122 and 37 CFR 1.11 and :l.14. This collection is estimatt;>:d to take1 hour'to complete, i.ndudirg gatliering, prepai-ing, and submitting the completed
    application form w the: USPTO. Time wiil vary depending upon -che indiv[c:juol case. Any corriments qn the amount of tirne you ·require to cornpiete t.7is form and/or suggesti9ns fq[ redudng.Ulfs
    bu.rden, ·should be sentto the dllef information Officer, U.S:Patent a1cidTradernark Office, U.. S. DePartment of Commerce. P.O. Box 1450, Alexandria, VA 22313-1450. D.0 NOT SEND FEE.SOR.
    COMPLE-"ffD FORMS TO TH IS ADD RESS. SEND TO: Commissioner for Patents, P. 0. BoK 1450, AleMartdria, VA 2231.3-1450.

                                                            Jfyou need assistance Jn completing tflefarm, calt 1-800~PTO-9199 and _i;e/ect op~iDn.2.
           Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 127 of 195 Page ID
Doc code: IDS                                 #:1162                                 PTO/SB/0Ba (03-15)
                                                                                                                          Approved for use through 07/31/2016. 0MB 0651-0031
Doc description: Information Disclosure Statement (IDS) Filed                                         U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                      Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid 0MB control number.



                                                               Application Number                         29743300
                                                               Filing Date                                2020-07-21
INFORMATION DISCLOSURE                                         First Named Inventor             lfl'u Chen
STATEMENT BY APPLICANT                                         Art Unit                                 12913
( Not for submission under 37 CFR 1.99)
                                                               Examiner Name                    I
                                                               Attorney Docket Number                   I TXUN-US-ID-20034



                                                                           U.S.PATENTS                                                     I Remove I

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Examiner Cite                                      Kind                            Name of Patentee or Applicant
                    Patent Number                        Issue Date                                              Relevant Passages or Relevant
Initial* No                                        Code1                           of cited Document
                                                                                                                 Figures Appear



            1       P597689                        S1        R□□9-0B-04            BYD Company Limited                           CLAIM 1




            2       p593233                        S1        Roo9-05-26            BYD Company Limited                           CLAIM 1




                                                                                   3UANGZHOUSHIOULIANG
            3       PB78642                        S1        Ro20-03-17                                                          CLAIM 1
                                                                                   lHAOMING LIMITED


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Examiner               Publication                 Kind Publication                Name of Patentee or Applicant
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Initial*               Number                      Code1 Date                      of cited Document
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Examiner Cite     Foreign Document                Country                Kind Publication                                                where Relevant
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Initial* No       Number3                         Code2i                 Code4 Date                                                      Passages or Relevant
                                                                                                       Document
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EFS Web 2.1.17
           Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 128 of 195 Page ID
                                      Application #:1163
                                                  Number     29743300
                                                           Filing Date                           2020-07-21
INFORMATION DISCLOSURE                                     First Named Inventor         I Yu Chen
STATEMENT BY APPLICANT                                     Art Unit                              2913
( Not for submission under 37 CFR 1.99)
                                                           Examiner Name                I
                                                           Attorney Docket Number                TXUN-US-ID-20034



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Examiner Cite
                     (book, magazine, journal, serial, symposium, catalog, etc), date, pages(s), volume-issue number(s),                                 T5
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Examiner Signature 11                                                                             I Date Considered 11
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citation if not in conformance and not considered. Include copy of this form with next communication to applicant.


1 See Kind Codes of USPTO Patent Documents at www.USPTO.GOV or MPEP 901.04. 2 Enter office that issued the document, by the two-letter code (WIPO

Standard ST.3). 3 For Japanese patent documents, the indication of the year of the reign of the Emperor must precede the serial number of the patent document.
4 Kind of document by the appropriate symbols as indicated on the document under WIPO Standard ST.16 if possible. 5 Applicant is to place a check mark here i

English language translation is attached.




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         Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 129 of 195 Page ID
                                    Application #:1164
                                                Number     29743300
                                                  Filing Date                    2020-07-21
INFORMATION DISCLOSURE                            First Named Inventor    I Yu Chen
STATEMENT BY APPLICANT                            Art Unit                       2913
( Not for submission under 37 CFR 1.99)
                                                  Examiner Name           I
                                                  Attorney Docket Number         TXUN-US-ID-20034



                                                  CERTIFICATION STATEMENT

Please see 37 CFR 1.97 and 1.98 to make the appropriate selection(s):


     That each item of information contained in the information disclosure statement was first cited in any communication
     from a foreign patent office in a counterpart foreign application not more than three months prior to the filing of the
     information disclosure statement. See 37 CFR 1.97(e)(1 ).


OR

     That no item of information contained in the information disclosure statement was cited in a communication from a
     foreign patent office in a counterpart foreign application, and, to the knowledge of the person signing the certification
     after making reasonable inquiry, no item of information contained in the information disclosure statement was known to
D    any individual designated in 37 CFR 1.56(c) more than three months prior to the filing of the information disclosure
     statement. See 37 CFR 1.97(e)(2).



     See attached certification statement.
     The fee set forth in 37 CFR 1.17 (p) has been submitted herewith.
X    A certification statement is not submitted herewith.
                                                             SIGNATURE
 A signature of the applicant or representative is required in accordance with CFR 1.33, 10.18. Please see CFR 1.4(d) for the
form of the signature.

Signature              /JIE YANG/                                   Date (YYYY-MM-DD)           2020-08-19
Name/Print             JIEYANG                                      Registration Number        [77665



This collection of information is required by 37 CFR 1.97 and 1.98. The information is required to obtain or retain a benefit by the
public which is to file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR
1.14. This collection is estimated to take 1 hour to complete, including gathering, preparing and submitting the completed
application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you
require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S.
Patent and Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND
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          Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 130 of 195 Page ID
                                              #:1165
                                      Privacy Act Statement




The Privacy Act of 1974 (P .L. 93-579) requires that you be given certain information in connection with your submission of the
attached form related to a patent application or patent. Accordingly, pursuant to the requirements of the Act, please be advised
that: (1) the general authority for the collection of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited
is voluntary; and (3) the principal purpose for which the information is used by the U.S. Patent and Trademark Office is to
process and/or examine your submission related to a patent application or patent. If you do not furnish the requested
information, the U.S. Patent and Trademark Office may not be able to process and/or examine your submission, which may
result in termination of proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

     1.       The information on this form will be treated confidentially to the extent allowed under the Freedom of Information Act
          (5 U.S.C. 552) and the Privacy Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the
          Department of Justice to determine whether the Freedom of Information Act requires disclosure of these records.

     2.       A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a
          court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of settlement
          negotiations.

     3.       A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
          request involving an individual, to whom the record pertains, when the individual has requested assistance from the
          Member with respect to the subject matter of the record.

     4.       A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need for
          the information in order to perform a contract. Recipients of information shall be required to comply with the
          requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).

     5.        A record related to an International Application filed under the Patent Cooperation Treaty in this system of records
          may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property Organization, pursuant
          to the Patent Cooperation Treaty.

     6.       A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of
          National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

     7.       A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services, or
          his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility to
          recommend improvements in records management practices and programs, under authority of 44 U.S.C. 2904 and
          2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection of records for this
          purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make
          determinations about individuals.



     8.       A record from this system of records may be disclosed, as a routine use, to the public after either publication of
          the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record
          may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the record was filed in
          an application which became abandoned or in which the proceedings were terminated and which application is
          referenced by either a published application, an application open to public inspections or an issued patent.



     9.       A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
          enforcement agency, if the US PTO becomes aware of a violation or potential violation of law or regulation.




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                                    900737788      12/13/2022
           Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 131 of 195 Page ID
                            TRADEMARK ASSIGNMENT
                                              #:1166     COVER SHEET

Electronic Version v1 .1                                                                       ETAS ID: TM773814
Stylesheet Version v1 .2

SUBMISSION TYPE:                        NEW ASSIGNMENT
NATURE OF CONVEYANCE:                   ASSIGNMENT OF THE ENTIRE INTEREST AND THE GOODWILL

 CONVEYING PARTY DATA
                Name                      Formerly               Execution Date              Entity Type
 Zhejiang Yuanzheng Auto &                                       12/02/2022         Limited Company (Ltd.): CHINA
 Motorcycle Accessories Co.,
 Ltd.


  RECEIVING PARTY DATA
  Name:                    Zhejiang Hongguan Lighting Technology Co., Ltd.
  Street Address:          No. 185 Fengdu 2nd Road,
  Internal Address:        International Automobile and Motorcycle Industry Base,
  City:                    Ruian City, Zhejiang Province
  State/Country:           CHINA
  Postal Code:             325204
  Entity Type:             Limited Company (Ltd.): CHINA


 PROPERTY NUMBERS Total: 1
          Property Type         Number                                        Word Mark
  Registration Number:     6302000            VLAND
                                                                                                                    I:'

 CORRESPONDENCE DATA
 Fax Number:
                                                                                                                    I
 Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent                  .=.
 using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.                             ~
 Email:                         trademarks@kaiplaw.com                                                              -.
 Correspondent Name:            Rumit Ranjit Kanakia                                                                ■


 Address Line 1:                21750 Hardy Oak Blvd Ste 104
 Address Line 2:                KA IP Law PLLC, PMB 68590
 Address Line 4:                San Antonio, TEXAS 78258-4946

NAME OF SUBMITTER:                      Rumit Ranjit Kanakia
SIGNATURE:                              /Rumit Ranjit Kanakia/
DATE SIGNED:                            12/13/2022
Total Attachments: 2
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source=88486095#page2.tif



                                                                               TRADEMARK
      900737788                                                          REEL: 007919 FRAME: 0227
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 132 of 195 Page ID
                                   #:1167



                                                                                                            I
                        TRADEMARK ASSIGNMENT AGREEMENT                                                  I
                                                                                                        l
           UilS AGREEMENT is made as of the 2nd day of December, 2022 by and                            i
           Bbi'\VEEN:




           ZHEJIANG YUANZHENG AUTO & MOTORCYCLE ACCESSORIES CO,,
           LTD, a limited company organized and. existing under the laws of Chin!h having its
           principal place of business at ''No.185, Fedndfu Second Road, Tangxffi_Town. Ruian,
           Zhejiang Province CHINA.325200" (hereinafter called the "ASSIGNOR"),

           and

           ZHEJIANG HONGGUAN LIGHTING TECH.t"'lOLOGY CO., LTD., a limited
           company organized and existing under the laws of £.b.irtJb having it,; pri11cipal place of
        business at ''N:o. 185 Fe11gdu ~nd Road, Intem~1ipnat~.:\l!iomo}2!l~ and MQtorcycl~
        !ndustry Base, Rui@ Citv _zhajiang_f_r_Q.yince (GN),325204" (hereinafter called the
        "ASSIGNEE")

                                               WITNESSETll

       WHr~REAS ASSIGNOR is the owner of certain trademark and/or service marks duly
       registered and/or filed in the United States .Patent and Trademark Office, as listed in
       the Schedule attached hereto (hereinafter called· the ''Trademark");




       !
       i
       !
                   \'LAND
                 _________......_ _.
                                            012                 6302000               j
                                       ----~·--·-·-~---~---------------~~--········~-J
       AND WHEREAS ASSIGNEE is desirous of acquiring the rights to the Trademark:

        NOW THEREFORE, the ASSIGNOR, together •with the goodwill of the business
        symbolized by the Trademark and the federal registration therefor, hereby transfors
       and assigns to the ASSIGNEE absolutely, all right, title and interest in and to the
       Trademark. The ASSlGNOR covenants that it will execute and deliver in favor of the
       ASSIGNEE alt such documents and instruments, and will do all su.ch things, as are
       .necessary or desirable in order to register the ASSIGNEE as the owner of the
       Trademark in United States.



                                                                              TRADEMARK
                                                                        REEL: 007919 FRAME: 0228
  Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 133 of 195 Page ID
                                     #:1168




           THIS AGREEMENT shall take effect from 2nd day of December, 2022


          IN WITNESS WHEREOF the parties hereto have caused their respective authorized
                                                                                              I
          representatives to execute this Agreement on the day and year fust written above.   I
                                                                                              f
                                                                                              t


          ASSIGNOR:                                   ASSIGNEE:
                                                                                              l
          ZHEJIANG YUANZHENG AUTO &                   ZHEJIANG HONGGUAN LIGHTING              i
          ~fOTORCYCLE ACCESSORIES CO.,                TECHNOLOGY CO., LTD.
          LTD




          Signed by:        w~ Y~hruJ                 Signed by,      ~ Y• hfk,   1
                                                                   Name; W g, Yon uo
                       Name: W. Y, Yo     uo                       Title: Principal
                       Title: Principal




                                                                      TRADEMARK
RECORDED: 12/13/2022
                                                                REEL: 007919 FRAME: 0229
                                    900737813      12/13/2022
           Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 134 of 195 Page ID
                            TRADEMARK ASSIGNMENT
                                              #:1169     COVER SHEET

Electronic Version v1 .1                                                                       ETAS ID: TM773840
Stylesheet Version v1 .2

SUBMISSION TYPE:                        NEW ASSIGNMENT
NATURE OF CONVEYANCE:                   ASSIGNMENT OF THE ENTIRE INTEREST AND THE GOODWILL

 CONVEYING PARTY DATA
                Name                      Formerly               Execution Date              Entity Type
 ZHEJIANG YUANZHENG                                              12/02/2022         Limited Company (Ltd.): CHINA
 AUTO & MOTORCYCLE
 ACCESSORIES CO., LTD.


  RECEIVING PARTY DATA
  Name:                    Zhejiang Hongguan Lighting Technology Co., Ltd.
  Street Address:          No. 185 Fengdu 2nd Road,
  Internal Address:        International Automobile and Motorcycle Industry Base,
  City:                    Ruian City Zhejiang Province
  State/Country:           CHINA
  Postal Code:             325204
  Entity Type:             Limited Company (Ltd.): CHINA


 PROPERTY NUMBERS Total: 1
          Property Type         Number                                        Word Mark
  Registration Number:     5065813            VLAND
                                                                                                                    ·-
 CORRESPONDENCE DATA                                                                                                ~
 Fax Number:
 Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent                  .=.
 using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.                             ~
 Email:                         trademarks@kaiplaw.com                                                              -.
 Correspondent Name:            Rumit Ranjit Kanakia                                                                ■


 Address Line 1:                21750 Hardy Oak Blvd Ste 104
 Address Line 2:                KA IP Law PLLC, PMB 68590
 Address Line 4:                San Antonio, TEXAS 78258-4946

NAME OF SUBMITTER:                      Rumit Ranjit Kanakia
SIGNATURE:                              /Rumit Ranjit Kanakia/
DATE SIGNED:                            12/13/2022
Total Attachments: 2
source=86834961 #page1 .tit
source=86834961 #page2.tif



                                                                               TRADEMARK
      900737813                                                          REEL: 007917 FRAME: 0577
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 135 of 195 Page ID
                                   #:1170



                 TRADEMARK ASSIGNMENT AGREEMENT

        THJS AGREEMENT 1s made as of the 2m1 day of December, 2022 by and
        BETWEEN:



        ZHF.,JIANG YUANZHENG AUTO & MOTORCYCLE ACCESSORIES CO.,
        LTD, a·li.mited company organized and existing·under the laws of Chin~; having its
        principal place of business at ''LUOFENG NORTH INDUSTRIAL A,REA, N0-1~2
        FENGDU W'D ROAD, TANGXIA RUIAN, ZHETIANG PROVJNCE CHINA
        325200'' (hereinafter called the "ASSIGNOR''},

        and

        ZHEJIANG HONGGUAN LIGHTING TECHNOLOGY CO., LTD., a limited
        company organized and existing under the laws of Cliina, having its principal place of
        business .at ~'No. 185 Fengdu 2nd Road, Intemational_Automobile and Motorcvcle
        Industry ]l~e. Ruian Citv Zhejiang Province (CM)__12_5204" (hereinafter called the
        "ASSIGNEff')

                                          WITNESSETH

       WHEREAS ASSIGNOR is the owner of certain trademark and1or service marks duly
       registered and/or filed in the United. States Patent· and Trademark Office, as listed in
       the Schedule attached hereto (hereinafter called the 11 T:rademark 11);




       AND WHEREAS ASSIGNEE is desirous of acquiring the rights to th.e Trademark:

       NOW TIIEREFORE, the ASSIGNOR, together with the goodwill of the business
       symbolized by the Trademark and the federal registration therefor; hereby transfers
       and assigns to the ASSIGNEE absolutely, all right, title and interest in and to the
       Trademark. The ASSIGNOR covenants that it will execute and deliver in favor of the
       ASSIGNEE all such documents and instruments, and ,vm do all such things, as are
       necessary or desirable in order to register the ASSIGNEE as the owner of the
       Trndemark in United States.

                                                                          TRADEMARK
                                                                    REEL: 007917 FRAME: 0578
 Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 136 of 195 Page ID
                                    #:1171




         THIS AGREEMENT shall take effect from ~~ day of December, 2022


         IN WITNESS \VHEREOF the parties hereto have caused their respective authorized
         representatives to execute this Agreement on the day and year first v-..Titten above.


         ASSIGNOR:                                      ASSIGNEE:
         ZlIEJIA.~G YUANZHENG AUTO &                    ZHEJIANG HONGGUAN LIGHTING
         MOTORCYCLE ACCESSORIES CO.,                    TECHNOLOGY CO., LTD.
         LTD




         Signedby:      ~~ ¥~ ha.o
                     Name:     a.ug, · nghuo
                                                        Signed by:    w~ \'ii hwo
                                                                     Name· ang, t ghuo
                     Title: Principal                                Title: Principal




                                                                           TRADEMARK
RECORDED: 12/13/2022                                                 REEL: 007917 FRAME: 0579
                                    900737809      12/13/2022
           Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 137 of 195 Page ID
                            TRADEMARK ASSIGNMENT
                                              #:1172     COVER SHEET

Electronic Version v1 .1                                                                       ETAS ID: TM773837
Stylesheet Version v1 .2

SUBMISSION TYPE:                        NEW ASSIGNMENT
NATURE OF CONVEYANCE:                   ASSIGNMENT OF THE ENTIRE INTEREST AND THE GOODWILL

 CONVEYING PARTY DATA
                Name                      Formerly               Execution Date              Entity Type
 Zhejiang Yuanzheng Auto &                                       12/02/2022         Limited Company (Ltd.): CHINA
 Motorcycle Accessories Co.,
 Ltd.


  RECEIVING PARTY DATA
  Name:                    Zhejiang Hongguan Lighting Technology Co., Ltd.
  Street Address:          No. 185 Fengdu 2nd Road,
  Internal Address:        International Automobile and Motorcycle Industry Base,
  City:                    Ruian City, Zhejiang Province
  State/Country:           CHINA
  Postal Code:             325204
  Entity Type:             Limited Company (Ltd.): CHINA


 PROPERTY NUMBERS Total: 1
          Property Type         Number                                        Word Mark
  Registration Number:     5781201            VLAND
                                                                                                                    -
                                                                                                                    IA
                                                                                                                    ~
 CORRESPONDENCE DATA
 Fax Number:
 Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent                  .=.
 using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.                             ~
 Email:                         trademarks@kaiplaw.com                                                              -.
 Correspondent Name:            Rumit Ranjit Kanakia                                                                ■


 Address Line 1:                21750 Hardy Oak Blvd Ste 104
 Address Line 2:                KA IP Law PLLC, PMB 68590
 Address Line 4:                San Antonio, TEXAS 78258-4946

NAME OF SUBMITTER:                      Rumit Ranjit Kanakia
SIGNATURE:                              /Rumit Ranjit Kanakia/
DATE SIGNED:                            12/13/2022
Total Attachments: 2
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                                                                               TRADEMARK
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    Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 138 of 195 Page ID
                                       #:1173



                   TRADEMARK ASSIGNMENT AGREEMENT

          TI-llS AGREEMENT is made as of the 2nd day of Decembe;, 2022 by and
          BETWEEN:




          ZHEJIANG YUAt"'lZHENG AUTO -& MOTORCYCLE ACCESSORIES CO.,
          LTD, a limited company organized and existing under the laws of Chin@. having its
          principal place ofbusiness at "C/OLegaIForceRAPC Worldwide446 E Southern.Av~
          Tempe,ARJZONAUNITED STATES 85282" (hereinafter called the "ASSIGNOR'~),


          and


          ZHE.lIANG HONGGUAN LIGHTING TECHNOLOGY CO.• LTD., a limited
          company organized and existing under lhe laws of China, having its principal place of
          busin.ess at "No. 185 Fengdu 2nd Road, Intem~tional Automobile and Motorcycle
          Industry Base, Ruian City Zhejiang Province (QN) 325204" (hereinafter called the
              1
          '   ASSIGNEE")

                                            WlTNESSETH

          VlHEREAS ASSIGNOR is the owner of certain trademark and/or service marks duly
          registered and/or filed in the United States Patent and Trademark Office, as listed in
          the Schedule attached hereto (hereinafter called the "Trademark");




          AND \VHEREAS ASSIGNEE is .desirous of acquiring the rights to the Trademark:

          NOW TI-IEREFORE, the ASSIGNOR, together ,'1th the good\vill -of the business
          symbolized by the Trademark and the federal registration therefor, hereby transfers
          and assigns to the ASSIGNEE absolutely, all right, title and .interest in and to the
          Trademark. The ASSIGNOR covenants that it will execute and deliver in favor of the
          ASSIGNEE all such documents and instruments, and will d<,) all such things, as are
          necessary or desirable in order to register the ASSIGNEE as the owner of the
          Trademark in United States.


                                                                            TRADEMARK
                                                                      REEL: 007917 FRAME: 0513
 Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 139 of 195 Page ID
                                    #:1174




       THIS AGREEMENT shall take effect from pd day of December, 2022


       IN Wl'INESS \\!HEREOF the parties hereto· have ca.used their respective authorized
       representatives to execute this Agreement on the day and year first written above.


       ASSIGNOR.:                                   ASSIGNEE:
       ZHF.,.HANG YUANZIIENG AUTO &                 ZHEJIANG HONGGUAN LIGHTING
       MOTORCYCLE ACCESSORIES CO.,                  TECHNOLOGY CO.. LTD.
       LTD




       Slgnedby:     \v~-    f~      &JMJ
                   Name. rang, · nghuo
                                                    Signedby, •   W5, "¥ f.t..J
                                                              Nam '. ·ang, Y gliuo ·
                   Title: Principal                           Title: PrindpaL/




                                                                     TRADEMARK
RECORDED: 12/13/2022                                           REEL: 007917 FRAME: 0514
                                    900737807      12/13/2022
           Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 140 of 195 Page ID
                            TRADEMARK ASSIGNMENT
                                              #:1175     COVER SHEET

Electronic Version v1 .1                                                                       ETAS ID: TM773835
Stylesheet Version v1 .2

SUBMISSION TYPE:                        NEW ASSIGNMENT
NATURE OF CONVEYANCE:                   ASSIGNMENT OF THE ENTIRE INTEREST AND THE GOODWILL

 CONVEYING PARTY DATA
                Name                      Formerly               Execution Date              Entity Type
 Zhejiang Yuanzheng Auto &                                       12/02/2022         Limited Company (Ltd.): CHINA
 Motorcycle Accessories Co.,
 Ltd.


  RECEIVING PARTY DATA
  Name:                    Zhejiang Hongguan Lighting Technology Co., Ltd.
  Street Address:          No. 185 Fengdu 2nd Road,
  Internal Address:        International Automobile and Motorcycle Industry Base,
  City:                    Ruian City, Zhejiang Province
  State/Country:           CHINA
  Postal Code:             325204
  Entity Type:             Limited Company (Ltd.): CHINA


 PROPERTY NUMBERS Total: 1
          Property Type         Number                                        Word Mark
  Registration Number:     6301997            VLAND
                                                                                                                    :-,

 CORRESPONDENCE DATA
 Fax Number:
                                                                                                                    l
 Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent                  .=.
 using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.                             ~
 Email:                         trademarks@kaiplaw.com                                                              -.
 Correspondent Name:            Rumit Ranjit Kanakia                                                                ■


 Address Line 1:                21750 Hardy Oak Blvd Ste 104
 Address Line 2:                KA IP Law PLLC, PMB 68590
 Address Line 4:                San Antonio, TEXAS 78258-4946

NAME OF SUBMITTER:                      Rumit Ranjit Kanakia
SIGNATURE:                              /Rumit Ranjit Kanakia/
DATE SIGNED:                            12/13/2022
Total Attachments: 2
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                                                                               TRADEMARK
      900737807                                                          REEL: 007917 FRAME: 0506
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 141 of 195 Page ID
                                   #:1176




                 TRADEMARKASSIGNMENT AGREEM.ENT

        TIIIS AGREEMENT is made as of the 2nd day of December, 2022 by and
        BETVlBEN:




        ZHEJIANG YUANZIIENG AUTO & MOTORCYCLE ACCESSORIES CO.,
        LTD, a limited company organized and existing under the laws of J;bin~. having its
        principal place of business at '"No.185, Fedndfu Second Road, Tangxia Town. Rq.ian,
        Zhejiang Province CHINA 325200" (hereinafter called the "ASSIGNOR''),

        and


        ZHEJIANG HONGGUAN LIGHTING TECID'l'OLOGY co~. LTD.; a limited
        company organized and·existing under the la-ws of China, having its principal place of
        business at "No. 185 Fengdu 2nd Road, International__ Automobile and MQtorcvde
        Industry Base. Ruian City Zl1tiiang Province (QN),i25204., (hereinafter called the
        "ASSIGNEE")

                                          "\\'TfNESSETH

        WHEREAS ASSIGNOR is the 0'\\ner of certain trademark and/or service marks duly
        registered and/or filed in the United States Patent and Trademark Office, as listed in
        the Schedule attached hereto (hereinafter called the "Trademark");




              VLAND                    012                         6301997                  I
                                              ~~----------~----___)

        At-.rD \VHEREAS ASSIGNEE is desirous of acquiring the rights to the Trademark:

       NOW THEREFORE, the ASSIGNOR, together with the goodwill of the business
       symbolized by the Trademark and the federal registration therefor, hereby transfers
       and assigns to the ASSIGNEE absolutely, aU right, title and interest in and to the
       Trademark. The ASSIGNOR covenants that it will execute and deliver in favor of the
       ASSIGNEE all such documents and instruments, and will do all such things. as are
       necessary or desirable in order to register the ASSIGNEE as the owner of the
        Trademark in United States.


                                                                         TRADEMARK
                                                                   REEL: 007917 FRAME: 0507
  Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 142 of 195 Page ID
                                     #:1177




          THIS AGREEMENT shall take effect from Jnd day of December, 2022


          IN Wl'INESS WHEREOF the parties hereto have caused their respective authorized
          representatives to execute this Agreement t">n the day and year first written above.


          ASSIGNOR:                                     ASSIGNEE:
          ZHEJIANG YlJANZHENG AUTO &                     ZHEJIANG HONGGUA.~ LIGHTING
          MOTORCYCLE ACCF,,SSORIES CO.•                 TECHNOLOGY CO., LTD.
          LTD




         Signedby:       ~ Yo~hu,g                      Signed by:      Wa~ Yo~ hu1l
                     Name:        g, Yo ghuo                         Name: · g, Yo huo
                     Title: Principal                                Title: Principal




                                                                           TRADEMARK
RECORDED: 12/13/2022                                                 REEL: 007917 FRAME: 0508
                                        Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 143 of 195 Page ID
                                                                           #:1178


fir) 2018- 2020 Ford F150 Viand l [ X     +                                                                                                                                                                                                  V



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                                    J Enghsh           '                                                                  f @J D     (9   ct      busmess@lvlandshop.com       x.0   LOGIN I REGISTER



                                    ~~ I/LAND                       SHOP BY MODELS    SHOP BY CATEGORY     OUR STORY    SUPPORT      CONTACT               SALE        Q. -                     CJ8


                                                                                                                              Home / FORD / Ford F 150 / Viand Fl 50 Headlights /



                                                                                                                              18-20 Ford F150 13th Gen
                                                                                                                              Facelifted Viand (II) LED
                                                                                                                              Dual Beam Projector
                                                                                                                              Headlights Black
                                                                                                                              ••               ( 18 reviews)


                                                                                                                              US$499.99

                                                                                                                               •
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                                                                                                                                          +     i\HH!ME Efliihfi                                    Welcome to our store ·

                                                                                                                              Receive items in 1-4 business days                                    We wlH reply you within 2 days.




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                                                                                                                              For Bulk Orders or Wholesale Businesses, please CL.                   Got any questions?
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                                                                                                                                 FORD FlS0 2018 2019 2020. Designed as a perfect
                                                                                                                                 replacement for your OE lights, they install the same way
                                                                                                                                                                                                                                             •
                                      Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 144 of 195 Page ID
                                                                         #:1179


i;:) 2018-2020 Ford F150 Viand l[ X    +                                                                                                                                                                                                         V




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                                                                                                                                        • Direct OEM Fitment - VI.AND LED headlights assembly for
                                                                                                                                            FORD FlS0 2018 2019 2020. Designed as a perfect
                                                                                                                                            replacement for your OE lights, they Install the same way
                                                                                                                                            as factory units.

                                                                                                                                        • DRL with Dynamic Animation - No bulbs needed. Dynamic
                                                                                                                                            animation comes to life when you lock or unlock the
                                                                                                                                            vehicle. A choreographed sequence of light In motion
                                                                                                                                            greets you upon your arrival or bids you farewell. Ultra -
                                                                                                                                            modern fiber optic style to give a touch of high-end
                                                                                                                                            elegance to the appearance of your vehicle making it
                                                                                                                                            stand out from the rest.

                                                                                                                                        • Part Interchange Info - Left: FO2502335,
                                                                                                                                            # FL3Zl3008B; FO2502344, # FL3Zl3008H Righ
                                                                                                                                            F02503335, #FL3Z13008A, FL3Z13008ACP; FO
                                                                                                                                            FL3Z13008C, FL3Z13008G.

                                                                                                                                        • We have the Projector Black Housing l style i
                                                                                                                                            They are the latest LED technology headlights fe
                                                                                                                                                                                                         Welcome to our store·
                                                                                                                                            tum signals and dynamic activate lighting, choo!
                                                                                                                                                                                                         We wlH reply you Within 2 days.
                                                                                                                                            you want best and place order now!
                                                                                                                                                                                                         1. The default ls the price of a set
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                                                                                                                                             11 Get a Installation           a Find lnstalh              W1th1n 2 days
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                                                                                                                                       SKU : YAA-FIS0-2042A-NB32A                                        le1Vr1ght
                                                                                                                                                                                                         Newest discount code:VlandJune
                                                                                                                                       Ca tegories: F150 Headlights , FORD , Ford FIS0 , He,
                                                                                                                                                                                                         Got any questions?
                                                                                                                                       Viand F150, Viand Fl 50 Headlights

                                                                                                                                       Tags: 2018 Ford FIS0 , 2019 Ford FlS0 , 2020 Ford F
                                                                                                                                       FlS0 13th Gen



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                                           18-20 Ford F1 5D 13th Gen Facelifted Viand (II) LEO Dual Beam Projector Headlights
                                           Black                                                                                US$499. 99      -   l   +                                                Q
                                       Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 145 of 195 Page ID
                                                                          #:1180


{;) 2018- 2020 Ford F150 Viand U   X      +                                                                                                                                                                                                                    V




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                                   Frequently bought together

                                                                                                                                                                  18-20 Ford F150 13th Gen Facelifted Viand (II)
                                                                                                                                                                  LED Dual Beam Projector Headlights Black
                                                                                                                                                                              US$474.99

                                                                                                                                                              l!',1 15-20 Ford F150 13th Gen (P552) Viand LED Tall
                                                                                                                                                                  Lights With Sequontlol Turn Signal
                                                                         +                                                                                        US$227.99

                                                                                                                                                                  Smoked w/am ber turns


                                   18-20 Ford F150 13th Gen Facolifted       15-20 Ford F150 13th Gen (P552)                                                                        US$702.98
                                   Viand (11) LED Dual Beam Projector           Viand LED Tall Lights With
                                                                                                                                                              For 2 items
                                                       US$474 ,99                           US$227.99




                                                                                                                                                                                                                        Welcome to our slore ·
                                                                                                                                                                                                                        We wll reply you within 2 days.
                                       Description                                                                                                                                                                      1 The delaull Is !he price ol a se1
                                                                                                                                                                                                                        2. Normally, orders WIii be shipped
                                   • Plug - and- play Install method for your convenience
                                                                                                                                                                                                                        Within 2 days
                                                                                                                                                                                                                        3. LHDIRHD means dnver's seal on the
                                       Connect the VLAND car lamp cable to the original car cable i n plug-and- play mode, plus easy- to-understand video In stallation Inst ructions.
                                                                                                                                                                                                                        lefVrfghl
                                   • Own factory production, strictly control the whole process of producti on                                                                                                          Newest discount oode.VlandJune
                                                                                                                                                                                                                        Got any queslions?
                                       Adopt advanced manufacturing equipment and strict quality control standards to ensure product quality.


                                   • Product certification certifies your trusted choice.

                                       Our factory has American DOT, European E· Mark and Chinese CCC certificat ion to assure product quality. In terms of appearance, we have the appearance
                                       design patents of our car lights. As for production capacity, our factory has IATF 16949 auto parts production management system and ISO 9001 quality
                                       management system certification standards.
                                                                                                                                                                                                            Write a message
                                       1 year of after--sale service makes you fe el cost-effective                                                                                                                             Add froo h,   t to yoorarte




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                                               18-20 Ford F150 13th Gen Facalifted Viand (II) LED Dual Beam Projector Headlights
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                                       Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 146 of 195 Page ID
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'¥) 2018 - 2020 Ford F150 Viand l[ X      +                                                                                                                                                                                                           V




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                                   . 1 year of after-sale service makes you feel cost-effective

                                       We promise that VLAND can be refunded and replaced if the lights are not artificially modified within one year.

                                   • Upgrade lighting, experience new feelings

                                       Compared with the same shape of the original car lights, VLAND can change the appearance and configuration of the car lights through old reform services,
                                       Independent design and upgrades, allowing you to experience the new feelings at a minimal cost. Choose VLAND to give your car a new lease of life.

                                   • A variety of re flector colors Is available to meet your i ndividual needs

                                       In order to coordinate with the body color, VLAND reflectors are available in a variety of colors to make your car more beautiful.




                                       Additional i nformation
                                                                                                                                                                                                   ~ Viand
                                                                                                                                                                                                   ~     W•typl:altfrPJfl#f ~• tew mint.Aas


                                       Veh icle Fitment

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                                       Reviews ( 18)                                                                                                                                                       We wlH reply you within 2 days
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                                       questions & answers                                                                                                                                                 Got any quesOons?



                                            Ask the community here         ASK THE COMMUNITY




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                                   RELATED PRODUCTS
                                                                                                                                                                                                                    Add lroo •• -      10 you, orle




                                                                                                                                                                                                                                                      •
                                               18-20 Ford F150 13th Gon FaC1llifted Viand (II) LED Dual Beam Projector Headlights
                                               Black                                                                                US$499 .99      -    1   +                                           Q
                                            Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 147 of 195 Page ID
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     ';) 2018-20 20 Ford F150 Viand U   X      +                                                                                                                                                                                                  V




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                                            . ' ..       '      ..    . .
                                        Viand (11) LEO Dual Beam Projector
                                                                            .           . ..      .      .. .
                                                                                       Viand LEO Tall Lights With
                                                                                                                                                                                 .          .           .
                                                                                                                                                                  For 2 Items
                                                             us,474.99                             US$227.99




                                             Description

                                        • Own factory production, strictly control the whole process of production

                                            Adopt advanced manufacturing equipment and strict quality control standards to ensure product quality.

                                        • Product certification certifies your trusted choice.

                                            Our factory has American DOT, European E-Mark and Chinese CCC certification to assure product quality. In terms or appearance, we have the appearance and
                                            design patents of our car lights. As for production capacity, our factory has IATF 16949 auto parts production management system and ISO 9001 quality
                                            management system certification standards.

                                        • 1 year of after-sale service makes you feel cost-effective

                                            We promise that VLAND can be refunded and replaced if the lights are not artificially modified within one year.

                                        • Upgrade lighting, experience new feelings

                                            Compared with the same shape of the original car llghts, VLAND can change the appearance and configuration of the car lights through old reform services,
                                            Independent design and upgrades, allowing you to experience the new feelings at a minimal cost . Choose VLAND to give your car a new lease of life.

                                        • A variety of reflector colors is available to meet your Individual needs

                                            In order to coordinate with the body color, VLAND reflectors are available in a variety of colors to make your car more beautiful.




                                             Additional information




                                        1
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                                                      18-20 Ford F150 13th Gon Facellfted Viand (II) LED Dual Boam Projector Headlights
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 •     •                ~ ZHEJIANG HONGGUAN LIGHT   X     +                                                             V



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                                       Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 149 of 195 Page ID
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 • •                    ~ ZHEJIANG HONGGUAN LIGHT      X    +                                                                                                          V



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                                              FOR FORD f150 2017- UP HEAD LAMP          FOR DODGE RAM 1500 2019- UP HEAD LAMP   FOR DODGE RAM 1500 HEAD LAMP




                                                                                                                                                               .,,..
                                        Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 150 of 195 Page ID
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 • •                    ~ ZHEJIANG HONGGUAN LIGHT X             +                                                                                                                    V



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                                     FOR BMW MINI F55 F56 2014-UP LED TAIL LAMP                   FOR TOYOTA REIZ MARK X 2010- 2013 LED HEAD   FOR TOYOTA HILUX 2015- UP HEAD LAMP




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                                                                                                                                                                           RM
Amazon.com: VLAND Projector LED Headlights Compatible with F15...                                                                          https://www.amazon.com/VLAND-Projector-Headlights-Compatible-H...
                   Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 151 of 195 Page ID
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         Skip to main content Deliver to Anna                Automotive Parts …
                                                                                                                                                                                                     Hello, Alexander            Returns               1
                              Coto De Caza 92679                                                                                                                                            EN       Account & Lists             & Orders


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          Automotive         Your Garage   Deals & Rebates   Best Sellers   Parts   Accessories    Tools & Equipment       Car Care     Motorcycle & Powersports   Truck      RV    Tires & Wheels      Vehicle Showroom           Amazon Business




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                                                                                                                   VLAND Projector LED Headlights                                                       Buy new:

                                                                                                                   Compatible with F150 2018 2019 2020                                                  $
                                                                                                                                                                                                            44099
                                                                                                                   (Not Fit A Raptor), No Need Extra Bulbs,
                                                                                                                   Black Housing                                                                        FREE Returns

                                                                                                                   Visit the VLAND Store                                                                FREE delivery Friday, July 7.
                                                                                                                   3.7                   69 ratings | 32 answered questions                             Order within 14 hrs 14 mins


                                                                                                                       44099
                                                                                                                   $                                                                                          Deliver to Anna - Coto De Caza
                                                                                                                                                                                                              92679

                                                                                                                                                                                                        Only 9 left in stock - order
                                                                                                                   FREE Returns                                                                         soon
                                                                                                                   May be available at a lower price from other sellers, potentially without
                                                                                                                                                                                                            Qty: 1
                                                                                                                   free Prime shipping.

                                                                                                                       Color: LED Projector                                                                              Add to Cart

                                                                                                                                                  $440.99
                                                                                                                              $709.99                               $679.99                                                Buy Now

                                                                                                                                                                                                        Payment          Secure transaction
                                                                                                                              $679.99                                                                   Ships from Amazon
                                                                                                                                                                                                        Sold by          VLAND US
                                                                                                                                                                                                        Returns          Eligible for Return,
                                                                                                                   Purchase options and add-ons                                                                          Refund or Replacement
                                                                                                                                                                                                                         within 30 days of receipt

                                                                                                                   Payment plans                                                                        Packaging
                                                                                                                                                                                                          See more Shows what's inside
                                                     Roll over image to zoom in
                                                                                                                   From $73.50/mo (6 mo) with 0% APR                                                     D Add a gift receipt for easy
                                                                                                                                                                                                              returns

                                                                                                                             Light Source Type                     Voltage
                                                                                                                             LED                                   12 Volts (DC)
                                                                                                                                                                                                        Save with Used - Like New
                                                                                                                                                                                                        $   34629
                                                                                                                   Brand                VLAND                                                           FREE delivery: Sunday, July 9
                                                                                                                   Color                LED Projector                                                   Ships from: Amazon
                                                                                                                                                                                                        Sold by: Amazon Warehouse
                                                                                                                   Speciﬁc Uses         Head Lights
                                                                                                                   For Product
                                                                                                                   Vehicle Service 18-20 f150
                                                                                                                   Type                                                                               Add to List

                                                                                                                   Year                 2018
                                                                                                                   Special Feature Plug and play, Full led, HI/ LO beam with led bulbs,                 Buy it on Amazon Business
                                                                                                                   V See more
                                                                                                                                   cannot be changed, Black housing
                                                                                                                                                                                                        Save up to 5% on this product
                                                                                                                                                                                                        with business-only pricing.
                                                                                                                   About this item
                                                                                                                       • 💡 OEM Direct Fitment - Replacement for 17-20 Ford f150( NOT Fit a                           Create a free account
                                                                                                                         Raptor). New look designed to be an exact replacement for your
                                                                                                                         factory Head lamps with no vehicle modiﬁcations required for
                                                                                                                         getting the job done right.
                                                                                                                                                                                                        New & Used (2) from
                                                                                                                       • 💡 Dash Flashes Faster - It's Normal the turn signal indicator on the           $
                                                                                                                                                                                                          34629 Prime FREE Delivery
                                                                                                                         dash ﬂashes faster after install these vland led headlight assembly.
                                                                                                                         No error codes and the signals front and back will ﬂash at the normal
                                                                                                                         pace. It’s just the way these F-150’s are for some models such as
                                                                                                                         F-150 Lariat Abyss Gray with oem led.
                                                                                                                       • 💡 NOTE- Any question please feel free to message us! Please keep
                                                                                                                         all boxes labels and user manuals when you receive the package. In
                                                                                                                         the event merchandise is damaged, becomes defective or needs to be
                                                                                                                         returned, please message us and provide the product label, video&
                                                                                                                         pictures proof, make sure the pictures& video clearly shows the
                                                                                                                         defect.
                                                                                                                       • 💡 SAE/ DOT Certiﬁed - Approved by the SAE. Meet and exceed DOT
                                                                                                                         regulations and compliant with FMVSS 108. Thoroughly tested to
                                                                                                                         meet all federal quality and international standards and are fully
                                                                                                                         street legal.
                                                                                                                       • 💡 Interchange Part Info - OEM #: HL3Z-13008-G, HL3Z-13008-J,                                                      Sponsored
                                                                                                                         HL3Z-13008-H, HL3Z-13008-K, HL3Z-13008-A, HL3Z-13008-L,
                                                                                                                         HL3Z-13008-B,HL3Z-13008-M. Partslink #: FO2503335, FO2502335,
                                                                                                                         FO2503335, FO2502335, FO2519140, FO2518140.
                                                                                                                       • 💡 Custom Fiber Ptic LED Display - This type of head light is full led
                                                                                                                         light bars, no need any bulb, the led is built-in, cannot be
                                                                                                                         replaced.Ultra-modern ﬁber optic style to give a touch of high-end
                                                                                                                         elegance to the appearance of your vehicle making it stand out from
                                                                                                                         the rest.
                                                                                                                       › See more product details

                                                                                                                           Report incorrect product information.




1 of 8                                                                                                                                                                                                                                                     7/3/23, 6:01 AM
Am.azoo.com: VI.AND Projoctor LEO Headlights Compatibk. with Fl 5...                                             bttps:l/www.amazon.comNLAND•Projector HeadJigbts-Compatib1e--H ...   4




                Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 152 of 195 Page ID
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         From U'I♦ brand




2of8                                                                                                                                                                                            7/3123. 6:01 AM
Amazon.com: VLAND Projector LED Headlights Compatible with F15...                                                                                      https://www.amazon.com/VLAND-Projector-Headlights-Compatible-H...
                   Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 153 of 195 Page ID
                                                      #:1188




                                                                                                   VLAND is the leading manufacturer that
                                                                                                   specialized on the design and manufacturing
                                                                                                   modiﬁed car accessories. With a wide range of
                                                                                                   backgrounds from business management,
                                                                                                   technology, buyer experience and automotive
                                                                                                   modify service sectors.

                                                                                                   Welcome people from all walks of life to join the
                                                                                                   expedition to share the great wealth created by
                                                                                                   the high development and deep potential
                                                                                                   restructured car lights.




         Product Description



                                                                                                                                                                                                                 VLAND Led Headlights for
                                                                                                                                                                                                                 F150 2018 2019 2020 (Not
                                                                                                                                                                                                                 Fit A Raptor)
                                                                                                                                                                                                                 Sequential Turn Signal

                                                                                                                                                                                                                 Full Led, No Need Extra Bulbs

                                                                                                                                                                                                                 Black Housing




         Message us when you meet any questions
         Please keep all boxes labels and user manuals when you receive the package. In the event merchandise is damaged, becomes defective or needs to be returned, please message us and provide the product label, video& pictures proof, make sure the pictures&
         video clearly shows the defect.


             • Certiﬁcation: DOT.
             • Operating voltage: 12V 35~42W.
             • Housing Color: Black/ Chrome
             • Style: OE/ Led Projector



         Functions& Feature
         Daytime Running Light, Switchback Turn Signal, High Beam and Low Beam
         TIPS FOR YOU

         1- Please make sure that led headlights are ﬁrmly installed before driving.

         2- Please make sure that sequential feature of headlights is legal in your State before purchase.

         3- These are Modiﬁed car lamps, please replace the led headlights in a pair.

         4- Mounting panels from stock taillights should be reused.

         Contain

         2 x Led headlights including left and right sides

         2 x DELUXE to GENERAL adapters

         1 x ACC cable

         1 x User manual




         Replacement for the following Vehicles,
         2018 2019 2020 F150 Pickup Trucks( Not for Raptor)

         • F-150 Limited Crew Cab Pickup 4-Door
         • F-150 SSV Crew/ Extended Cab Pickup 4-Door
         • F-150 Lariat Crew/ Extended Cab Pickup 4-Door
         • F-150 Police Responder Crew Cab Pickup 4-Door
         • F-150 XL Crew/Extended Cab Pickup 4-Door
         • F-150 XL/ XLT Standard Cab Pickup 2-Door
         • F-150 XLT Crew/ Extended Cab Pickup 4-Door
         • F-150 King Ranch Crew Cab Pickup 4-Door
         • F-150 Platinum Crew Cab Pickup 4-Door

         Interchange Part Info,




3 of 8                                                                                                                                                                                                                                                                 7/3/23, 6:01 AM
Amazon.com: VLAND Projector LED Headlights Compatible with F15...                                                                                     https://www.amazon.com/VLAND-Projector-Headlights-Compatible-H...
                  Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 154 of 195 Page ID
                                                     #:1189
             • Partslink #: FO2503335, FO2502335, FO2503335, FO2502335, FO2519140, FO2518140.
             • OEM #: HL3Z-13008-G, HL3Z-13008-J, HL3Z-13008-H, HL3Z-13008-K, HL3Z-13008-A, HL3Z-13008-L,
             • HL3Z-13008-B,HL3Z-13008-M.




         How to Remove the Sequential Indicator



         Switchback Turning Light                    Circuit Board Controller                    Disconnect the Yellow Wire                     Stable Signal as OE
         The vland headlights have a row of amber    Open the stabilizer on the bottom of led    Find out the yellow wire with a label and      Done, the headlights will work as OE
         LED which can set up to run as sequential   headlights gently.                          disconnect it.                                 headlights.
         lighting.




                                                                                                           ACC Wiring Harness
                                                                                                            • You need to connect the ACC harness to the fuse box if your Tundra does not currently have the
                                                                                                              OEM LED DRL function. The ACC harness is already included in the headlights package.
                                                                                                            • It has the same connections and wires with the original trucks, replacement for the stock Unit
                                                                                                              directly. Designed to provide trouble-free installation.




                                            Plug&Play              Mounting             Low Beam             Daytime
                                                                   Panels                                    Running
                                                                                                             Light




                                                                                   LED-Chrome                    LED-Black                     LED Projector                  Clear Lens         Smoke Lens

                                                     Turn Signal                   Amber+Seuential                   Amber                     Amber+Seuential                     Red                 Red

                                                         Color                          Chrome                        Black                           Black                      Smoke                Clear

                                                        Full Led                           ✓                            ✓                              ✓                               ✓               ✓

         VLAND LED Headlights Upgrade Your Styling of Vehicle.

         TIPS FOR YOU
         1- Please make sure that led headlights are ﬁrmly installed before driving.

         2- Please make sure that dynamic animation feature of headlights is legal in your State before purchase.

         3- These are Modiﬁed car lamps, please replace the led headlights in a pair.

         4- Mounting panels from stock taillights should be reused.



         Product information

         Technical Details                                                                                                                   Additional Information

              Brand                                                     VLAND                                                                  ASIN                                              B08KGKYL8T

              Color                                                     LED Projector                                                          Customer Reviews                                  3.7                   69 ratings
                                                                                                                                                                                                 3.7 out of 5 stars
              Speciﬁc Uses For Product                                  Head Lights
                                                                                                                                               Best Sellers Rank                                 #540,562 in Automotive (See Top 100 in
              Vehicle Service Type                                      18-20 f150                                                                                                               Automotive)
                                                                                                                                                                                                 #6,371 in Automotive Headlight Assemblies
              Year                                                      2018
                                                                                                                                               Date First Available                              September 30, 2020
              Special Feature                                           Plug and play, Full led, HI/ LO beam with led
                                                                        bulbs, cannot be changed, Black housing
                                                                                                                                             Warranty & Support
              Wattage                                                   42 watts
                                                                                                                                             Amazon.com Return Policy: Amazon.com Voluntary 30-Day Return Guarantee: You can return many
              Auto Part Position                                        Unknown                                                              items you have purchased within 30 days following delivery of the item to you. Our Voluntary 30-Day
                                                                                                                                             Return Guarantee does not aﬀect your legal right of withdrawal in any way. You can ﬁnd out more
              Lens Color                                                Black                                                                about the exceptions and conditions here.
              Lens Material                                             Polycarbonate
                                                                                                                                             Product Warranty: For warranty information about this product, please click here




4 of 8                                                                                                                                                                                                                                             7/3/23, 6:01 AM
Amazon.com: VLAND Projector LED Headlights Compatible with F15...                                                                 https://www.amazon.com/VLAND-Projector-Headlights-Compatible-H...
                     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 155 of 195 Page ID
                                                        #:1190
              Manufacturer                                      VLAND                                                   Feedback

              Item Weight                                       27.4 pounds                                             Would you like to tell us about a lower price?

              Package Dimensions                                23.8 x 19.5 x 18.5 inches

              Manufacturer Part Number                          YAA-F150-2042

              OEM Part Number                                   OEM #: HL3Z-13008-G, HL3Z-13008-J,
                                                                HL3Z-13008-H, HL3Z-13008-K, HL3Z-13008-
                                                                A, HL3Z-13008-L, HL3Z-13008-B,HL3Z-
                                                                13008-M., Partslink #: FO2503335,
                                                                FO2502335, FO2503335, FO2502335,
                                                                FO2519140, FO2518140.

              Special Features                                  Plug and play, Full led, HI/ LO beam with led
                                                                bulbs, cannot be changed, Black housing

              Safety Rating                                     DOT Certified




         Compare with similar items


                                           This item VLAND Projector LED                 ACANII - For [Halogen Model] 2018-2020       AKKON - Fit 2018 2019 2020 Ford F150           VLAND LED Headlight Assembly Fit for
                                           Headlights Compatible with F150 2018          Ford F150 Black Smoked Switchback            [Full LED] Black Halogen Model                 Ford F150 13th Gen 2018-2020, Plug-
                                           2019 2020 (Not Fit A Raptor), No Need         Signal LED Tube Projector Headlights         w/Sequential LED Switchback Signal             and-play, Not for Raptor, Black
                                           Extra Bulbs, Black Housing                    Headlamps, Cyber Black                       Strip Projector Headlights

                                          [ Add to Cart )                               ( Add to Cart l                               ( Add to Cart )                                ( Add to Cart )
           Customer Rating                              (69)                                          (74)                                          (0)                                             (4)

           Price                           $   44099                                     $   39899                                    $   87999                                      $   67999
           Sold By                         VLAND US                                      EJay                                         AKKON                                          VLAND-STORE

           Auto Part Position              Unknown                                       Front                                        Front                                          Front

           Brand Name                      VLAND                                         ACANII                                       AKKON                                          VLAND

           Lens Color                      Black                                         Smoke                                        Clear                                          Clear

           Lens Material                   Polycarbonate                                 —                                            Crystal                                        Abs,Glass

           Light Source                    LED                                           Low Beam H7 / High Beam H1 (Included)        Full-LED Low Beam & High Beam                  LED

           Voltage                         12.00 volts_of_direct_current                 —                                            —                                              —




         Products related to this item
         Sponsored




                     VLAND Projector LED        PZ Headlight Assembly      PZ for Ford F150           M-AUTO OE Style           G-PLUS Headlights             XWQHJW LED Headlight         VLAND Headlights             CHUSYYRAY
                     Headlights Fit for F150    Replacement For Ford       2018-2022 LED              Left+Right Headlights     Compatible With 92-96         Bulbs Compatible For         Assembly Fit for Ford        Replacement For 2015
                     2018 2019 2020 (Not Fit    F-150 2018-2021            high/low beam              Assembly w/PRE-           Bronco/92-96 Ford F150        FORD F150 2015 2016          F-150 13th Gen               2016 2017 2018 2019
                     A Raptor), No N...         Halogen Model…             headlight Assembly…        ASSEMBLED 6000K…          F250 F350 Super Duty...       2017 2018 2019 2020…         2018-2020(Not for…           2020 2021 2022 F150…
                                  2             $375.88                                 10            $391.00                               9                            39                             3
                     $479.99                                               $664.99                                              $89.99                        $49.99 ($5.10/Count)         $679.99                      $69.96


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                      Compatible with 2004-2008 Ford F150 Pickup/               We got some sick Light for your Ford Pickup! Enjoy         #Headlight Assembly# #OEDRO#                                   CNNELL brings your car a more cool appea
                      2006-2008 Lincoln Mark LT                                 the LED Projectors, Switchback Light Tube, LED DRL…                                                                       high appearance value, durability, waterpro
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         Looking for speciﬁc info?
         See questions and answers




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                  Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 156 of 195 Page ID
                                                     #:1191




         Customer reviews                               Reviews with images                                                                           See all photos

                         3.7 out of 5
         69 global ratings

         5 star                                49%

         4 star                                16%

         3 star                                 8%

         2 star                                 7%

         1 star                                21%       Top reviews

         .., How customer reviews and ratings work
                                                        Top reviews from the United States

                                                               David

                                                                      Great looking but failed after 3 weeks -- Update: all is working now --
                                                        Reviewed in the United States on July 7, 2022
                                                        Color: LED Projector Veriﬁed Purchase
                                                        They look great but unfortunately failed after 3 weeks - amber running light on passenger side stopped
                                                        working. Really disappointing considering the time spent doing the install. Sent a message to VLand so
                                                        hopefully will get resolved...

                                                        UPDATE 7/13/22: VLAND reached out and sent me a replacement passenger side light within a few days. I
                                                        haven't had the time to install yet, but I do appreciate the quick customer service. Will update again once I
                                                        have put the new light in.

                                                        UPDATE: 7/22/22: Back down to 1 star. After spending the time to disassemble the and reinstall the
                                                        replacement light, the new passenger side light has the exact same issue as the ﬁrst - the amber running
                                            Sponsored   light not working at all. This leads me to believe its a wiring harness issue but VLAND insists on sending me
                                                        ANOTHER passenger light and not a new harness as I requested - which of course is out of stock so who
                                                        knows when I'll receive it. I'm not pleased about how this has gone and I can't recommend VLAND at all at
                                                        this point.
                                                        V Read more




                                                        3 people found this helpful

                                                            Helpful          Report


                                                               caa

                                                                      Great looks- water in lense after 6 months
                                                        Reviewed in the United States on May 12, 2023
                                                        Color: 18-20 F150(LED+Animation) Veriﬁed Purchase
                                                        These headlights have a great look and have been working great for a few months. I had to program my
                                                        truck with forscan to prevent hyperﬂashing but other than that the headlamps have worked as intended.

                                                        It wasn't until recently the driver side developed water inside. I am waiting for vland to respond to my
                                                        emails and see how they proceed with resolving the issue. I will update when they respond.

                                                        Update: VLAND has sent me a replacement and everything is working as expected. Overall I can't say that I
                                                        recommend these headlamps. After having to use Forscan to prevent hyperﬂashing and then only lasting 6
                                                        months on the truck, I'm a bit disappointed. The overall light output is just okay. For the price of these
                                                        headlamps I would expect a bit better quality overall.




                                                            Helpful          Report


                                                               Hunter

                                                                      A nice upgrade to premium OEM looks without the price tag
                                                        Reviewed in the United States on August 10, 2021
                                                        Color: LED-Black Veriﬁed Purchase
                                                        I'll try to make this review brief and to the point,

                                                        The good:
                                                        These headlights are worth the money. Plain and simple. The light output is good, the ﬁtment is near OEM,
                                                        the looks are almost impossible to distinguishable from OEM. They truly transform the looks of the truck
                                                        and make me happy that I didn't spend thousands extra for a higher end model that came with these lights
                                                        V Read more




6 of 8                                                                                                                                                                  7/3/23, 6:01 AM
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             Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 157 of 195 Page ID
                                                #:1192
                                             but with added features that I didn't care for. Overall it took about 1 1/2 hours to install. The only special
                                             tools you'll need (you still need a few diﬀerent size sockets, etc.) are some cheap body panel removal tools.
                                             Forscan will also be required to disable the bulb outage detection so the hyper ﬂash on the dash will stop,
                                             however externally the turn signals will operate at the normal speed/interval without doing this.

                                             The "just ok":
                                             The wiring harness adapter is decent, however the connectors feel sort of cheap. They all snapped together
                                             with a positive click but I would deﬁnitely use dielectric grease on all connections as I doubt they are
                                             completely weather-proof. I did not have any issues with the lights ﬂickering or other poor connection
                                             2 people found this helpful

                                                 Helpful
                                                               I    Report


                                                    Travis

                                                           Great cosmetic upgrade for my 2019 F-150 Lariat.
                                             Reviewed in the United States on December 17, 2019
                                             Color: LED-Black Veriﬁed Purchase Early Reviewer Rewards (What's this?)
                                             These are mean looking lights. I got these for my 2019 F-150 Lariat Abyss Gray with oem led. They’re plug
                                             and play but come with harnesses if your OEM are halogen. As another reviewer said they look just like the
                                             oem but they’re black where the oem’s have chrome. The other diﬀerence is the daytime running lights
                                             ﬂash yellow when the turn signal is on but the rest of the time they’re white led. I would have given these
                                             ﬁve stars but I just put them in yesterday and also my turn signal indicator on the dash ﬂashes faster. No
                                             error codes though and the signals front and back ﬂash at the normal pace. These are a pain in the neck to
                                             install but it has nothing to do with the lights. It’s just the way these F-150’s are. I’d recommend buying a
                                             panel pulling tool kit because I did and it was worth it. The lights ﬁt perfectly and I did a night time road
                                             test and they’re just as bright as my oem led.




                                             4 people found this helpful


                                             r   Helpful
                                                             l      Report


                                                    David Meneses

                                                           Okay
                                             Reviewed in the United States on September 10, 2022
                                             Color: 18-20 F150(LED+Animation) Veriﬁed Purchase
                                             The lights work when they want to

                                             (   Helpful     )      Report


                                                    angel perez

                                                           Good
                                             Reviewed in the United States on June 15, 2022
                                             Color: LED Projector Veriﬁed Purchase
                                             Good

                                                 Helpful
                                                               I    Report


                                                    Josh

                                                           Very nice
                                             Reviewed in the United States on May 28, 2022
                                             Color: LED Projector Veriﬁed Purchase
                                             To soon to tell

                                                 Helpful
                                                             1      Report



                                             See all reviews




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                        Press Center                             Become a Delivery Driver
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                        Investor Relations                       Start a Package Delivery                                                                     Replacements
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                                                #:1193
                                                                                              English                 United States




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                                             engage customers                                                                         Made Easy

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                        Everything For       Groceries & More      Ship Orders                   Experienced Pros                     Sell your original    Services
                        Your Business        Right To Your         Internationally               Happiness Guarantee                  Digital Educational   Scalable Cloud
                                             Door                                                                                     Resources             Computing
                                                                                                                                                            Services

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                        Audio Performances   Worldwide

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                        Book reviews         Movies, TV            Get Info                      Indie Digital & Print Publishing     Unlimited Photo       Video Distribution
                        & recommendations    & Celebrities         Entertainment                 Made Easy                            Storage               Made Easy
                                                                   Professionals Need                                                 Free With Prime

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                        Designer             Warehouse             America’s Healthiest          Deals and                            Shoes &               Smart Home
                        Fashion Brands       Great Deals on        Grocery Store                 Shenanigans                          Clothing              Security Systems
                                             Quality Used
                                             Products

                        eero WiFi            Blink                 Neighbors App                 Amazon Subscription Boxes            PillPack              Amazon Renewed
                        Stream 4K Video      Smart Security        Real-Time Crime               Top subscription boxes – right to    Pharmacy Simpliﬁed    Like-new products
                        in Every Room        for Every Home        & Safety Alerts               your door                                                  you can trust



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8 of 8                                                                                                                                                                           7/3/23, 6:01 AM
                                               Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 159 of 195 Page ID
                                                                                  #:1194


         VLAND LED Headl ights For Fon X           +                                                                                                                                                                                                       V




f-   ➔     C     G)                            0 8 https://www.vlandus.com/products/vland-full- led-projector-headlights- for- ford-f150-13th-gen - pickup-201 8                          [B    67%     {;J                     ~      ±     @     ~


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HOME     SHOP BY MODELS v           COLLECTIONS        NEW ARRIVAL       FRONT & REAR LIGHTS KIT         SALE     BLOG          ABOUT US                                                                                     ~ English I ~ USO ($) •


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                                 Home     VLAND LED Headlights For Ford Fl SO 13th Gen Pickup 2018 2019 2020 with DRL F-150 aftermarket Front lights Assembly


                                                                                                                                    VLAND LED Headlights For Ford Fl SO 13th Gen
                                                                                                                                    Pickup 2018 2019 2020 with DRL F-150
                                                                                                                                    aftermarket Front lights Assembly
                                                                                                                                    iMMm■ ~ $449.99

                                                                                                                                     Quantity




                                                                                                                                                                            Add to can


                                                                                                                                                                            Buy it now


                                                                                                                                    Share this:

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                                                                                                                                    Fitment:
                                                                                                                                    Fit For For Ford Fl SO 13th Gen Pickup 2018 2019 2020 (NOT For 2018 Raptor)
                                                                                                                                    aftermarket Headlights.

                                                                                                                                    2015-2017 FORD FlS0 HEADLIGHTS (Click)

                                                                                                                                    Item Features:
                                                                                                                                    Color: Full Black
                                                                                                                                    Style: Full LED
                                                                                                                                    High/Low beam: LED Projector
                                                                                                           0. Click to expand
                                                                                                                                    Running Light: LED (white)
                                                                                                                                    Turn Signals: LED (Amber)



                                 ~                                                                                                  The items have the same connections and wires with the original headlights. It is plug


                                                                                                                                                                                                                                               CJil
                                                                                                                                    and play, easy to install still professional installation is recommended.


                                                                                                                                    Package Includes:
                                                     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 160 of 195 Page ID
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              VLAND For Ford F- 150 F150 20 X    I    +                                                                                                                                                                   V



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                             HOME           PRODUCTS             WHOLESALE           ABOUT VLAND           HELP CENTER        COUPONS                                                              Account




                                                                                                                                        VLAND For Ford F-150 FlS0
                                                                                                                                        2018-2020 Black LED
                                                                                                                                           Headlights
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                                                                                                                                        11!1 $579.00 $779.00
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                                             Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 161 of 195 Page ID
                                                                                #:1196


     .}t., VLAND LED Projector Headligh X   I +                                                                                                                                                             V




f-   ➔     C     G)                         0 8 https:/fwww.vland-official.com/collections/ford-headlights/products/vland-led-projector-headlights-for-ford-f150-2c   ~   *            ~    .±,     @   ~



                                 All categories v      What are you looking for?




 Home > Ford headlights > VLAND LED Projector Headlights for Ford FlS0 2018-2020 (Without Sequential Turn Signal)



~                                                                                                                     VLAND LED Projector Headlights for Ford F150
                                                                                                                      2018-2020 (Without Sequential Turn Signal)
~                                                                                                                     ****t 22 reviews
                                                                                                                      iMJMmi S499.99 $449.99
                                                                                                                      SKU YAA-F150-2042A-Pr-P01


                                                                                                                        Quantity
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                      2018-2020 Ford F150 Viand LE X    ]       +                                                                                                                                                                            V



    f-            ➔    C     G                              0 8 https://vlandshop.com/product/2018-2020-ford-f150-vland-led-dual-beam-projector-headlights-black/                                                        8   ±   @     tl
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                                                                                                                                          Home / FORD / Ford FlSO / Viand FlSO Headlights /



                                                                                                                                          18-20 Ford F150 13th Gen
                                                                                                                                          Facelifted Viand (II} LED
                                                                                                                                          Dual Beam Projector
                                                                                                                                          Headlights Black
                                                                                                                                          ****                 ( 18 reviews)


                                                                                                                                          $499.99

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                                                                                                                                          • Direct OEM Fitment - VLAND LED headlights assembly for
                                                                                                                                               FORD FlSO 2018 2019 2020. Designed as a perfect
                                                                                                                                               replacement for your OE lights, they install the same way
                                                                                                                                                                                                                                        0
                                                     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 163 of 195 Page ID
                                                                                        #:1198


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                                                   Home     VLAND Full LED Projector Headlights For Ford F150 13th Gen Pickup 2018 2019 2020


                                                                                                                                                                                             Style
                                                                                                                         VLAND Full LED Projector Headlights For
                                                                                                                         Ford F150 13th Gen Pickup 2018 2019                                   LED Projector


                                                                                                                         2020
                                                                                                                                                                                              Quantity
                                                                                                                                                                                              1
                                                                                                                         $443.99 USD



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                                                                                                                                                                                                               Add to cart



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                                                                                                                            Partnership


                                                                                                                           Fitment:                                                                  Checkout securely with
                                                                                                                           Fit for Ford F150 2018 2019 2020 (Does not fit 2017-2020 Ford
                                                                                                                           F-150 Raptor)                                                                   V ISA PayPal


                                                                                                       ~
                                                                                                  El. Click to expand
                                                                                                                           Certification: DOT

                                                                                                                           Manufacturer Part Number:                                         Share this:

                                                                                                                           YAA-F150-2042A                                                    0 0 0 0
                                                                                                                           Item Features:

                                                                                                                           Lens Color: Smoked

                                                                                                                           Housing Color: Black

                                                                                                                           Running Light: LED (Diamond White)

                                                                                                                           Brake Light: LED (Diamond White)

                                                                                                                           Turn Signals: LED (Amber. Without Sequential Indicators)

                                                                                                                           Low/High Beam: Full LED, no need bulbs.

                                                                                                                           Package includes:

                                                                                                                           1 pair of headlights with left side & right side.

                                                                                                                           OEM Part Number:

                                                                                                                           KL3Z13008D, JL3Z13008E, JL3Z13008T, JL3Z13008Z,
                                                                                                                           JL3Z13008AD, KL3Z13008C, JL3Z13008C, JL3Z130085,
                                                                                                                           JL3Z13008Y, JL3Z13008AC. F02502372, F02503372                                                                              Chat with us


=== USO     V
                                             Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 164 of 195 Page ID
                                                                                #:1199


      Thank you, Cory! - VLAND Factory   X   +                                                                                                                                                                                                                                V




·~    ➔       C G                            0 8     o~ https://vlandfactory.com/'1,9735682728/orders/fe6b27e865d74 bc3d4 4642139cc01ff,                                                                                                    67%    *   ~      ±      @    ~



                                                        VLAND Factory                                                                                                                           VLAND Full LED Projector Headlights
                                                                                                                                                                                                For Ford F150 13th Gen Pickup 2018
                                                                                                                                                                                                2019 2020
                                                                                                                                                                                                                                        $4GS9


                                                 0
                                                        Order P03 - 3796                                                                                                                        LED Projector
                                                                                                                                                                                                                                        $421 .80
                                                        Thank you, Cory!                                                                                                                        • VLAND JUN SALES (CAN'T
                                                        //Include your GA4 measurement ID                                                                                                       COMBINE WITH OTHER DISCOUNTS.)
                                                                                                                                                                                                (-$22.19)


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                                                             Your order is confirmed
                                                             We've accepted your order, and we' re getting it ready. Come back to this page for
                                                             updates on your shipment status.


                                                             SISH_FEDEX_GROUND_D tracking number:
                                                             780617823582




                                                             Order details

                                                             Contact information                                        Payment method
                                                             eagle996@gmail.com                                            f      Express - $421.80

                                                             Shipping address                                           Billing address
                                                             Cory Qui                                                   Cory Qui
                                                             16751 Noyes Ave,                                           16751 Noyes Ave,
                                                             Irvine CA 92606                                            Irvine CA 92606
                                                             United States                                              United States
                                                             (714) 932-6659                                             (714) 932-6659

                                                             Shipping method

                                                             Expedited




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Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 165 of 195 Page ID
                                   #:1200




                       EXHIBIT 3
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 166 of 195 Page ID
                                   #:1201                  CERTIFIED COPY
                                         UNITED STATES DISTRICT COURT

                                        CENTRAL DISTRICT OF CALIFORNIA



         ZHEJIANG YUANZHENG AUTO &
         MOTORCYCLE ACCESSORIES CO.,
         LTD.,

                                            Plaintiff,
                                                                          CASE NO.
                                  vs.                                     2:22-cv-01692-JWH-PD

         AREX INDUSTRIES, INC.,

                          Defendants.
         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~




                                                         CONFIDENTIAL

                                              DEPOSITION OF JIE YANG

                                                         May 30, 2023




         Michelle L. Wade, CSR-12861
         982500                                                                                            IBARKLEY I
        SINCE   13),,.                                                                                    I Court R : porter s I
        1972    ~                                                                                               barkley.com

         (310) 207-8000 Los Angeles      (415) 433-5777 San Francisco    (949) 955-0400 Irvine         (858) 455-5444 San Diego
         (310) 207-8000 Century City     (408) 885-0550 San Jose         (760) 322-2240 Palm Springs   (800) 222-1231 Carlsbad
         (916) 922-5777 Sacramento       (800) 222-1231 Martinez         (702) 366-0500 Las Vegas      (800) 222-1231 Monterey
         (951) 686-0606 Riverside        (818) 702-0202 Woodland Hills   (702) 366-0500 Henderson      (516) 277-9494 Garden City
         (212) 808-8500 New York City    (347) 821-4611 Brooklyn         (518) 490-1910 Albany         (914) 510-9110 White Plains
         (312) 379-5566 Chicago          00+1+800 222 1231 Paris         00+1+800 2221231 Dubai        001 +1+800 222 1231 Hong Kong
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 167 of 195 Page ID
                                   #:1202

     1                     UNITED STATES DISTRICT COURT

     2                    CENTRAL DISTRICT OF CALIFORNIA

     3

     4   ZHEJIANG YUANZHENG AUTO &
         MOTORCYCLE ACCESSORIES CO.,
     5   LTD.,

     6                       Plaintiff,
                                                CASE NO.
     7                 vs.                      2:22-cv-01692-JWH-PD

     8   AREX INDUSTRIES, INC.,

     9                    Defendants.
         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    10

    11

    12                               CONFIDENTIAL

    13
                                REMOTE DEPOSITION OF
    14
                                       JIE YANG
    15

    16
                               Tuesday, May 30, 2023
    17
                                      10:03 a.m.
    18

    19
                                  Remote via Zoom
    20

    21

    22
         Magna Legal Services
    23   866-624-6221
         www.MagnaLS.com
    24   Reported by: Michelle L. Wade, CSR-12861

    25



                                            1

                                 JIE YANG - CONFIDENTIAL
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                                   #:1203

     1                         APPEARANCES OF COUNSEL

     2

     3   For the Plaintiff:

     4         GLACIER LAW LLP
               BY: TIANYU JU, ESQ.
     5         BY: WEI WANG, ESQ.
               251 South Lake Avenue, Suite 910
     6         Pasadena, California 91101
               312.448.7772
     7         312.801.4587 Fax
               iris.ju@glacier.law
     8         wei.want@glacier.law

     9
         For the Defendant:
    10
               INHOUSE CO LAW FIRM
    11         BY: ALEXANDER CHEN, ESQ.
               7700 Irvine Center Drive, Suite 800
    12         Irvine, California 92618
               408.918.5393
    13         714.882.7770 Fax
               ss@inhouseco.com
    14

    15   For the Deponent:

    16         MCCABE & ALI, LLP
               BY: EMIL J. ALI, ESQ.
    17         13337 South Street, Suite 555
               Cerritos, California 90703
    18         310.596.1234
               310.649.7890 Fax
    19         emil@mccabeali.com

    20

    21

    22

    23

    24

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                                            2

                                 JIE YANG - CONFIDENTIAL
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 169 of 195 Page ID
                                   #:1204

     1         Q     And when you said that you have no

     2   practitioner-client relationship with anyone concerning

     3   this application, can you state to me what that means?

     4         A     That means I did not have a practitioner-client

     5   relationship with ZYA or anyone else concerning this

     6   application.

     7         Q     By "ZYA," do you mean the applicant of this

     8   particular application?

     9         A     Yeah, shorthand for the plaintiff.

    10         Q     I understand.     And do you have any relationship

    11   with the -- is it also your position that you do not have

    12   a client-practitioner relationship with regard to

    13   Mr. Yuanzheng, the inventor of this application?

    14               MR. ALI:    Objection.      Lacks foundation, vague.

    15   You haven't established anything about the application.

    16   BY MR. CHEN:

    17         Q     You can go ahead and answer if you understand.

    18         A     I do not have any practitioner-client

    19   relationship with the inventor.          What's his name again?

    20         Q     That's okay.     You answered my question.       You do

    21   not have any practitioner relationship -- relationship

    22   with the inventor, as well as the applicant, correct?

    23         A     That's correct.

    24         Q     Do you have any reasons why this application

    25   was submitted using your name as a practitioner?



                                            16

                                 JIE YANG - CONFIDENTIAL
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 170 of 195 Page ID
                                   #:1205

     1   and transmit what is now -- I would ask marked --

     2   Madam Court Reporter to go ahead and mark this Exhibit

     3   Number 7 and by way of sharing the screen, I will

     4   represent to you Exhibit 7 is a Design Patent Application

     5   transmittal referring to first name of inventor, Yu Chen,

     6   of this particular patent at issue, and I want to go

     7   ahead and ask you to go and look to the bottom.

     8               (Defendant's Exhibit 7 was marked for

     9               identification by the court reporter.)

    10   BY MR. CHEN:

    11         Q     There is signature, signature number --

    12   signature is Jie Yang.       The name is also Jie Yang and the

    13   registration number of this particular attorney or agent,

    14   77665.

    15               Now my question for you is, is your

    16   registration number at USPTO 77665?

    17         A     Yes, that's my number.

    18         Q     Are you familiar with this document at all?

    19         A     No.

    20         Q     Is this not your signature, ma'am?

    21         A     I did not sign it.

    22         Q     You have any knowledge or reason to understand

    23   why your signature is affixed to this particular

    24   transmittal?

    25               MR. ALI:    Objection.      Calls for speculation.



                                            45

                                 JIE YANG - CONFIDENTIAL
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 171 of 195 Page ID
                                   #:1206

     1   BY MR. CHEN:

     2         Q     You can answer.

     3         A     I don't know how it got on there.

     4         Q     Did you get compensated at all in relation to

     5   this prosecution of this particular application?

     6         A     I didn't say I got compensated for prosecution

     7   of this patent.

     8         Q     No.    My question is, did you get compensated at

     9   all with relation to the prosecution of this application?

    10         A     No.

    11               MR. CHEN:    I'm going to stop sharing and go

    12   ahead and now transmit Exhibit Number 8.           Go ahead,

    13   Madam Court Reporter, go and mark this as Exhibit 8.

    14               (Defendant's Exhibit 8 was marked for

    15               identification by the court reporter.)

    16   BY MR. CHEN:

    17         Q     I'll go ahead and open this.          Share the screen.

    18   I will represent to you that this is an electronic

    19   acknowledgement of receipt of this particular application

    20   when it was filed.      I want to go ahead and point you to

    21   the middle of the particular page.         It states the filer

    22   as Jie Yang, J-i-e, Y-a-n-g.        Do you see your name there,

    23   ma'am?

    24         A     Yes.    Sorry.    I had trouble.

    25         Q     No worries.      And do you -- have you ever seen



                                            46

                                 JIE YANG - CONFIDENTIAL
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 172 of 195 Page ID
                                   #:1207

     1   is the Information Disclosure Statement allegedly or

     2   supposedly filed in connection with the request for

     3   expedited service or expedited examination.           This is a

     4   four pager.     At the bottom of Page 3 a practitioner is

     5   required to sign.      I see the signature of Jie Yang, dated

     6   2020, August 19th, registration number 77665.           To the

     7   extent I understand 77665 is you, do you recognize your

     8   signature here?

     9         A     I did not sign it.

    10         Q     Did you authorize anyone to sign on behalf of

    11   you to this Information Disclosure Statement?

    12         A     No.

    13         Q     Did you get compensated in any way in

    14   connection to the -- placing your signature with

    15   request -- with regard to this Information Disclosure

    16   Statement?

    17         A     No.

    18         Q     Did you perform any work at all in relation to

    19   preparing either in this form or perform a search in

    20   connection to the results affixed here in this form for

    21   this prosecution of this application?

    22         A     No.

    23         Q     I'm going to ask you to go ahead and review

    24   Page 1.    Page 1 lists three prior arts.         Number one is

    25   D597689.    Number two is D593233.       Number three is D5- --



                                            52

                                 JIE YANG - CONFIDENTIAL
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 173 of 195 Page ID
                                   #:1208

     1               identification by the court reporter.)

     2   BY MR. CHEN:

     3         Q     Have you ever seen this document before?

     4         A     Not before the subpoena.

     5               MR. CHEN:    Go ahead and look at Exhibit 15.        I

     6   just sent -- Madam Court Reporter, please go ahead and

     7   mark as Exhibit 15.      This -- I will represent to you this

     8   is the fees transmittal.       This was a fees transmittal

     9   that was submitted to the USPTO in connection to the

    10   prosecution of this particular application.

    11               (Defendant's Exhibit 15 was marked for

    12               identification by the court reporter.)

    13   BY MR. CHEN:

    14         Q     Towards the bottom I will ask you to

    15   carefully -- look -- it states the authorized signature

    16   is Jie Yang, dated June 21st, 2021.         The prosecutioner's

    17   name is Jie Yang, registration number 77665.           To the

    18   extent you testified that this is you, do you recognize

    19   the signature here?

    20         A     I did not sign it.

    21         Q     Did you give authorization to anyone anywhere

    22   involved in the prosecution of this application?

    23         A     No.

    24         Q     Did you give any authorization to anyone who

    25   signed on your behalf for this notice of allowance?



                                            55

                                 JIE YANG - CONFIDENTIAL
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 174 of 195 Page ID
                                   #:1209

     1   application on your behalf?

     2               MR. ALI:    Objection.      Vague.    Is there a

     3   specific application?

     4               MS. JU:    All the applications I just introduced

     5   associated with W&K and HYIP.

     6               MR. ALI:    Objection.      Vague.    Can you specify

     7   the exhibit numbers you're talking about?

     8               MS. JU:    The exhibit number from Exhibit B to

     9   Exhibit -- Exhibit B to Exhibit R.

    10               MR. CHEN:    What was the question again?

    11   BY MS. JU:

    12         Q     Have you authorized your friend, Mr. Wang, to

    13   file any patent applications on your behalf?

    14               MR. CHEN:    In connection to Exhibit B and (sic)

    15   R?

    16   BY MS. JU:

    17         Q     Yes.

    18         A     I did not authorize Mr. Wang to file these

    19   applications.

    20         Q     To the best of your knowledge, have you

    21   authorized Mr. Wang to file any patent application

    22   besides these?

    23               MR. CHEN:    Objection.      Privacy and relevance.

    24               You can answer if you want.

    25               MR. ALI:    And also objection to potential



                                            89

                                 JIE YANG - CONFIDENTIAL
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                                   #:1210




                       EXHIBIT 4
Amazon.com: VLAND Projector LED Headlights Compatible with F15...                                                                          https://www.amazon.com/VLAND-Projector-Headlights-Compatible-H...
                   Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 176 of 195 Page ID
                                                      #:1211
         Skip to main content Deliver to Anna                Automotive Parts …
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                              Coto De Caza 92679                                                                                                                                            EN       Account & Lists             & Orders


            All    Clinic     Same-Day Delivery     Amazon Basics       Pharmacy    Groceries     Buy Again    Amazon Business          Livestreams     Health & Household     Beauty & Personal Care                  Save up to 30% on grocery

          Automotive         Your Garage   Deals & Rebates   Best Sellers   Parts   Accessories    Tools & Equipment       Car Care     Motorcycle & Powersports   Truck      RV    Tires & Wheels      Vehicle Showroom           Amazon Business




         ‹ Back to results                                                                                                                                                                                                                   Sponsored




         [ amazonconf1rmedf1t | Make sure this ﬁts

                                                                                                                   VLAND Projector LED Headlights                                                       Buy new:

                                                                                                                   Compatible with F150 2018 2019 2020                                                  $
                                                                                                                                                                                                            44099
                                                                                                                   (Not Fit A Raptor), No Need Extra Bulbs,
                                                                                                                   Black Housing                                                                        FREE Returns

                                                                                                                   Visit the VLAND Store                                                                FREE delivery Friday, July 7.
                                                                                                                   3.7                   69 ratings | 32 answered questions                             Order within 14 hrs 14 mins


                                                                                                                       44099
                                                                                                                   $                                                                                          Deliver to Anna - Coto De Caza
                                                                                                                                                                                                              92679

                                                                                                                                                                                                        Only 9 left in stock - order
                                                                                                                   FREE Returns                                                                         soon
                                                                                                                   May be available at a lower price from other sellers, potentially without
                                                                                                                                                                                                            Qty: 1
                                                                                                                   free Prime shipping.

                                                                                                                       Color: LED Projector                                                                              Add to Cart

                                                                                                                                                  $440.99
                                                                                                                              $709.99                               $679.99                                                Buy Now

                                                                                                                                                                                                        Payment          Secure transaction
                                                                                                                              $679.99                                                                   Ships from Amazon
                                                                                                                                                                                                        Sold by          VLAND US
                                                                                                                                                                                                        Returns          Eligible for Return,
                                                                                                                   Purchase options and add-ons                                                                          Refund or Replacement
                                                                                                                                                                                                                         within 30 days of receipt

                                                                                                                   Payment plans                                                                        Packaging
                                                                                                                                                                                                          See more Shows what's inside
                                                     Roll over image to zoom in
                                                                                                                   From $73.50/mo (6 mo) with 0% APR                                                     D Add a gift receipt for easy
                                                                                                                                                                                                              returns

                                                                                                                             Light Source Type                     Voltage
                                                                                                                             LED                                   12 Volts (DC)
                                                                                                                                                                                                        Save with Used - Like New
                                                                                                                                                                                                        $   34629
                                                                                                                   Brand                VLAND                                                           FREE delivery: Sunday, July 9
                                                                                                                   Color                LED Projector                                                   Ships from: Amazon
                                                                                                                                                                                                        Sold by: Amazon Warehouse
                                                                                                                   Speciﬁc Uses         Head Lights
                                                                                                                   For Product
                                                                                                                   Vehicle Service 18-20 f150
                                                                                                                   Type                                                                               Add to List

                                                                                                                   Year                 2018
                                                                                                                   Special Feature Plug and play, Full led, HI/ LO beam with led bulbs,                 Buy it on Amazon Business
                                                                                                                   V See more
                                                                                                                                   cannot be changed, Black housing
                                                                                                                                                                                                        Save up to 5% on this product
                                                                                                                                                                                                        with business-only pricing.
                                                                                                                   About this item
                                                                                                                       • 💡 OEM Direct Fitment - Replacement for 17-20 Ford f150( NOT Fit a                           Create a free account
                                                                                                                         Raptor). New look designed to be an exact replacement for your
                                                                                                                         factory Head lamps with no vehicle modiﬁcations required for
                                                                                                                         getting the job done right.
                                                                                                                                                                                                        New & Used (2) from
                                                                                                                       • 💡 Dash Flashes Faster - It's Normal the turn signal indicator on the           $
                                                                                                                                                                                                          34629 Prime FREE Delivery
                                                                                                                         dash ﬂashes faster after install these vland led headlight assembly.
                                                                                                                         No error codes and the signals front and back will ﬂash at the normal
                                                                                                                         pace. It’s just the way these F-150’s are for some models such as
                                                                                                                         F-150 Lariat Abyss Gray with oem led.
                                                                                                                       • 💡 NOTE- Any question please feel free to message us! Please keep
                                                                                                                         all boxes labels and user manuals when you receive the package. In
                                                                                                                         the event merchandise is damaged, becomes defective or needs to be
                                                                                                                         returned, please message us and provide the product label, video&
                                                                                                                         pictures proof, make sure the pictures& video clearly shows the
                                                                                                                         defect.
                                                                                                                       • 💡 SAE/ DOT Certiﬁed - Approved by the SAE. Meet and exceed DOT
                                                                                                                         regulations and compliant with FMVSS 108. Thoroughly tested to
                                                                                                                         meet all federal quality and international standards and are fully
                                                                                                                         street legal.
                                                                                                                       • 💡 Interchange Part Info - OEM #: HL3Z-13008-G, HL3Z-13008-J,                                                      Sponsored
                                                                                                                         HL3Z-13008-H, HL3Z-13008-K, HL3Z-13008-A, HL3Z-13008-L,
                                                                                                                         HL3Z-13008-B,HL3Z-13008-M. Partslink #: FO2503335, FO2502335,
                                                                                                                         FO2503335, FO2502335, FO2519140, FO2518140.
                                                                                                                       • 💡 Custom Fiber Ptic LED Display - This type of head light is full led
                                                                                                                         light bars, no need any bulb, the led is built-in, cannot be
                                                                                                                         replaced.Ultra-modern ﬁber optic style to give a touch of high-end
                                                                                                                         elegance to the appearance of your vehicle making it stand out from
                                                                                                                         the rest.
                                                                                                                       › See more product details

                                                                                                                           Report incorrect product information.




1 of 8                                                                                                                                                                                                                                                     7/3/23, 6:01 AM
Am.azoo.com: VI.AND Projoctor LEO Headlights Compatibk. with Fl 5...                                             bttps:l/www.amazon.comNLAND•Projector HeadJigbts-Compatib1e--H ...   4




                Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 177 of 195 Page ID
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         From U'I♦ brand




2of8                                                                                                                                                                                            7/3123. 6:01 AM
Amazon.com: VLAND Projector LED Headlights Compatible with F15...                                                                                      https://www.amazon.com/VLAND-Projector-Headlights-Compatible-H...
                   Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 178 of 195 Page ID
                                                      #:1213




                                                                                                   VLAND is the leading manufacturer that
                                                                                                   specialized on the design and manufacturing
                                                                                                   modiﬁed car accessories. With a wide range of
                                                                                                   backgrounds from business management,
                                                                                                   technology, buyer experience and automotive
                                                                                                   modify service sectors.

                                                                                                   Welcome people from all walks of life to join the
                                                                                                   expedition to share the great wealth created by
                                                                                                   the high development and deep potential
                                                                                                   restructured car lights.




         Product Description



                                                                                                                                                                                                                 VLAND Led Headlights for
                                                                                                                                                                                                                 F150 2018 2019 2020 (Not
                                                                                                                                                                                                                 Fit A Raptor)
                                                                                                                                                                                                                 Sequential Turn Signal

                                                                                                                                                                                                                 Full Led, No Need Extra Bulbs

                                                                                                                                                                                                                 Black Housing




         Message us when you meet any questions
         Please keep all boxes labels and user manuals when you receive the package. In the event merchandise is damaged, becomes defective or needs to be returned, please message us and provide the product label, video& pictures proof, make sure the pictures&
         video clearly shows the defect.


             • Certiﬁcation: DOT.
             • Operating voltage: 12V 35~42W.
             • Housing Color: Black/ Chrome
             • Style: OE/ Led Projector



         Functions& Feature
         Daytime Running Light, Switchback Turn Signal, High Beam and Low Beam
         TIPS FOR YOU

         1- Please make sure that led headlights are ﬁrmly installed before driving.

         2- Please make sure that sequential feature of headlights is legal in your State before purchase.

         3- These are Modiﬁed car lamps, please replace the led headlights in a pair.

         4- Mounting panels from stock taillights should be reused.

         Contain

         2 x Led headlights including left and right sides

         2 x DELUXE to GENERAL adapters

         1 x ACC cable

         1 x User manual




         Replacement for the following Vehicles,
         2018 2019 2020 F150 Pickup Trucks( Not for Raptor)

         • F-150 Limited Crew Cab Pickup 4-Door
         • F-150 SSV Crew/ Extended Cab Pickup 4-Door
         • F-150 Lariat Crew/ Extended Cab Pickup 4-Door
         • F-150 Police Responder Crew Cab Pickup 4-Door
         • F-150 XL Crew/Extended Cab Pickup 4-Door
         • F-150 XL/ XLT Standard Cab Pickup 2-Door
         • F-150 XLT Crew/ Extended Cab Pickup 4-Door
         • F-150 King Ranch Crew Cab Pickup 4-Door
         • F-150 Platinum Crew Cab Pickup 4-Door

         Interchange Part Info,




3 of 8                                                                                                                                                                                                                                                                 7/3/23, 6:01 AM
Amazon.com: VLAND Projector LED Headlights Compatible with F15...                                                                                     https://www.amazon.com/VLAND-Projector-Headlights-Compatible-H...
                  Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 179 of 195 Page ID
                                                     #:1214
             • Partslink #: FO2503335, FO2502335, FO2503335, FO2502335, FO2519140, FO2518140.
             • OEM #: HL3Z-13008-G, HL3Z-13008-J, HL3Z-13008-H, HL3Z-13008-K, HL3Z-13008-A, HL3Z-13008-L,
             • HL3Z-13008-B,HL3Z-13008-M.




         How to Remove the Sequential Indicator



         Switchback Turning Light                    Circuit Board Controller                    Disconnect the Yellow Wire                     Stable Signal as OE
         The vland headlights have a row of amber    Open the stabilizer on the bottom of led    Find out the yellow wire with a label and      Done, the headlights will work as OE
         LED which can set up to run as sequential   headlights gently.                          disconnect it.                                 headlights.
         lighting.




                                                                                                           ACC Wiring Harness
                                                                                                            • You need to connect the ACC harness to the fuse box if your Tundra does not currently have the
                                                                                                              OEM LED DRL function. The ACC harness is already included in the headlights package.
                                                                                                            • It has the same connections and wires with the original trucks, replacement for the stock Unit
                                                                                                              directly. Designed to provide trouble-free installation.




                                            Plug&Play              Mounting             Low Beam             Daytime
                                                                   Panels                                    Running
                                                                                                             Light




                                                                                   LED-Chrome                    LED-Black                     LED Projector                  Clear Lens         Smoke Lens

                                                     Turn Signal                   Amber+Seuential                   Amber                     Amber+Seuential                     Red                 Red

                                                         Color                          Chrome                        Black                           Black                      Smoke                Clear

                                                        Full Led                           ✓                            ✓                              ✓                               ✓               ✓

         VLAND LED Headlights Upgrade Your Styling of Vehicle.

         TIPS FOR YOU
         1- Please make sure that led headlights are ﬁrmly installed before driving.

         2- Please make sure that dynamic animation feature of headlights is legal in your State before purchase.

         3- These are Modiﬁed car lamps, please replace the led headlights in a pair.

         4- Mounting panels from stock taillights should be reused.



         Product information

         Technical Details                                                                                                                   Additional Information

              Brand                                                     VLAND                                                                  ASIN                                              B08KGKYL8T

              Color                                                     LED Projector                                                          Customer Reviews                                  3.7                   69 ratings
                                                                                                                                                                                                 3.7 out of 5 stars
              Speciﬁc Uses For Product                                  Head Lights
                                                                                                                                               Best Sellers Rank                                 #540,562 in Automotive (See Top 100 in
              Vehicle Service Type                                      18-20 f150                                                                                                               Automotive)
                                                                                                                                                                                                 #6,371 in Automotive Headlight Assemblies
              Year                                                      2018
                                                                                                                                               Date First Available                              September 30, 2020
              Special Feature                                           Plug and play, Full led, HI/ LO beam with led
                                                                        bulbs, cannot be changed, Black housing
                                                                                                                                             Warranty & Support
              Wattage                                                   42 watts
                                                                                                                                             Amazon.com Return Policy: Amazon.com Voluntary 30-Day Return Guarantee: You can return many
              Auto Part Position                                        Unknown                                                              items you have purchased within 30 days following delivery of the item to you. Our Voluntary 30-Day
                                                                                                                                             Return Guarantee does not aﬀect your legal right of withdrawal in any way. You can ﬁnd out more
              Lens Color                                                Black                                                                about the exceptions and conditions here.
              Lens Material                                             Polycarbonate
                                                                                                                                             Product Warranty: For warranty information about this product, please click here




4 of 8                                                                                                                                                                                                                                             7/3/23, 6:01 AM
Amazon.com: VLAND Projector LED Headlights Compatible with F15...                                                                 https://www.amazon.com/VLAND-Projector-Headlights-Compatible-H...
                     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 180 of 195 Page ID
                                                        #:1215
              Manufacturer                                      VLAND                                                   Feedback

              Item Weight                                       27.4 pounds                                             Would you like to tell us about a lower price?

              Package Dimensions                                23.8 x 19.5 x 18.5 inches

              Manufacturer Part Number                          YAA-F150-2042

              OEM Part Number                                   OEM #: HL3Z-13008-G, HL3Z-13008-J,
                                                                HL3Z-13008-H, HL3Z-13008-K, HL3Z-13008-
                                                                A, HL3Z-13008-L, HL3Z-13008-B,HL3Z-
                                                                13008-M., Partslink #: FO2503335,
                                                                FO2502335, FO2503335, FO2502335,
                                                                FO2519140, FO2518140.

              Special Features                                  Plug and play, Full led, HI/ LO beam with led
                                                                bulbs, cannot be changed, Black housing

              Safety Rating                                     DOT Certified




         Compare with similar items


                                           This item VLAND Projector LED                 ACANII - For [Halogen Model] 2018-2020       AKKON - Fit 2018 2019 2020 Ford F150           VLAND LED Headlight Assembly Fit for
                                           Headlights Compatible with F150 2018          Ford F150 Black Smoked Switchback            [Full LED] Black Halogen Model                 Ford F150 13th Gen 2018-2020, Plug-
                                           2019 2020 (Not Fit A Raptor), No Need         Signal LED Tube Projector Headlights         w/Sequential LED Switchback Signal             and-play, Not for Raptor, Black
                                           Extra Bulbs, Black Housing                    Headlamps, Cyber Black                       Strip Projector Headlights

                                          [ Add to Cart )                               ( Add to Cart l                               ( Add to Cart )                                ( Add to Cart )
           Customer Rating                              (69)                                          (74)                                          (0)                                             (4)

           Price                           $   44099                                     $   39899                                    $   87999                                      $   67999
           Sold By                         VLAND US                                      EJay                                         AKKON                                          VLAND-STORE

           Auto Part Position              Unknown                                       Front                                        Front                                          Front

           Brand Name                      VLAND                                         ACANII                                       AKKON                                          VLAND

           Lens Color                      Black                                         Smoke                                        Clear                                          Clear

           Lens Material                   Polycarbonate                                 —                                            Crystal                                        Abs,Glass

           Light Source                    LED                                           Low Beam H7 / High Beam H1 (Included)        Full-LED Low Beam & High Beam                  LED

           Voltage                         12.00 volts_of_direct_current                 —                                            —                                              —




         Products related to this item
         Sponsored




                     VLAND Projector LED        PZ Headlight Assembly      PZ for Ford F150           M-AUTO OE Style           G-PLUS Headlights             XWQHJW LED Headlight         VLAND Headlights             CHUSYYRAY
                     Headlights Fit for F150    Replacement For Ford       2018-2022 LED              Left+Right Headlights     Compatible With 92-96         Bulbs Compatible For         Assembly Fit for Ford        Replacement For 2015
                     2018 2019 2020 (Not Fit    F-150 2018-2021            high/low beam              Assembly w/PRE-           Bronco/92-96 Ford F150        FORD F150 2015 2016          F-150 13th Gen               2016 2017 2018 2019
                     A Raptor), No N...         Halogen Model…             headlight Assembly…        ASSEMBLED 6000K…          F250 F350 Super Duty...       2017 2018 2019 2020…         2018-2020(Not for…           2020 2021 2022 F150…
                                  2             $375.88                                 10            $391.00                               9                            39                             3
                     $479.99                                               $664.99                                              $89.99                        $49.99 ($5.10/Count)         $679.99                      $69.96


            Related Posts

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                      Compatible with 2004-2008 Ford F150 Pickup/               We got some sick Light for your Ford Pickup! Enjoy         #Headlight Assembly# #OEDRO#                                   CNNELL brings your car a more cool appea
                      2006-2008 Lincoln Mark LT                                 the LED Projectors, Switchback Light Tube, LED DRL…                                                                       high appearance value, durability, waterpro
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         Looking for speciﬁc info?
         See questions and answers




5 of 8                                                                                                                                                                                                                                  7/3/23, 6:01 AM
Amazon.com: VLAND Projector LED Headlights Compatible with F15...                                              https://www.amazon.com/VLAND-Projector-Headlights-Compatible-H...
                  Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 181 of 195 Page ID
                                                     #:1216




         Customer reviews                               Reviews with images                                                                           See all photos

                         3.7 out of 5
         69 global ratings

         5 star                                49%

         4 star                                16%

         3 star                                 8%

         2 star                                 7%

         1 star                                21%       Top reviews

         .., How customer reviews and ratings work
                                                        Top reviews from the United States

                                                               David

                                                                      Great looking but failed after 3 weeks -- Update: all is working now --
                                                        Reviewed in the United States on July 7, 2022
                                                        Color: LED Projector Veriﬁed Purchase
                                                        They look great but unfortunately failed after 3 weeks - amber running light on passenger side stopped
                                                        working. Really disappointing considering the time spent doing the install. Sent a message to VLand so
                                                        hopefully will get resolved...

                                                        UPDATE 7/13/22: VLAND reached out and sent me a replacement passenger side light within a few days. I
                                                        haven't had the time to install yet, but I do appreciate the quick customer service. Will update again once I
                                                        have put the new light in.

                                                        UPDATE: 7/22/22: Back down to 1 star. After spending the time to disassemble the and reinstall the
                                                        replacement light, the new passenger side light has the exact same issue as the ﬁrst - the amber running
                                            Sponsored   light not working at all. This leads me to believe its a wiring harness issue but VLAND insists on sending me
                                                        ANOTHER passenger light and not a new harness as I requested - which of course is out of stock so who
                                                        knows when I'll receive it. I'm not pleased about how this has gone and I can't recommend VLAND at all at
                                                        this point.
                                                        V Read more




                                                        3 people found this helpful

                                                            Helpful          Report


                                                               caa

                                                                      Great looks- water in lense after 6 months
                                                        Reviewed in the United States on May 12, 2023
                                                        Color: 18-20 F150(LED+Animation) Veriﬁed Purchase
                                                        These headlights have a great look and have been working great for a few months. I had to program my
                                                        truck with forscan to prevent hyperﬂashing but other than that the headlamps have worked as intended.

                                                        It wasn't until recently the driver side developed water inside. I am waiting for vland to respond to my
                                                        emails and see how they proceed with resolving the issue. I will update when they respond.

                                                        Update: VLAND has sent me a replacement and everything is working as expected. Overall I can't say that I
                                                        recommend these headlamps. After having to use Forscan to prevent hyperﬂashing and then only lasting 6
                                                        months on the truck, I'm a bit disappointed. The overall light output is just okay. For the price of these
                                                        headlamps I would expect a bit better quality overall.




                                                            Helpful          Report


                                                               Hunter

                                                                      A nice upgrade to premium OEM looks without the price tag
                                                        Reviewed in the United States on August 10, 2021
                                                        Color: LED-Black Veriﬁed Purchase
                                                        I'll try to make this review brief and to the point,

                                                        The good:
                                                        These headlights are worth the money. Plain and simple. The light output is good, the ﬁtment is near OEM,
                                                        the looks are almost impossible to distinguishable from OEM. They truly transform the looks of the truck
                                                        and make me happy that I didn't spend thousands extra for a higher end model that came with these lights
                                                        V Read more




6 of 8                                                                                                                                                                  7/3/23, 6:01 AM
Amazon.com: VLAND Projector LED Headlights Compatible with F15...                                                  https://www.amazon.com/VLAND-Projector-Headlights-Compatible-H...
             Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 182 of 195 Page ID
                                                #:1217
                                             but with added features that I didn't care for. Overall it took about 1 1/2 hours to install. The only special
                                             tools you'll need (you still need a few diﬀerent size sockets, etc.) are some cheap body panel removal tools.
                                             Forscan will also be required to disable the bulb outage detection so the hyper ﬂash on the dash will stop,
                                             however externally the turn signals will operate at the normal speed/interval without doing this.

                                             The "just ok":
                                             The wiring harness adapter is decent, however the connectors feel sort of cheap. They all snapped together
                                             with a positive click but I would deﬁnitely use dielectric grease on all connections as I doubt they are
                                             completely weather-proof. I did not have any issues with the lights ﬂickering or other poor connection
                                             2 people found this helpful

                                                 Helpful
                                                               I    Report


                                                    Travis

                                                           Great cosmetic upgrade for my 2019 F-150 Lariat.
                                             Reviewed in the United States on December 17, 2019
                                             Color: LED-Black Veriﬁed Purchase Early Reviewer Rewards (What's this?)
                                             These are mean looking lights. I got these for my 2019 F-150 Lariat Abyss Gray with oem led. They’re plug
                                             and play but come with harnesses if your OEM are halogen. As another reviewer said they look just like the
                                             oem but they’re black where the oem’s have chrome. The other diﬀerence is the daytime running lights
                                             ﬂash yellow when the turn signal is on but the rest of the time they’re white led. I would have given these
                                             ﬁve stars but I just put them in yesterday and also my turn signal indicator on the dash ﬂashes faster. No
                                             error codes though and the signals front and back ﬂash at the normal pace. These are a pain in the neck to
                                             install but it has nothing to do with the lights. It’s just the way these F-150’s are. I’d recommend buying a
                                             panel pulling tool kit because I did and it was worth it. The lights ﬁt perfectly and I did a night time road
                                             test and they’re just as bright as my oem led.




                                             4 people found this helpful


                                             r   Helpful
                                                             l      Report


                                                    David Meneses

                                                           Okay
                                             Reviewed in the United States on September 10, 2022
                                             Color: 18-20 F150(LED+Animation) Veriﬁed Purchase
                                             The lights work when they want to

                                             (   Helpful     )      Report


                                                    angel perez

                                                           Good
                                             Reviewed in the United States on June 15, 2022
                                             Color: LED Projector Veriﬁed Purchase
                                             Good

                                                 Helpful
                                                               I    Report


                                                    Josh

                                                           Very nice
                                             Reviewed in the United States on May 28, 2022
                                             Color: LED Projector Veriﬁed Purchase
                                             To soon to tell

                                                 Helpful
                                                             1      Report



                                             See all reviews




                                                                                                 Back to top




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                        Newsletter                                                                                                                            Your Account
                                                                 Supply to Amazon                          Amazon Secured Card
                        About Amazon                                                                                                                          Your Orders
                                                                 Protect & Build Your                      Amazon Business Card
                        Accessibility                            Brand                                                                                        Shipping Rates &
                                                                                                           Shop with Points                                   Policies
                        Sustainability                           Become an Aﬃliate
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                        Press Center                             Become a Delivery Driver
                                                                                                           Reload Your Balance                                Returns &
                        Investor Relations                       Start a Package Delivery                                                                     Replacements
                                                                 Business                                  Amazon Currency Converter
                        Amazon Devices                                                                                                                        Manage Your
                                                                 Advertise Your Products                   Promotional Financing
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                                                                 Money




7 of 8                                                                                                                                                                                7/3/23, 6:01 AM
Amazon.com: VLAND Projector LED Headlights Compatible with F15...                                                 https://www.amazon.com/VLAND-Projector-Headlights-Compatible-H...
             Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 183 of 195 Page ID
                                                #:1218
                                                                                              English                 United States




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                                             engage customers                                                                         Made Easy

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                        Stream 4K Video      Smart Security        Real-Time Crime               Top subscription boxes – right to    Pharmacy Simpliﬁed    Like-new products
                        in Every Room        for Every Home        & Safety Alerts               your door                                                  you can trust



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8 of 8                                                                                                                                                                           7/3/23, 6:01 AM
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                                   #:1219




                       EXHIBIT 5
                                               Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 185 of 195 Page ID
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         VLAND LED Headl ights For Fon X           +                                                                                                                                                                                                       V




f-   ➔     C     G)                            0 8 https://www.vlandus.com/products/vland-full- led-projector-headlights- for- ford-f150-13th-gen - pickup-201 8                          [B    67%     {;J                     ~      ±     @     ~


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HOME     SHOP BY MODELS v           COLLECTIONS        NEW ARRIVAL       FRONT & REAR LIGHTS KIT         SALE     BLOG          ABOUT US                                                                                     ~ English I ~ USO ($) •


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                                 Home     VLAND LED Headlights For Ford Fl SO 13th Gen Pickup 2018 2019 2020 with DRL F-150 aftermarket Front lights Assembly


                                                                                                                                    VLAND LED Headlights For Ford Fl SO 13th Gen
                                                                                                                                    Pickup 2018 2019 2020 with DRL F-150
                                                                                                                                    aftermarket Front lights Assembly
                                                                                                                                    iMMm■ ~ $449.99

                                                                                                                                     Quantity




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                                                                                                                                    Share this:

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                                                                                                                                    Fitment:
                                                                                                                                    Fit For For Ford Fl SO 13th Gen Pickup 2018 2019 2020 (NOT For 2018 Raptor)
                                                                                                                                    aftermarket Headlights.

                                                                                                                                    2015-2017 FORD FlS0 HEADLIGHTS (Click)

                                                                                                                                    Item Features:
                                                                                                                                    Color: Full Black
                                                                                                                                    Style: Full LED
                                                                                                                                    High/Low beam: LED Projector
                                                                                                           0. Click to expand
                                                                                                                                    Running Light: LED (white)
                                                                                                                                    Turn Signals: LED (Amber)



                                 ~                                                                                                  The items have the same connections and wires with the original headlights. It is plug


                                                                                                                                                                                                                                               CJil
                                                                                                                                    and play, easy to install still professional installation is recommended.


                                                                                                                                    Package Includes:
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 186 of 195 Page ID
                                   #:1221




                       EXHIBIT 6
                                                     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 187 of 195 Page ID
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              VLAND For Ford F- 150 F150 20 X    I    +                                                                                                                                                                   V



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                                                                                                                                        VLAND For Ford F-150 FlS0
                                                                                                                                        2018-2020 Black LED
                                                                                                                                           Headlights
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Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 188 of 195 Page ID
                                   #:1223




                       EXHIBIT 7
                                             Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 189 of 195 Page ID
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     .}t., VLAND LED Projector Headligh X   I +                                                                                                                                                             V




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                                 All categories v      What are you looking for?




 Home > Ford headlights > VLAND LED Projector Headlights for Ford FlS0 2018-2020 (Without Sequential Turn Signal)



~                                                                                                                     VLAND LED Projector Headlights for Ford F150
                                                                                                                      2018-2020 (Without Sequential Turn Signal)
~                                                                                                                     ****t 22 reviews
                                                                                                                      iMJMmi S499.99 $449.99
                                                                                                                      SKU YAA-F150-2042A-Pr-P01


                                                                                                                        Quantity
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Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 190 of 195 Page ID
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                       EXHIBIT 8
                                                            Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 191 of 195 Page ID
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                      2018-2020 Ford F150 Viand LE X    ]       +                                                                                                                                                                            V



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                                                                                                                                          Home / FORD / Ford FlSO / Viand FlSO Headlights /



                                                                                                                                          18-20 Ford F150 13th Gen
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                                                                                                                                          Dual Beam Projector
                                                                                                                                          Headlights Black
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                                                                                                                                          $499.99

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                                                                                                                                          • Direct OEM Fitment - VLAND LED headlights assembly for
                                                                                                                                               FORD FlSO 2018 2019 2020. Designed as a perfect
                                                                                                                                               replacement for your OE lights, they install the same way
                                                                                                                                                                                                                                        0
Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 192 of 195 Page ID
                                   #:1227




                       EXHIBIT 9
                                                     Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 193 of 195 Page ID
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                                                   Home     VLAND Full LED Projector Headlights For Ford F150 13th Gen Pickup 2018 2019 2020


                                                                                                                                                                                             Style
                                                                                                                         VLAND Full LED Projector Headlights For
                                                                                                                         Ford F150 13th Gen Pickup 2018 2019                                   LED Projector


                                                                                                                         2020
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                                                                                                                           Fitment:                                                                  Checkout securely with
                                                                                                                           Fit for Ford F150 2018 2019 2020 (Does not fit 2017-2020 Ford
                                                                                                                           F-150 Raptor)                                                                   V ISA PayPal


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                                                                                                                           Certification: DOT

                                                                                                                           Manufacturer Part Number:                                         Share this:

                                                                                                                           YAA-F150-2042A                                                    0 0 0 0
                                                                                                                           Item Features:

                                                                                                                           Lens Color: Smoked

                                                                                                                           Housing Color: Black

                                                                                                                           Running Light: LED (Diamond White)

                                                                                                                           Brake Light: LED (Diamond White)

                                                                                                                           Turn Signals: LED (Amber. Without Sequential Indicators)

                                                                                                                           Low/High Beam: Full LED, no need bulbs.

                                                                                                                           Package includes:

                                                                                                                           1 pair of headlights with left side & right side.

                                                                                                                           OEM Part Number:

                                                                                                                           KL3Z13008D, JL3Z13008E, JL3Z13008T, JL3Z13008Z,
                                                                                                                           JL3Z13008AD, KL3Z13008C, JL3Z13008C, JL3Z130085,
                                                                                                                           JL3Z13008Y, JL3Z13008AC. F02502372, F02503372                                                                              Chat with us


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Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 194 of 195 Page ID
                                   #:1229




                       EXHIBIT 10
                                             Case 2:22-cv-01692-JWH-PD Document 71-1 Filed 07/16/23 Page 195 of 195 Page ID
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      Thank you, Cory! - VLAND Factory   X   +                                                                                                                                                                                                                                V




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                                                        VLAND Factory                                                                                                                           VLAND Full LED Projector Headlights
                                                                                                                                                                                                For Ford F150 13th Gen Pickup 2018
                                                                                                                                                                                                2019 2020
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                                                                                                                                                                                                                                        $421 .80
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                                                             Your order is confirmed
                                                             We've accepted your order, and we' re getting it ready. Come back to this page for
                                                             updates on your shipment status.


                                                             SISH_FEDEX_GROUND_D tracking number:
                                                             780617823582




                                                             Order details

                                                             Contact information                                        Payment method
                                                             eagle996@gmail.com                                            f      Express - $421.80

                                                             Shipping address                                           Billing address
                                                             Cory Qui                                                   Cory Qui
                                                             16751 Noyes Ave,                                           16751 Noyes Ave,
                                                             Irvine CA 92606                                            Irvine CA 92606
                                                             United States                                              United States
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